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 State of Alabama
 Unified Judicial System                                                                       Case Number
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                                      CIRCUIT COURT - CML CASE                                 Date offiling:                                Judge Code:
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 IN THE CIRCUIT COURT OF _ _ _ _ _ _ _ _ _
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                                                                                 (Name of Couf11y)
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                         ROBERTS . ABRAMS
         ------ ----P ,-la-i n-tif                                              v.                   THOMAS STRUENGMANN
                                  _f _______                       _ _ __
 First Plaintiff        0 Business              0 Individual               First Defendant
                                                                                                         Defendant
                                                                                                  □Business        0              Individual
                        0 Government            O0the r                                           OGovemment       0              Other
 NATUR E OF SUIT: Select primary cause of action
                                                 , by checking box (check only                     one) that best characterizes your action :
 TORTS: PERSONALINJURY
                                                                O~ER CIVIL FILINGS (cont'd)
     0    WDEA     • Wrongful Death                              U MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     D   TONG      - Negligence: General                                       Enforcement of Agency Subpoena/Petition to Preserve
     D   TOMV       - Negligence: Motor Vehicle
                                                                 OCVRT      - Civil Rights
     D   TOWA      - Wantonn ess
                                                                 OcON D     - Condemnation/Eminent Domain/Righi-of-Way
     0 TOPL                                                      OcTMP         Contempt of Court
                   • Product Liability/AEMLD

     B   TOMM
         TOLM
                    - Malpractice-Med ical
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     0 TOOM        • Malpractice-Other                                                                                                     ion
                                                                                  Election ContesVQuiet Title/Sale For Division
     12] TBFM         Fraud/Bad Faith/Misreprese ntation        Ocvu o        Eviction Appeal/Unlawful Detainer
     O   TOXX      - Other: _ _ _ _ _ _ _ __
                                                                0 FORJ     - Foreign Judgment
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TORTS: PERSONALINJURY
     D
    TOPE    - Persona l Property
 0 TORE - Real Properly
                                                                   B
                                                                   MSHC - Habeas Corpus/Extraordinary WriVMandamus/P
                                                                   PFAB    - Protection From Abuse
                                                                                                                                rohibition

                                                                0 EPFA        Elder Protection From Abuse
O'W!:R CIVIL FILINGS                                               0
                                                                   FELA   - Railroad/Seaman (FELA)
  LJ ABAN - Abandoned Automobile                                ORPR 0        Real Property
     0
     ACCT - Account & Nonmortgage
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     APAA - Administrative Agency Appeal
  0 ADPA - Adminis trative Procedure Act
                                                                B  WTEG • Will/Trust/Estate/Guardianship/Conservatorship
                                                                   COMP       Wori<ers ' Compensation
                                                                0 L0RP     - Petition for Order of Limited Relief
     D
     ANPS - Adults in Need of Protective Services
                                                                 D cvxx - Miscellaneous Circuit Civil Case
ORIGIN (check one):            F 0 INITIAL FILING                   AO APPEAL FROM                       oO OTHER:
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HAS JURY TRIAL BEEN DEMANDED?                              0 YES O NO                 Note : Checking "Yes" does not constitute a demand for
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MEDIATION REQUESTED :                    0     YES   Iii NO    MUNDECIDED
Electio n to Proceed under the Alabama Rules for Exped
                                                                            ited Civil Action s : □Yes 0 No




                                                                                                         IN OFFICE
                                                                                                   MARY B. ROBERSON
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                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                        *
A. ENTERPRISES, LLC                         *
                                            *
        PLAINTIFFS,                         *
                                            *
VS.                                         *
                                            *
                                                    CIVIL CASE NUMBERC1/                   oH   - \ g L,(

THOMAS STRUENGMANN,                         *
ATHOS SERVICE GmbH,                         *
YVES STEFFEN,                               *
ANDREAS BIAGOSCH,                           *
PATIRO HOLDING AG,                          *                         ~ ~ l~fg)
SANTO HOLDING AG, and                       *
FICTITIOUS DEFENDANTS R-Z.                  *                                JUN 2 4 2024
                                                                               IN OFFICE
                                                                         MARY B. ROBERSON
                                        COMPLAINT                          CIRCUIT CLERK



                                GENERAL ALLEGATIONS

        1.    Plaintiff, Robert S. Abrams, [hereinafter "Mr. Abrams"] is over the age of 19 years

              and is a resident citizen of New York, New York.

        2.    A. Enterprises, LLC is an entity that owns preferred stock in Si02.

        3.    Defendant Thomas Struengmann, [hereinafter "Struengmann" or "TS"] is over 19

              years of age and is a resident of Munich, Germany who has done business in Lee

              County, Alabama for over seven years as a director of Si 02.

        4.    Defendant Athos Service GmbH [hereinafter "Athos Kg"] is an entity that owns or

              invests portion of the Struengmann family assets and is incorporated in Munich,

              Germany which has done business in Lee County, Alabama for years.

        5.    Defendant Patiro Holding AG [hereinafter "Patiro"] is a Swiss entity controlled by

             Defendant Thomas Struengmann that owns or invests a portion of the Struengmann



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        family assets and is incorporated in Switzerland which has done business in Lee

        County, Alabama for years.

  6.    Defendant Santo Holding AG [hereinafter "Santo"] is a Swiss entity controlled by

        Defendant Thomas Struengmann that owns or invests a portion of the Struengmann

        family assets and is incorporated in Switzerland.

  7.    Defendant Yves Steffen, [hereinafter "Yves" or "Steffen"] is over 19 years of age and

        is a resident citizen of Switzerland who has done business in Lee County, Alabama

        and functioned as CEO of SiO2 which is located in Auburn, Alabama.

  8.    Defendant Andreas Biagosch, [hereinafter " Biagosch"] is over 19 years of age and

        is a resident citizen of Germany who has done business in Lee County, Alabama as

        a director of Si 02.

  9.    Fictitious Defendant Risa person or entity whose identity is presently unknown to

        the Plaintiff who is responsible for the acts of the Defendant Struengmann under the

        applicable law creating the responsibilities and duties owed by Fictitious Defendant

        R to others for the acts or omissions of Defendant Thomas Struengmann.

  10.   Fictitious Defendant S is that person or entity whose identity is presently unknown

        to the Plaintiffwho is responsible for the acts of the Defendant Struengmann because

        of the Doctrine of Respondeat Superior.

  11.   Fictitious Defendant Tis that person or entity whose identity is presently unknown

        to the Plaintiff who is responsible for the acts of the Defendant Biagosch because of

        the Doctrine of Respondeat Superior.




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  12.   Fictitious Defendant U is that person or entity who is responsible for the acts of

        Defendant Yves Steffen because of the Doctrine of Respondeat Superior.

  13.   Fictitious Defendant V is that person or entity who is responsible for the acts of

        Athas Kg because of the Doctrine of Respondeat Superior.

  14.   Fictitious Defendant W is that person or entity whose identity is presently unknown

        to the Plaintiffwho is responsible for the acts of Defendants Struengmann, Athos Kg,

        Steffen, Patiro and/or Biagosch because he or it was involved in a joint venture with

        any of the aforenamed Defendants.

  15.   Fictitious Defendant Xis that person or entity whose identity is presently unknown

        to the Plaintiff who conspired with Defendants Struengmann, Athos Kg, Steffen,

        Patiro or Biagosch to deprive the Plaintiff of his control of the corporation known as

        Si02 and to deprive the Defendant of the value of his ownership of Si 02.

  16.   Fictitious Defendant Y is that person or entity whose identity is presently unknown

        to the Plaintiff whose negligence concurred with the negligence of Athos Kg and/or

        Biagosch in failing to preserve or wasting the assets of Si 02.

  17.   Fictitious Defendant Z is that person or entity whose identity is presently unknown

        to the Plaintiffwho had oversight responsibility ofthe actions ofStruengmann, Athas

        Kg, Steffen, Patiro, Santo or Biagosch and who negligently failed to exercise that

        oversight authority causing the immense lost of value to Plaintiffs ownership in

        stock of Si 02.

  18.   Plaintiff founded Si02 and built it and its predecessors from the ground up. Plaintiff

        founded Si02 to meet a critical need for production of glass-lined syringes and vials.


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  19.   Plaintiff founded SiO2 Medical Products, Inc. ["SiO2" or "the company"], as a

        division of CV Holdings in 2008. In 2015, SiO2 became an independent company

        and from SiO2's inception until July 2022, Plaintiff served as its CEO and Chairman.

        In April 2023 Plaintiff remained a Director of Si02.

  20.   SiO2 was headquartered in Auburn, Alabama where it researched and developed

        cutting edge medical and biotech products employing over 300 people. By April of

        2022 SiO2 had perfected a number of its products and was poised to introduce its

        breakthrough technology to the world. SiO2 was a Delaware company operating in

        Alabama.

  21.   In June of 2022, Plaintiffs owned or controlled 100% of SiO2's common stock and

        28,795.81 shares ofEnterprises 201 7 Series A Preferred Shares. Those shares carried

        a majority voting control of SiO2 and its subsidiaries. Plaintiff held voting control

        of SiO2 and its subsidiaries from its inception until July of 2022 when he was

        fraudulently induced to step down as CEO and surrender voting control by granting

        a proxy for shares as set out below.

  22.   From SiO2's inception through 2022, SiO2 built its patent portfolio, which currently

        consists of245 currently-issued patents, over 30 unique pending patent applications,

        more than roughly 8,000 patent use cases, and about 750 more patents in process.

  23.   Over the years Plaintiff has funded SiO2 with his own money and raised hundreds

        of millions more from others to fund SiO2's operations. For example, around

        December 2021 Plaintiff raised $100 million in funding for SiO2 from Korean

        company, Doosan Corporation.


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  24.   After spending more than 14 years perfecting SiO2's products, SiO2 was on the brink

        of commercializing its technology, which made SiO2 extremely valuable and the

        timing of the filing of the bankruptcy dubious.

  25.   Various capital raises and acquisition offers valued Si02 between $1.5 billion and

        $2 billion in 2020.

  26.   On June 28, 29 or 30, 2022, Defendant Thomas Struengmann fraudulently induced

        Plaintiff to relinquish voting control to him in exchange for funding that

        Struengmann promised to the Company but never delivered or intended to deliver.

        Defendant Struengmann is a wealthy German businessman who currently controls

        three of SiO2's investors - Athos KG ("Athos"), Patiro Holding AG ("Patiro") and

        Santo Holding AG ("Santo").

  27.   Struengmann began investing in Si 02 around 2015 and had always done what he said

        he would do insofar as his dealings with the Plaintiff were concerned and insofar as

        investing money that he had promised to invest in SiO2. Plaintiff had every reason

        to trust Struengmann when he made representations of further investments in the

        company.

  28.   On June 28, 29, or 30, 2022, Plaintiff met with Struengmann and several others at

        Struengmann's Munich office. In the presence of others, Defendant Struengmann

        agreed to invest $50 million of equity in SiO2 at a value of $500 million.

  29.   Before the meeting was over, Defendant Struengmann asked the Plaintiff to speak

        with him alone in another room. At that time Plaintiff and Defendant Struengmann

        privately discussed terms for Defendant Struengmann's desire to provide additional

        funding for SiO2 beyond the initial $50 million investment.

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  30.   At that private meeting Defendant Struengmann stated that he would also invest $70

        million in or about September 2022 and would raise an additional $170 million in

        new equity for SiO2 before the end of 2022. As to the $170 million, Defendant

        Struengmann told Plaintiff he would attempt to raise as much of it as possible from

        third parties including his personal contacts, but that ifhe fell short of that he would

        invest the money himself.

  31.   At the private meeting Defendant Struengmann instructed Plaintiff to cease his

        ongoing efforts to raise funds for SiO2, and the reason he gave for this was that

        Defendant Struengmann was prepared to arrange for all necessary investments

        himself and did not want Plaintiff attracting other investors.

  32.   Defendant Struengmann also insisted that Plaintiff step down as CEO and that

        Plaintiff give Defendant Struengmann voting control of the Biotech Division of the

        Company only by granting Defendant Struengmann proxy rights to vote his and A.

        Enterprises shares.

  33.   Defendant Struengmann demanded that he would run SiO2's Biotech and vaccine

        business only because he had no interest in the rest of SiO2's business which was

        comprised of seven other research and development product divisions. Plaintiff

        would continue to run those divisions exclusively. Defendant Struengmann would

        receive a 5% fee of the profits of the other seven research and development divisions

        to compensate for use of the Biotech and vaccine businesses' patents.

  34.   Plaintiff was not represented by counsel at all during the meeting that took place on

        June 28, 29, or 30, 2022 or at the time he executed any documents pertaining to it.




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  35.   Plaintiff relied on Defendant Struengmann's promises and representations to him

        made during the private discussion and broke off ongoing discussions with other

        potential sources of capital for SiO2 that included previous negotiations with Saudi

        Arabia, The United Arab Emirates ("UAE"), and Kennedy Lewis.

  36.   Also in reliance on Defendant Struengmann's promises made to him, Plaintiff

        executed the Amended & Restated Stockholders Voting Agreement on July 5, 2022,

        which gave Defendant Struengmann's company, Patiro, a proxy to vote Plaintiffs

        personal shares and A. Enterprises' shares, which gave Defendant Struengmann

        voting control over SiO2.

  37.   Defendant Struengmann was present at the Board Meeting held in Auburn, Alabama

        on September 1, 2022 , along with directors Defendant Yves Steffen, Defendant

        Andreas Biagosch, Melissa Simon, the Plaintiff and others. Defendant Thomas

        Struengmann served as a director of SiO2 and attended many Board meetings and

        other company functions in Auburn, Alabama over several years. He may have

        resigned secretly in October 2022.

  38.   While at the SiO2 Board Meeting held in Auburn, Alabama on December 9, 2022,

        Defendant Biagosch told Plaintiff in private that Defendant Thomas Struengmann

        had never intended to furnish financing or investment in SiO2 beyond the $50

        million invested and had never promised that he would do so which is further proof

        that Defendant Thomas Struengmann had the present intention on June 28, 29 or 30,

        2022 not to fulfill the promises that he made to Plaintiff concerning further financing

        for SiO2.




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  39.   In the decade leading up to June of 2022, Si02 always had an ability to raise money

        to meet any economic challenge and bankruptcy was not even a consideration. In

        April of 2022, Si02 was worth $2.4 billion based on the sale of stock to third parties

        and new patents obtained.

  40.   Before the bankruptcy filing, in early 2023, the Company lead by Defendant Yves

        Steffen' s, who was acting under the control of Defendant Thomas Struengmann,

        failed to pursue over $111 million in available monies due from the federal

        government in the form of a Second Request for Equitable Adjustment (REA).

        Plaintiff also ceased pursing available capital for the Company based on promises

        made to him by Defendant Struengmann, that in essence Struengmann would provide

        the necessary capital and Thomas Struengmann did not want the Plaintiff to seek

        other investors or creditors.

  41.   At the Board of Directors meeting of SiO2 on November 30, 2022, Defendant Yves

        Steffen confirmed Defendant Thomas Struengmann's direction to Plaintiff to cease

        his efforts to seek other investors when he responded to Board concerns about

        seeking additional financing that the Company had not been actively looking for

        an investment over the preceding 6 months. That 6 month period coincided with the

        time that had elapsed since Defendant Thomas Struengmann told Plaintiff to cease

        his investment raising efforts on June 28, 29 or 30, 2022.

  42.   At the same Board of Directors meeting on November 30, 2022, Defendant Andreas

        Biagosch opposed the suggestion of creating a Capital Raise Committee (CRC)

        composed of independent disinterested directors and proposed instead that the CRC

        be composed of Defendant Yves Steffen; Defendant Athos Kg' s board representative

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        Melissa Simon; Mr. Paul Meister who was placed on the Board by Defendant

        Thomas Struengmann; and Mr. Aman Kumar who was Oaktree' s board

        representative. In response, it was suggested that if the CRC formation proposed by

        Defendant Biagosch was implemented that the CRC charter should recuse any

        member of such committee who had a conflict with respect to the contemplated

        transaction. Defendant Biagosch then pushed back with the assertion that the

        members of the CRC should have as much information as possible. Defendant

        Biagosch' s support for Board Members controlled by Thomas Struengmann indicates

        knowledge of Defendant Thomas Struengmann's plans to destroy Si02's ability to

        raise money and his active involvement in the scheme to ultimately force Si02 into

        involuntary bankruptcy.

  43.   Plaintiff reasonably relied on Defendant Strucngmann' s promises to provide

        financing when he decided to give Defendant Struengmann proxy to vote his shares

        and when he stopped negotiating with Kennedy Lewis, Saudi Arabia and the UAE.

        Nothing other than Defendant Struengmann' s promises would have induced him to

        give up control of the company or cease to find available funding. In fact, the

        Kennedy Lewis financial deal had already been approved by the Si02 Board.

  44.   Once Defendants seized control of Si02, they denied the Plaintiff access to

        information in the company's possession which was contrary to his rights and interest

        as an Si02 Director and Si02 Shareholder.

  45.   Once Defendant Struengmann acquired voting control of Si 02, he and Defendant

        Steffen immediately began steering the company to an unnecessary bankruptcy with

        help from Defendants Biagosch and Athas Kg.

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   46.   On information and belief, Plaintiff avers that Defendants Struengmann and Steffen

         had begun speaking with the bankruptcy counsel that ultimately placed SiO2 in

         bankruptcy as early as April 2022 and on or about December 8, 2022 directed that

         SiO2 pays a $1 million retainer to Kirkland & Ellis for their legal preparation of the

         bankruptcy petition without advising the Board of Directors and made no mention

         of bankruptcy at the December 9, 2022 meeting of the Board of Directors. SiO2's

         liquidity was further diminished.

  4 7.   Rather than protect or advance the interest of SiO2 or its Shareholders, Defendant

         Struengmann who held a seat on the Board of Si02, until October 18, 2022, when he

         secretly resigned, actively hindered SiO2's ability to raise capital in several ways

         including instructing the Plaintiff to cease raising funds from other investors and

         failing to seek $ 111 million in government reimbursement on a Second REA Claim.

         The net effect was for Defendant Struengmann to create a false liquidity crisis in

         order to justify bankruptcy designed to personally benefit himself, even though it was

         against SiO2's best interests.

  48.    In early 2023, under the direction of Defendant Struengmann, CEO Steffen failed to

         pursue a claim to the federal government for money owed for work performed by

         SiO2 related to the Covid-19 pandemic.

  49.    The request for additional payment for performance of a government contract is

         known as a Request for Equitable Adjustment ("REA"). A REA for $111,457,080

         in additional costs SiO2 incurred in manufacturing vials for the government' s

         Operation Warp Speed program for production of the Covid-19 vaccine should have

         been made.

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   50.   Plaintiff personally hired and paid the fees of an attorney who is an expert on

         government reimbursement for the purpose of advising him on whether SiO2 was

         entitled to request this reimbursement. Although there was no guarantee that the

         government would grant the request, the attorney advised Plaintiff that he considered

         it a routine submission and payment was highly likely. In fact, the attorney advised

         Plaintiff that if the submission had been filed by January 24, 2023, SiO2 would have

         known by March 24, 2023 whether the U.S. government would pay some or all of the

         much needed $111 million.

   51.   Defendant Steffen, the CEO hand-picked by Defendant Struengmann, inexplicably

         refused to make the filing with the federal government for the Second REA

         mentioned above. In Auburn, Alabama in February 2023, Defendant promised

         Plaintiff that he would file the application for the REA, and then refused to do so.

   52.   Defendant Steffen's refusal to submit the REA was in support of the plan created by

         him and Defendant Struengmann to create a false liquidity crisis to justify putting

         SiO2 into bankruptcy.

   53.   Defendant Struengmann and Defendant Steffen then proceeded to use the proxy to

         exercise Plaintiffs voting rights and the Board of Directors that Defendant Thomas

         Struengmann had put in place including CEO Defendant Steffen to file a bankruptcy

         petition for Si02, which ultimately destroyed the value of SiO2 stock since drug

         companies do not want to do business with a company that has been in bankruptcy.

   54.   As fiduciaries, the Defendants Thomas Struengmann, Yves Steffen, and Andreas

         Biagosch had "a duty to act with the highest degree of honesty and loyalty toward

         the Plaintiff and in the best interest of the Plaintiff.

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   55.   The participation by Defendants Thomas Struengmann, Andreas Biagosch, Athos

         Kg, Patiro and Santo in fraud and deceit, and breach of fiduciary duty which caused

         Plaintiff to lose control of his company and over $1 billion through fraudulent

         changes in stock ownership and voting rights endangers the common good and

         requires the dissolution of Fictitious Defendants R (which is responsible for their

         conduct) which is the only way to eliminate the threat to the common good.

   56.   Defendant Struengmann who was not allowed to become involved in the

         managements of investments made by Athos Kg, Patiro and Santo, actively inserted

         himself into the control and management of Si02 and fraudulently lead it down the

         disastrous path of bankruptcy which destroyed its value. At the time, Plaintiff was

         unaware that Defendant Thomas Struengmann could not be involved in the

         management of companies that were invested in by Athos Kg, Patrina and Santo but

         Defendants Thomas Struengmann and Biagosch knew it.

   57.   Defendant Steffen who was installed as CEO by Defendant Struengmann was loyal

         to Defendant Struengmann instead ofthe Plaintiff who was the principal shareholder

         and failed to deal honestly and fairly with the Plaintiff in a number of ways including

         his failure to file the Request for Equitable Assistance, which would have injected

         $111 million into the company at a time when it claimed to be on the verge of

         bankruptcy.

   58.   Defendants Athos, Kg, Patrina and Santo allowed its agent, servant, or employee,

         Defendant Struengmann to become involved in the management of Si02 which

         Plaintiff believes was contrary to German law and regulations controlling his family

         foundation. Defendant Thomas Struengmann served on the Board and regularly

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         attended corporate functions in Auburn, Alabama for years. Athos Kg, Patrino and

         Santo violated their fiduciary duty to the Plaintiff by allowing Defendant Thomas

         Struengmann to be involved in the management of Si 02.

   59.   On information and belief, Plaintiff avers that Defendant Andreas Biagosch who had

         supervisory authority over Struengmann's family foundation including Athos Kg,

         Patiro, and Santo failed to require them to conduct business according to rule and

         regulation promulgated by the German government when he allowed Defendant

         Struengmann to be actively involved in the management of SiO2, which was an

         investment of Athos Kg, Patiro and Santo. Defendant Biagosch was present at all

         critical times in which Defendant Struengmann was involved including the meeting

         in Munich in late June of 2022 and at various Board Meetings of SiO2 in Auburn,

         Alabama. In fact, Defendant Biagosch made certain statements to the Plaintiff in

         private while attending the Board Meeting on December 9, 2022 in Auburn, Alabama

         to the effect that Defendant Thomas Struengmann never intended to invest more than

         the $50 million in SiO2 and that he never made the promise to make the $70 million

         and $170 million additional investments. His statement shows Defendant Thomas

         Struengmann had no intention to fulfill the promises he made on June 28, 29 or 30,

         2022.

  60.    By reason of their positions as officers and/or directors of SiO2, each of the

         Individual Defendants owed SiO2 and its stockholders fiduciary obligations of trust,

         loyalty, good faith, and due care, and were and are required to use their utmost ability

         to control and manage SiO2 in a fair, just, honest, and equitable manner. The

         Individual Defendants were and are required to act in furtherance of the best interests

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         of SiO2 and not in furtherance of their personal interest or benefit. To discharge their

         duties, the officers and/or directors of SiO2 were required to exercise reasonable and

         prudent supervision over the management, policies, practices, and controls of the

         financial affairs of the Si 02.

   61.   The conduct of the Individual Defendants complained of herein involves a knowing

         and culpable violation of their obligations as officers and/or directors of Si 02, the

         absence of good faith on their part, and reckless disregard for their duties to SiO2 and

         to the stockholders that the Individual Defendants were aware or reckless in not being

         aware posed a risk of serious injury to SiO2 and to the stockholders. The Individual

         Defendants, because of their positions of control and authority as officers and/or

         directors of Si 02, were able to, and did, directly or indirectly, exercise control over

         the wrongful acts complained of herein. The Individual Defendants also failed to

         prevent the other Individual Defendants from taking such illegal actions. As a result,

         and in addition to the damage SiO2 and the stockholders have already incurred, the

         stockholders have expended, and will continue to expend, significant sums of money.



                                    COUNT ONE

                               PROMISSORY FRAUD



  62.    Plaintiff incorporates the paragraphs 1-61 of the General Allegations.

  63.    On or about June 28, 29, or 30 of 2022, Defendant Struengmann took the Plaintiff

         into a separate room in his Munich, Germany office and promised to invest an

         additional $70 million in SiO2 in September/October of 2022 and to procure

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         investment in SiO2 of another $170 million before the end of 2022. Thomas

         Struengmann said that he would either find someone else to invest that additional

         $170 million or he would invest the money himself before year end. Further

         Defendant Thomas Struengmann told the Plaintiff to refrain from seeking financing

         or investment elsewhere and that Plaintiff had to give Defendant Thomas

         Struengmann his written proxy to vote his SiO2 stock giving Defendant Thomas

         Struengmann control of SiO2 and step down as CEO immediately.

   64.   Defendant Struengmann made those promises on behalf ofhimself, Athos Kg, Patiro

         and Santo.

   65.   When Defendant Struengmann made the above described promises to invest an

         additional $70 million in September/October of2022 plus an additional $170 million

         by the year end of2022 in Si 02, he intended to deceive Plaintiff. He had the present

         intention not to fulfill his promises which is shown, inter alia, by hi s failure to ever

         fulfill either promise and by Defendant Biagosch' s statements made to Plaintiff in

         private while at the Board Meeting of SiO2 in Auburn, Alabama in December of

         2022 to the effect that Defendant Thomas Struengmann had never had any intention

         of investing more than $50 million in SiO2 and had never made the promise to

         Plaintiff.

   66.   As part of the statement Defendant Struengmann told the Plaintiff to refrain from

         seeking financing elsewhere because he wanted it all and Plaintiff did in fact forego

         other financing that he had previously arranged, and which was previously approved

         in reliance upon Defendant Struengmann's promise.




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   67.   Plaintiff had dealt with Defendant Struengmann over a 20 year period and he had

         always done what he said he would do in terms of investing money in various

         ventures of the Plaintiff in the range of several hundred million dollars.

   68.   Plaintiff relied upon Defendant Struengmann's representations to him and did not

         seek other financing, which ultimately caused SiO2 to have serious financial

         problems when Defendant Struengmann and Athos Kg refused to fund the

         investments promised.

   69.   At the time that Defendant Struengmann acting for Athos Kg, Patiro and Santo made

         the misrepresentation to Plaintiff that he would fund SiO2 with an additional

         investment of $70 million in September/October of 2022 and an additional $170

         million by year end 2022, the Defendants Struengmann and Athos Kg, Patiro and

         Santo had the present intention not to perform the acts promised.

   70.   At the time that Defendant Struengmann made the misrepresentation to the Plaintiff

         that he would fund SiO2 with an additional $70 million in September/October 2022

         plus an additional $170 million invested in SiO2 by year end 2022, the Defendant

         had the present intent to deceive the Plaintiff.

   71.   At the time Defendant Struengrnann' s promises were made, Defendant Struengmann

         did not intend to carry out the promises to invest the $70 million or the $170 million

         in SiO2 and he had the present intent to deceive the Plaintiff into believing that he

         would do so.

  72.    Plaintiff reasonably relied on Defendant Struengmann's promises to fund SiO2 with

         an additional $70 million in September/October 2022 and a further additional sum

         of $170 million before year end 2022 which caused the Plaintiff to forego financing

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         that he had already arranged with other investors for SiO2 and further caused the

         Plaintiff to cease efforts to find other financing for SiO2. In fact Defendant

         Struengmann asked or directed the Plaintiff not to seek other financing from other

         sources and to just rely upon him.        Because of the long 20 year history of

         involvement with Defendant Struengmann and Athas Kg, and his demonstrated

         ability and willingness to invest in Plaintiffs companies, Plaintiff relied upon

         Defendant Struengmann's promises and did not use other financing or seek other

         additional financing. Defendant Struengmann knew that Plaintiff would rely upon

         his promises.

   73.   In late June/early July 2022 Plaintiffs owned 100% ofthe common stock ofSiO2 and

         more than 50% of the preferred stock in SiO2 for a combined ownership percentage

         of more than 50 percent. At that time, Plaintiff needed to raise funds to ensure that

         the company could sustain itself financially until the new products it had developed

         could be marketed. Plaintiff estimated that would take $250-270 million. Plaintiff

         had previously arranged to obtain financing or investments of $250-270 million,

         which he did not close because of Defendant Struengmann's promise to invest $70

         million in September/October and find investors or provide his further investment of

         $170 million before year end. Based upon Struengmann' s requirement that he cease

         efforts to obtain other financing, the Plaintiff ceased to search for alternative loans

         and investors.

   74.   At the time of Defendant Struengmann' s promise in late June, Plaintiff valued SiO2

         at $2.5-3B, based on stock sale for $100 M to Doosan around January , 2022.

   75.   As a result of Plaintiff's reasonable reliance upon Defendant' s promises of future

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         financing as set out above, Defendant Struengmann, Athas Kg, Patiro, Santo and

         other Defendants were able to execute their plan to take over SiO2 and force it into

         involuntary bankruptcy, in the hopes that Struengmann, Athos Kg, Patiro and Santo

         could buy the company for pennies on the dollar out of the bankruptcy proceeding.

         As a proximate result of the scheme in which Defendants Struengmann, Athas Kg,

         Patiro, Santo and other Defendants participated, Plaintiff lost at least $1 billion in

         value of ownership of Si 02.

   76.   Defendant Thomas Struengmann' s promissory fraud enabled Defendants Thomas

         Struengmann and Yves Steffan's plan to take control of SiO2 so they could force it

         into unnecessary bankruptcy. Documentary proof of their fraudulent scheme was

         discovered by Plaintiff in the bankruptcy proceedings when documents prepared by

         Defendant Yves Steffen were produced by SiO2 bankruptcy counsel. One document

         entitled "Financial and Operational Strategy" dated June 30, 2022 and stamped

         "confidential" consisting of8 pages was distributed to SiO2 Board Members. A

         separate document consisting of9 pages was prepared by Defendant Yves Steffen for

         Defendant Thomas Struengmann and was provided to him but not to the Board

         Members. The first 8 pages of the separate document provided to Defendant Thomas

         Struengmann is identical to the 8 pages distributed to Board Members, but it

         contained an additional page. The additional (ninth) page ofThomas Struengmann' s

         document entitled "Proposal to enable the transformation of SiO2" is attached as

         Exhibit "A". Exhibit "A" shows a contemplated investment of $250 million USO

         by Athas which is further substantiation of Thomas Struengmann' s promises to

         Plaintiff as well as the scheme to take over the company.

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        77.     Plaintiff claims compensatory damages against Defendant Struengmann, Steffen,

                Athos Kg, Patiro, Santo and fictitious Defendants R through Z , for compensatory

                damages in the amount of$ I billion.

        78.     Defendant Thomas Struengmann was the agent, servant or employee of Athos Kg,

                Patiro and Santo, acting within the line and scope of his authority at all times material

                to this Complaint.

        79.     Defendant Biagosch was the agent, servant or employee of Athos Kg, Patiro and

                Santo acting within the line and scope of his employment at all times material to this

                Complaint.

        80.     Defendant Struengmann intentionally planned to deceive Plaintiff and to take his

                property unlawfully. The Plaintiff claims punitive damages in an amount to be

                determined by a jury for the purpose of punishing the Defendant Struengmann for his

                intentional wrongful conduct and for the purpose of deterring said Defendant and

                others similarly situated from such conduct in the future.

        81 .    Defendants Athos Kg, Patiro and Santo knew of Defendant Struengmann 's conduct,

                benefitted from that conduct, or his conduct was calculated to benefit his employer

                Athos Kg, Patiro and Santo, or they ratified that conduct, all of which makes Athos

                Kg, Patiro and Santo liable for the punitive damages assessed against Struengmann.

                WHEREFORE, Plaintiff demands judgment against Defendants Thomas

Struengmann, Yves Steffen, Athos Kg, Patiro, Santo, Andreas Biagosch and Fictitious Defendants

R through Z , for compensatory damages in the amount of $1 billion and punitive damages of $3

billion, plus cost and interest.




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                                    COUNT TWO

                            BREACH OF CONTRACT



   82.   Plaintiff incorporates the allegations of paragraphs 1 through 81 herein.

   83.   Defendant Struengmann acting for his employers/principals Athos Kg, Patiro and

         Santo offered to provide financing for SiO2 in a meeting in late June 2022. Some of

         the terms of that contract were reduced to writing and others were verbal, including

         the promises of Defendant Struengmann acting on behalf of Athos Kg, Patiro and

         Santo to invest $70 million in SiO2 in either September or October of 2022, and an

         additional $170 million before year end 2022. All of which was in addition to the

         $50 million invested in SiO2 in July of 2022. Defendant Struengmann offered to

         make those investments in SiO2 and the Plaintiff accepted his offer and terms also

         agreeing to give Defendant Thomas Struengmann his proxy to vote the maj ority of

         the stock in SiO2; stepping down as CEO; and agreeing to relinquish control of

         certain portions of SiO2 to Defendant Struengmann.

   84.   Thereafter, Defendant Struengmann failed and refused to furnish the additional

         investment in SiO2 that was promised, totaling some $240 million but retained

         control of the company that was wrongfully obtained from the Plaintiff. See Exhibit

         "A " entitled "Proposal to enable transformation of SiO2" which was prepared by

         Defendant Yves Steffen on June 30, 2022 for Defendant Thomas Struengmann

         indicating a $250 million investment by Athos Kg that never happened. Exhibit

         "A" was not furnished to the Board as a part of the handout entitled "Financial and

         operational strategy". Exhibit "A" recognizes the necessity of the injection of $250

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         million USD by Athos Kg to accomplish the transformation of control to Athos

         Kg.

   85.   Defendant Struengmann wrongfully exercised control of all of SiO2 by taking

         Plaintiff's voting rights and removing Plaintiff as CEO of the company, substituting

         in his stead his hand picked designate Defendant Yves Steffen.

   86.   Defendant Struengmann then acting through Yves Steffen and the Board he had

         elected, proceeded to take various acts which coupled with his failure to provide

         $240 million worth of investment put SiO2 in a precarious financial position

         allowing him to force it into an involuntary bankruptcy situation designed to allow

         Defendant Thomas Struengmann to purchase SiO2 for pennies on the dollar.

   87.   Among other actions Defendants Thomas Struengmann and Yves Steffen refused to

         make the Second REA for $111 million from the U.S. Government and caused

         Plaintiff to cease seeking financing while refusing to invest $240 million that he

         promised which created the liquidity crisis they relied upon to put SiO2 in

         bankruptcy.

   88.   When they took control ofthe company, the Defendants Thomas Struengmann, Yves

         Steffen, Athos Kg, Patiro, Santo and Andreas Biagosch should have taken every

         reasonable measure to maximize the assets ofSiO2 and preserve Shareholder value,

         and they did neither of these. In fact, they worked to reduce Shareholder value and

         diminished the value of assets to force SiO2 into a premature declaration of

         involuntary bankruptcy.

   89.   As a proximate result of the breaches of contract by Defendants Struengmann, Athos

         Kg, Patiro, Santo,Yves Steffen, Andreas Biagosch, and Fictitious Defendants R

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              through Z the Plaintiff's value in SiO2 was reduced from in excess of $1 billion to

              $0 (zero) entitling him to compensatory damages of at least $1 billion to make him

              whole.

       90.    Plaintiffs owned 100 percent of the common stock and over 50 percent of the

              preferred stock for a total of over 50 percent of the entire ownership of the company.

              Since the company was worth $2.5-3 billion to $3 billion when Defendants assumed

              control of it through their deceitful tactics in late June and early July and the

              company lost all of its value, through Defendants Thomas Struengmann, Yves

              Steffen, Andreas Biagosch, Athas Kg, Patiro and Santo putting it in bankruptcy, they

              caused the Plaintiff to lose a minimum of $1 billion. Plaintiff is entitled to recover

              damages from Defendants Thomas Struengmann, Yves Steffen, Andreas Biagosch,

              Athas Kg, Patiro and Santo in the amount of $ 1 billion.

       WHEREFORE, Plaintiff demands judgment against all the Defendants and Fictitious

Defendants R through Z for Compensatory Damages in the amount of $ 1 billion.

                                       COUNT THREE

                             BREACH OF FIDUCIARY DUTY



       91.    Plaintiff incorporates the general allegations of paragraphs 1-90.

       92.    Once the Defendants Thomas Struengmann, Athas Kg, Patiro and Santo, Yves

              Steffen, and Andreas Biagosch assumed control of SiO2 each of them had a fiduciary

              duty to the shareholders of SiO2, which was principally the Plaintiffs. Plaintiffs

              owned 100 percent of the common stock and over 50 percent of preferred stock for

              a combined ownership of more than 50 percent.

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   93.   Inter alia, the failure to provide the financing promised to keep SiO2 financially

         viable until it could market its developed products, was a breach of fiduciary duty to

         Plaintiff by Defendants Thomas Struengmann, Yves Steffen, Andreas Biagosch,

         Athos Kg, Patiro and Santo. Another breach of fiduciary duty was Defendants'

         causing Plaintiff to cease his efforts to find other investors.

   94.   Defendants Thomas Struengmann and Yves Steffen breached their fiduciary duty

         when they conspired to deprive SiO2 of its financial stability in order that they could

         force it into bankruptcy and buy the stock for pennies on the dollar. Defendants

         Athos Kg, Patiro and Santo are responsible for Defendant Thomas Struengmann's

         conduct since he was the agent, servant, or employee of these entities who was acting

         within the line and scope of his duties. Defendant Thomas Struengmann's plot to

         destroy the value of SiO2 and then purchase it cheaply through a bankruptcy

         proceeding was calculated to benefit Athos Kg, Patiro and Santo.

  95.    All of the Defendants had a fiduciary duty to see that the corporate asset of the

         second REA was processed. Failing to seek further equitable adjustment from the

         United States Government for cost overruns on the provision of articles used to

         provide the covid vaccine deprived the company of at least $ 100 million of

         immediate funding, which was detrimental to SiO2's ability to continue to operate

         until it could sell the products which it had spent millions of dollars developing, and

         therefore weakened the company instead of preserving those assets. Some of those

         assets were the very marketable products which had been developed, researched, and

         prepared for market but were not yet marketed. The bridge investment was necessary

         to get them to the marketing stage where they would produce income.

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    96.     Defendant Andreas Biagosch who was Director os SiO2 had a duty to SiO2
                                                                                                       to
           preserve its assets and to meet his obligations of fiduciary responsibility since
                                                                                                 he a
           government supervisor of Athos Kg. He participated actively in the governance
                                                                                                   of
           SiO2, and was aware of the fraud, breach of contract, failure to preserv e corpora
                                                                                                   te
           assets and breach of fiduciary duty by Thomas Struengmann.

   97.     Defendant Andreas Biagosch also had the obligation to see that Defendant Thoma
                                                                                                       s
           Struengmann was not involved in the operation or management of Si 02, which
                                                                                                  he
           failed to do. In fact, he participated with Defendant Thomas Struengmann in
                                                                                       the
           fraud by stating to Plaintif f privately while at the Board Meeting in December
                                                                                                   of
           2022 in Auburn, Alabama that Defendant Thomas Struengmann never intende
                                                                                                 d to
           invest the additional $70 million plus $170 million in SiO2 and never made
                                                                                                 the
          promise to do so.

   98.    Also by failing to keep the promis e of investing $70 mill ion in September/October

          2022 and failing to procure the investment of$170 million or making the investm
                                                                                                 ent
          himsel f by the end of 2022, Defendant Strueng mann, Athos Kg, Patiro, Santo
                                                                                             and
          others failed to preserve the valuable marketable assets of Si 02, resulting in great

          diminution of the stockholder's value in the company.

  99.     The participation of Defendants Thomas Struengmann, Biagosch, Yves Steffen
                                                                                                   ,
          Athos Kg, Patiro and Santo in fraud and deceit, and breach of fiduciary duty which

          caused Plainti ff to lose control of his company and over $1 billion in the value of
                                                                                                 his
          company and caused the fraudulent changes of ownership in SiO2 endanger
                                                                                             the
          common good and entitle the Plaintif f to punitiv e as well as compen satory damage
                                                                                             s.



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       WHE RE~'O RE, Plaintiffs demand judgm ent against all the
                                                                           named Defendants and the
Fictitious Defendants R through Z for Compensatory Damages
                                                                     in the amount of $1 billion and
punitive damages in the amount of $3 billion.




                                                        Isl Joseph L. Dean. Jr.
                                                       JOSEPH L. DEAN , JR. (DEA006)
                                                       DEAN & BARRETT
                                                       Attorney for Plaintiffs
                                                       Post Office Box 231
                                                       Opelika, AL 36803-023 l
                                                       Phone: (334) 749-2222
                                                       Fax: (334) 749-5857
                                                       J oe(a)deanand harrett .com




                                         JURY DEMAND


      Plaintiffs request a trial by a struck jury on all issues.




                                                       Isl Joseph L. Dean, Jr.
                                                       Of Counsel




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                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERT S. ABRAMS , and                         *
A. ENTERPRISES, LLC                            *
                                               *
         PLAINTIFFS,                           *
                                               *
vs.                                            *
                                               *
                                                       CIVIL CASE NUMBER:         c vW:\-\~ L\
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
                                               *
                                                                      ~ ~ l ~[Q)
ANDREAS BIAGOSCH,
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *                          JUN 2 4 2024
                                                                             IN OFFIC.E
                                                                         MARY 8 . ROBERSON
                                        CIVIL SUMMONS                     CIRCUlT CLERK



Notice To:      Thomas Struengmann

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiff's Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


-1L. You are hereby commanded to serve this Summons and a copy of the Complaint in this action
         upon the Defendant by means authorized by The Hague Convention on the Service Abroad
         of Judicial and Extra judicial Documents.

_X__This Summons is being sent to:
    Prasident des Oberlandesgerichts Munchen, Prielmayerstrasse 5, 80097 Munchen.
   Telefon: +49 89 5597-02
   Fax:+ 49 89 5597-3570
   poststelle@olg-m.bayem.de
                                        DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 29 of 144




which is the Central Authority of the Federal State of Bayem, Germany for service as allowed by
The Hague Convention.


Date - - - - - - - -- -


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                                                        mey's Signature
                                                 EPH L. DEAN, JR. - DEA006)



                                  RETURN ON SERVICE



       I certify that I personally delivered a copy of the Summons & Complaint to

       m _ __ ____, on _ _ __ __ _ _ __ __




DATE                                       SERVER'S SIGNATURE




Address of Server                                  Type of Process Server
                                           DOCUMENT 2
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 30 of 144



                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS . ABRAMS, and                          *
A. ENTERPRISES. LLC                            *
                                               *
         PLAINTIFFS.                           *
                                               *
VS.                                            *
                                               *
                                                       CIVI L CASE NUMBER:G              V'J)Y---\~!,\
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *

                                                                       ~ ~ l~[Q)
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
                                                                           JUN 2 4 2024
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *                              INOfFICE
                                                                          MARY B. ROBERSON
                                                                           CIRCUIT CLERK

                                        CIVIL SUMMONS

Notice To:     Athos Service GmbH

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court . A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiff's Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or deli vered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complai nt in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.

_ X_ _This Summons is being sent to:
      Prasident des Oberlandesgerichts Munchen, Prielmayerstrasse 5. 80097 Munchen.
     Telefon: +49 89 5597-02
     Fax: + 49 89 5597-3570
     postste lle(@.ol2.-m.bayern.de
                                        DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 31 of 144




which is the Central Authority of the Federal State of Bayem. Gem1any for service as allowed by
The Hague Convention.


Date - - - -- -- - --




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       m _ __ _ ___, on _ _ _ __ _ _ _ __ __




DATE                                       SERVER' S SIGNATURE




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      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 32 of 144




                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. ENTERPRISES, LLC                            *
                                               *
        PLAINTIFFS,                            *
                                               *
vs.                                            *      CIVIL CASE NUMBER:         CV'o> Y-\<2 y
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *

                                                                            ~ ~ l~[Q)
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
                                                                                JUN 2 4 2024
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *                                    IN OFFICE
                                                                               MARY B. ROBERSON
                                                                                 C IRCUIT CLERK

                                        CIVIL SUMMONS

Notice To:     Yves Steffen

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
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TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.

  X      This Summons is being sent to:
        Gerichte Kanton Aargau
        Generalsekretariat
        Obere Vorstadt 40
        5000 Aarau
                                        DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 33 of 144




        Tel 1: +4162835 38 24
        Fax:+416 28353949
        Webmaster.jb<@ag.ch


which is the Central Authority of the Federal State of Aargau, Switzerland for service as allowed
by The Hague Convention.


Date - - - - - --
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                                                         . DEAN, JR. - DEA006)



                                  RETURN ON SERVICE



       I certify that I personally delivered a copy of the Summons & Complaint to

       m _ _____ _ , on _ _ _ __ _ _ __ _ _ _




DATE                                        SERVER' S SIGNATURE




Address of Server                                  Type of Process Server
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                  IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

 ROBERT S. ABRAMS, and                         *
 A. ENTERPRISES, LLC                           *
                                               *
        PLAINTIFFS,                            *
 vs.
                                               *
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                                               *
                                                       CIVIL CASE NUMBER:          c ~L-\--\2Y
THOMA S STRUENGMANN,
                                               *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,
                                               *
SANTO HOLDING AG, and
                                               *
FICTITIOUS DEFENDANTS R-Z.                                                     IN OfflC.E
                                               *                           MARY B. ROBERSON
                                                                             CIRCUIT CLERK

                                        CIVIL SUMMONS

Notice To:     Andreas Biagosch

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand de! ivered by you or your attorney to the Plaintiff s A ttomey
Joseph L. Dean, Jr.. whose address is Dean & Barrett, PO Box 231, Opelika. AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summon s and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED hy Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
       upon the Defendant by means authorized by The Hague Convention on the Service Abroad
       of Judicial and Extra judicial Documents.

  X      This Summons is being sent to:
        Prasident des Oberlandesgerichts Munchen, Prielmayerstrasse 5, 80097 Munchen .
       Telefon: +49 89 5597-02
       Fax: + 49 89 5597-3570
       poststelle@olg-m.bayern.de
                                        DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 35 of 144




which is the Central Authority of the Federal State of Bayem, Germany for service as allowed by
The Hague Convention.


Date - - - - - - - - - -




                                  RETURN ON SERVICE


       I certify that I personally delivered a copy of the Summons & Complaint to

       m _ _ __ _ __, on _ _ __ _ __ __ _ __




DATE                                       SERVER'S SIGNATURE




Address of Server                                  Type of Process Server
                                           DOCUMENT 2
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 36 of 144




                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. ENTERPRISES, LLC                            *
                                               *
         PLAINTIFFS,                           *
                                               *
VS.                                            *       CIVIL CASE NUMBER:          c, V'al~ --\ 8 4
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *                                   1N OFFICE
                                                                                 RY B ROBERSON
                                                                               MACIRCUIT CLERK


                                        CIVIL SUMMONS

Notice To:     Patiro Holding AG

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.

_ X_ _This Summons is being sent to:
      Obergericht des Kantons Uri
     Rathausplatz 2
     Postfach
     6460 Altdorf UR
                                           DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 37 of 144




         Tel 1: +41 41 875 22 67
         Fax: +41 41 875 22 77
         obergericht@ur.ch

which is the Central Authority of the Federal State of Altdorf, Uri, Switzerland for service as
allowed by The Hague Convention.


Date -    -     - --   -   -    - --




                                                    • s Atto ey ' s Signature
                                                     PH L. DEAN, JR. - DEA006)



                                       RETURN ON SERVICE


         I certify that I personally delivered a copy of the Summons & Complaint to

         1n -   -   - --       - ~ on - - - - - - - - - - - - -




DATE                                          SERVER' S SIGNATU RE




Address of Server                                   Type of Process Server
                                           DOCUMENT 2
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 38 of 144




                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. ENTERPRISES, LLC                            *
                                               *
         PLAINTIFFS,                           *

vs.
                                               *
                                               *
                                               *
                                                       CIVIL CASE NUMBER=          cvd}\-\zL\
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *

                                                                             fF ~ l~fQ)
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
                                                                                 JUN 2 4 2024
FICTITIOUS DEFENDANTS R-Z.                     *
                                                                                    IN OFFICE
                                                                                MARY B . ROBERSON
                                                                                  CIRCUIT CLERK
                                        CIVIL SUMMONS

Notice To:     SANTO HOLDING AG

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.

___X_ _This Summons is being sent to:
       Obergericht des Kantons Zurich
      Zentralbehorde Rechtshilfe Zivilsachen
      Hirschengraben 15
      Postfach
                                          DOCUMENT 2
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 39 of 144




       8021 Zurich
       Tel 1: +41 44 257 91 91
       rechtshilfe@gerichte-zh.ch


which is the Central Authority of the Federal State of Zurich, Switzerland for service as allowed by
The Hague Convention.


Date - - - -- - -- - -




                                    RETURN ON SERVICE



       I certify that I personally delivered a copy of the Summons & Complaint to

       m _ _ _ _ ___, on _ _ _ _ _ _ _ __ __ _




DATE                                         SERVER'S SIGNATURE




Address of Server                                    Type of Process Server
                                                DOCUMENT 3
.         Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 40 of 144                               1)5




                     IN THE CffiCUIT COURT OF LEE COUNTY, ALABAMA

    ROBERT S. ABRAMS, and                          *
    A. ENTERPRISES, LLC                            *
                                                   *
            PLAINTIFFS,                            *
                                                   *
    vs.                                            *       CIVIL CASE NUMBER: CV-2024-184
                                                   *
    THOMAS STRUENGMANN,                            *
    ATHOS SERVICE GmbH,                            *
    YVES STEFFEN,                                  *
    ANDREAS BIAGOSCH,                              *
    PATIRO HOLDING AG,                             *
    SANTO HOLDING AG, and                          *
    FICTITIOUS DEFENDANTS R-Z.                     *
                                                                                                IN OFFICE
                                            CIVIL SUMMONS                                   MARY B ROBERSON
                                                                                             CIRCUIT CLERK

    Notice To:     Defendant
                   Patiro Holding AG
                   c/o Barbara Merz Wipfli, lie. Iur.
                   Attorney and Notary
                   Bahnhofplatz 3
                   6460 Altdorf Switzerland

    The Complaint which is attached to this Summons is important and you must take immediate action
    to protect your rights. You or your attorney are required to file the original of your written Answer,
    either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
    of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
    Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
    Telephone Number: (334) 749-2222

    This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
    delivered to you or a Judgment by default may be entered against you for the money or other things
    demanded in the Complaint.


    TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
    PROCESS: for and methods of service in a foreign country specifically by those means authorized
    by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


    _x_     You are hereby commanded to serve this Summons and a copy of the Complaint in this
            action upon the Defendant by means authorized by The Hague Convention on the Service
            Abroad of Judicial and Extra judicial Documents.
                                          DOCUMENT 3
    Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 41 of 144




_____x_ _This Summons is being sent to:

       Department federal de Justice et Police
       Office federal de la justice
       Domaine de direction Entraide judiciaire internationale
       Bundesrain 20
       3003 Bern
       Switzerland

which will forward this document to the appropriate Central Authority of the Federal State of
Altdorf, Uri, Switzerland for service on Defendant Patiro AG, as allowed by The Hague Convention.



Date   7-g-O)y


                                                ntiffs Attorney's Signature
                                                SEPH L. DEAN, JR. - DEA006)



                                   RETURN ON SERVICE


       I certify that I personally delivered a copy of the Summons & Complaint to

       m - - -- -- ~ on - - - - -- -- - - - - -




DATE                                        SERVER'S SIGNATURE




Address of Server                                  Type of Process Server
                                                             DOCUMENT 3
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 42 of 144


                                     REQUEST
                        FOR SERVICE ABROAD OF JUDICIAL OR
                           EXTRAJUDICIAL DOCUMENTS
      DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                 D'UN ACTE JUDICIAIR E OU EXTRAJUDICIAIRE

                   Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                 Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
               Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
                                matiere civile ou commerciale, signee a La Haye le 15 novembre 1965.

    Identity and address of the applicant                                Address of receiving authority
    ldentite et adresse du requerant                                     Adresse de l'autorite destinataire
    1. Mary Roberson                                                     2. Central Authority - Switzerland
    Lee County Circuit Clerk                                             The Federal Justice and Police Department
    Lee County Justice Center                                            Federal Office of Justice
    2311 Gateway Drive                                                   International Legal Assistance
    Opelika, Alabama 36801                                               Bundesrain 20
    Phone: 1-334-737-3500                                                3003 Bern
    Email: mary.roberson@alacourt.gov                                    Switzerland
                                                                         Phone: + 41 58 462 11 20
                                                                         Fax: + 4158462 53 80
                                                                         Email: irh®bi.admin.ch

   The undersigned applicant has the honour to transmit - in duplicate - the documents listed
   below and, in conformity with Article 5 of the above-mentioned Convention, requests prompt
   service of one copy thereof on the addressee, i.e.:
   Le requerant soussigne a l'honneur de faire parvenir - en double exemplaire - a l'autorite destinataire les
   documents ci-dessous enumeres, en la pliant, confom,ement a !'article 5 de la Convention precitee, d'en faire
   remettre sans retard un exemplaire au destinataire, a savoir :

    {identity and address)
    (identite et adresse)
    3. Patiro Holding AG
    c/o Barbara Merz Wipfli, lie. lur.
    Attorney and Notary
    Bahnhofplatz 3
    6460 Altdorf Switzerland

     181         a)     in accordance with the provisions of ·sub-paragraph a) of the first paragraph of
                        Article 5 of the Convention*
                        selon les fom,es legales (article 5, alinea oremier, lettre a))*
     □           b)     in accordance with the following particular method (sub-paragraph b) of the first
                        paragraph of Article 5)*:
                        selon la forme particuliere suivante (article 5, alinea premier, lettre b)* :
                        --
     □           c)     by delivery to the addressee, if he accepts it voluntarily (second paragraph of
                        Article 5)*
                        le cas echeant, par remise simple (article 5, alinea 2)*

   The authority is requested to return or to have returned to the applicant a copy of the documents -
   and of the annexes* - with the attached certificate.
   Celle autorite est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de l'acte - et de ses annexes* -
   avec l'attestation ci-jointe.

   List of documents I Enumeration des pieces

           •          Summons
           •          Complaint
           •          Model Form



     • of appropriate / s'I ya ~eu

    Done at I Fait a Lee County Justice Center                           Signature and/or stamp
                            2311 Gateway Drive                           Signature et / ou cachet
                            Opelika, Alabama 36801

    The / le 9 July 2024

 Pennanent Bureau July 2017
                                                          DOCUMENT 3
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 43 of 144


                                                     CERTIFICATE
                                                          ATTESTATION


   The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
   L'autorite soussignee a l'honneur d'attester conformement a l'article 6 de ladite Convention,

   D 1. that the document has been served*
             que la demande a ete executee•

       - the (date) / le /date):                                      1. Insert the date when the document was served
       - at (place, street, number):                                  2. Insert the place, street and number w here the
           a (localite, rue, numeral :                                document was served

       - in one of the following methods authorised by Article 5:
           dans une des tonnes suivantes orevues a l'article 5 :
       □     a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
                     Article 5 of the Convention*
                     selon les formes legales (article 5, alinea premier, lettre al)'

       □       b)    in accordance with the following particular method*:
                     selon la forme particuliere suivante• :
                     --
       □      c)     by delivery to the addressee, if he accepts it voluntarily*
                     oar remise simole*

   The documents referred to in the request have been delivered to:
   Les documents mentionnes dans la demande ont ete remis a :

    Identity and description of person:                               3. Insert the identity and description of the person
    ldentite et qualite de la personne :                              w ho received the documents


    Relationship to the addressee (family,                            4. Insert the relationship to the addressee of the
    business or other):                                               person who received the documents
    Liens de parente, de subordination ou autres, avec le
    destinataire de l'acte :

   D 2. that the document has not been served, by reason of the following facts*:
            que la demande n'a pas ete executee, en raison des fails suivants*:

    5. Insert facts/reasons why the document has not been served




   D In conformity with the second paragraph of Article 12 of the Convention, the applicant is
         requested to pay or reimburse the expenses detailed in the attached statement*.
         Conformement a l'article 12, alinea 2, de ladite Convention, le requerant est prie de payer ou de rembourser les frais
         dont le detail figure au memoire ci-joint•.

   Annexes I Annexes

    Documents returned:                                               Insert a lis t of the documents that are being
    Pieces renvoyees :                                                returned

    In appropriate cases, documents establishing                      Insert a list of the documents that establish that
    the service:                                                      service has been effected
    Le cas echeant, les documents justificatifs de
    !'execution :
     • if appropriate / s"ij ya 6eu

    Done at I Fait a Insert the location where you                    Signature and/or stamp
    signed the Certificate                                            Signature et / ou cachet

    The / le Insert the date on which you signed the
    Request (spelt out in full)




 Permanent Bureau July 2017
                                                     DOCUMENT 3
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 44 of 144


                                                   WARNING
                                                   AVERTISSEMENT


    Identity and address of the addressee
    ldentite et adresse du destinataire
    1. Patiro Holding AG
    c/o Barbara Merz Wipfli, lie. lur.
    Attorney and Notary
    Bahnhofplatz 3
    6460 Altdorf Switzerland


                                                       IMPORTANT

   THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
   OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
   INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
   DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

   IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON
   THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE
   YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

   ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
   THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                    TRES IMPORTANT

   LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
   LES« ELEMENTS ESSENTIELS DE L'ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE
   ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE Ml:ME DU
   DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

   SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITE D'OBTENIR
   L'ASSISTANCE JUDICIAIRE ET LA CONSULTATION JURIDIQUE, SOIT DANS VOTRE PAYS, SOIT DANS LE
   PAYS D'ORIGINE DU DOCUMENT.

   LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITES D'OBTENIR L'ASSISTANCE JUDICIAIRE OU
   LA CONSULTATION JURIDIQUE DANS LE PAYS D'ORIGINE DU DOCUMENT PEUVENT l:TRE ADRESSEES A :

    2. Mary Roberson
    Lee County Circuit Clerk
    Lee County Justice Center
    2311 Gateway Drive
    Opelika, Alabama 36801
    Phone: 1-334-737-3500
    Email: marv.roberson(@alacourt.oov

   It is recommended that the standard terms in the notice be written in English and French and
   where appropriate also in the official language, or in one of the official languages of the State in
   which the document originated. The blanks could be completed either in the language of the
   State to which the document is to be sent, or in English or French.

   II est recommande que les mentions imprimees dans cette note soient redigees en langue fran~aise et en langue
   anglaise et le cas echeant, en outre, dans la langue ou l'une des langues officielles de l'Etat d'origine de l'acte. Les
   blancs pourraient etre remplis, soil dans la langue de l'Etat ou le document doit etre adresse, soit en langue
   fran~aise, soit en langue anglaise.




 Permanent Bureau July 2017
                                                                          DOCUMENT 3
    Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 45 of 144

!

                  SUMMARY OF THE DOCUMENT TO BE SERVED
                                                      ELEMENTS ESSENTIELS DE L'ACTE


                  Convention on the Service Abroad of Judicial and Extrajudicial Documents in
       Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                                paragraph).
                         Convention relative a la signification et ala notification a l'etranger des actes judiciaires ou
                         extrajudiciaires en matiere civile ou commerciale, signee a La Haye le 15 novembre 1965
                                                               (article 5, alinea 4 ).

        Name and address of the requesting authority:                                       3. Mary Roberson
        Norn et adresse de l'autorite requerante :                                          Lee County Circuit Clerk
                                                                                            Lee County Justice Center
                                                                                            2311 Gateway Drive
                                                                                            Opelika, Alabama 36801
                                                                                            Phone: 1-334-737-3500
                                                                                            Email: mary.roberson@alacourt.aov

        Particulars of the parties*:                                                       4. Plaintiff:
        ldentite des parties• :                                                            Robert S. Abrams
                                                                                           875 5th Avenue, Apt 17C
                                                                                           New York, New York 10065
                                                                                           Phone: 1-929-944-5761
                                                                                           Email: racvholdings@gmail.com

                                                                                           Plaintiff:
                                                                                           A. Enterprises, LLC
                                                                                           1747 Brookeview Court
                                                                                           Auburn, Alabama 36830

                                                                                           Defendant:
                                                                                           Patiro Holding AG
                                                                                           c/o Barbara Merz Wipfli, lie. lur.
                                                                                           Attorney and Notary
                                                                                           Bahnhofplatz 3
                                                                                           6460 Altdorf Switzerland
         • If appropriate. identity and address of the person interested in the transmission of the document
           S'il y a lieu. identite et adresse de la personne interessee a la transmission de l'acte



       [8:1 JUDICIAL DOCUMENT"""
             ACTE JUDICIAJRE,.,.


         Nature and purpose of the document:                                              5. - Summons: information for service of process
         Nature et objet de l'acte :
                                                                                          -Complaint: seeking money damages

                                                                                          -Model Form: information for service purposes

        Nature and purpose of the proceedings and,                                        6. -Claim for money damages up to $1 Billion
        when appropriate, the amount in dispute:                                          USO for fraud, breach of contract, and breach of
        Nature et objet de !'instance, le cas echeant, le montant                         fiduciary duty.
        du litige:
         Date and Place for entering appearance**:                                        7. You must enter an appearance within thirty
         Date et lieu de la comparution.. :                                               (30) days from the date you are served with
                                                                                          process with the following:

                                                                                          Mary Roberson
                                                                                          Lee County Circuit Clerk
                                                                                          Lee County Justice Center
                                                                                          2311 Gateway Drive
                                                                                          Opelika, Alabama 36801
                                                                                          Telephone: 1-334-737-3500
                                                                                          Email: mary.roberson@alacourt.gov

        Court which has given judgment,.,.:                                               8. Not Applicable
        Juridiction qui a rendu la decision** :




     Permanent Bureau July 2017
                                                      DOCUMENT 3
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 46 of 144

     Date of judgment,..:                                  9. Not Applicable
     Date de la decision•• :



     Time limits stated in the documenr:                   10. You must enter an appearance within thirty
     Indication des delais figurant dans l'acte.. :        (30) days from the date you are served with
                                                           process with the following:

                                                           Mary Roberson
                                                           Lee County Circuit Clerk
                                                           Lee County Justice Center
                                                           2311 Gateway Drive
                                                           Opelika, Alabama 36801
                                                           Telephone: 1-334-737-3500
                                                           Email: mary.roberson@alacourt.gov
     ... if appropriate I s'il y a lieu




    □ EXTRA.JUDICIAL DOCUMEN~
          ACTE EXTRAJUDICIAIRE..


     Nature and purpose of the document:                   11. Not Applicable
     Nature et objet de l'acte :


     Time-limits stated in the documenr:                   12. Not Applicable
     Indication des delais figurant dans l'acte.. :



     •• if appropriate I s'il y a lieu




 Pem1anenl Bureau July 2017
                                            DOCUMENT 4
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 47 of 144




                IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A.ENTERPRISES , LLC                            *
                                               *
       PLAINTIFFS,                             *
                                               *
vs.                                            *       CIVIL CASE NUMBER: CV-2024-184
                                               *
THOMAS STRUENGMA                               *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
                                                                                        IN OFFICE
FICTITIOUS DEFENDANTS R-Z.                     *                                    MARY B ROBERSON
                                                                                      CIRCU IT CLERK

                                        CIVIL SUMMONS

Notice To:     Defendant
               Yves Steffen
               Weizackerweg 33 4312
               Magden, Switzerland


The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
       upon the Defendant by means authorized by The Hague Convention on the Service Abroad
       of Judicial and Extra judicial Documents.
                                               DOCUMENT 4
         Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 48 of 144
..


     _x__This Summons is being sent to:
     Department federal de Justice et Police
     Office federal de la justice
     Domaine de direction Entraide judiciaire internationale
     Bundesrain 20
     3003 Bern
     Switzerland

     which will forward this document to the appropriate Central Authority in Switzerland for service
     on Defendant Yves Steffen, as allowed by The Hague Convention.

     Date   H-aY
                                                 Clerk/Register


                                                     ntiff: Attorney's Signat
                                                     SEPH L. DEAN, JR. - DEA006)



                                        RETURN ON SERVICE



            I certify that I personally delivered a copy of the Summons & Complaint to

            m _______, on - - - -- - -- - -- - -




     DATE                                        SERVER'S SIGNATURE




     Address of Server                                   Type of Process Server
                                                              DOCUMENT 4
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 49 of 144


                                  REQUEST
             FOR SERVICE ABROAD OF JUDICIAL OR
                  EXTRAJUDICIAL DOCUMENTS
       DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                                   D'UN ACTE JUDICIAIRE OU EXTRAJUDICIAIRE

                   Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                 Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
               Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
                                matiere civile ou commerciale. signee a La Haye le 15 novembre 1965.

    Identity and address of the applicant                                Address of receiving authority
    ldentite et adresse du requerant                                     Adresse de l'autorite destinataire
    1. Mary Roberson                                                     2. Central A uthority - Switzerland
    Lee County Circuit Clerk                                             The Federal Justice and Police Department
    Lee County Justice Center                                            Federal Office of Justice
    2311 Gateway Drive                                                   International Legal Ass istance
    Opelika, Alabama 36801                                               Bundesrain 20
    Phone: 1-334-737-3500                                                3003 Bern
    Email: mary.roberson@alacourt.gov                                    Switzerland
                                                                         Phone: + 41 58 462 11 20
                                                                         Fax: + 41 58 462 53 80
                                                                         Em ail: irh<@bj.admin.ch

   The undersigned applicant has the honour to transmit - in duplicate - the documents listed
   below and, in conformity with Article 5 of the above-mentioned Convention, requests prompt
   service of one copy thereof on the addressee, i.e.:
   Le requerant soussigne a l'honneur de faire parvenir - en double exemplaire - a l'autorite destinataire les
   documents ci-dessous enumeres, en la priant, conformement a !'article 5 de la Convention precitee, d'en faire
   remettre sans retard un exemplaire au destinataire. a savoir :

    (identity and address)
    (identite et adresse)
    3. Yves Steffen
    Weizackerweg 33
    4312, Magden, Switzerland


     181         a)     in accordance with the provisions of sub-paragraph a) of the fir st paragraph of
                        Article 5 of the Convention*
                        selon les formes looales (article 5, alinea nremier, lettre a))*
                 b)     in accordance with the following particular method (sub-paragraph b) of the first
      □
                        paragraph of Article 5)*:
                        selon la forme particuliere suivante (article 5, alinea premier, lettre b)' :
                        -   -

                 c)     by delivery to the addressee, if he accepts it voluntarily (second paragraph of
      □
                        Article 5)*
                        le cas echeant, par remise simple (article 5, alinea 2)'

   The authority is requested to return or to have returned to the applicant a copy of the documents -
   and of the annexes* - with the attached certificate.
   Cette autorite est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de l'acte - et de ses annexes* •
   avec !'attestation ci-jointe.

   List of documents I Enumeration des pieces

           •          Sum mons
           •          Complaint
                      Model Form



     • ,t appropnate / s'il y a lieu

    Done at t Fait a Lee County Justice Center
                     2311 Gateway Drive
                     Opelika, A labama 36801

    The / le 9 July 2024
                                                                         Signature andlor stamp

                                                                         Si """' .. " " """''
                                                                                                         ~~

                                                                                                   ~ r ~ ''V' -           ·r UL           920~0
                                                                                                                                      IN OFFICE
                                                                                                                                  MARY B ROBERSON
 Permanent Bureau July 2017                                                                                                        CIRCUIT CLERK
                                                          DOCUMENT 4
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 50 of 144


                                                   CERTIFICATE
                                                        ATTESTATION


   The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
   L'autorite soussignee a l'honneur d'attester conformement a !'article 6 de ladite Convention,

   D 1. that the document has been served*
            que la demande a ete executee•

       - the (date) / le (date\:                                     1. Insert the date w hen the document was served
       - at (place, street, number):                                 2. Insert the place , street and number where the
           a (localite, rue, numero):                                document was served

       - in one-of the following methods authorised by Article 5:
           dans une des formes suivantes prevues a l'article 5 :
       □      a)    in accordance with the provisions of sub-paragraph a) of the first paragraph of
                    Article 5 of the Convention*
                    selon les formes legales (article 5, alinea premier, lettre a))*

       □      b)     in accordance with the following particular method*:
                     selon la forme particuliere suivante* :
                     --


       □      c)    by delivery to the addressee, if he accepts it voluntarily*
                     oar remise simple*

   The documents referred to in the request have been delivered to:
   Les documents mentionnes dans la demande ont ete remis a :

    Identity and description of person:                              3. Insert the identity and description of th e person
    ldentite et qualite de la personne :                             who received the docum ents


    Relationship to the addressee (family,                           4. Insert the relationship to the addressee of the
    business or other):                                              person who received the documents
    Liens de parente, de subordination ou autres, avec le
    destinataire de r acte :

   D 2. that the document has not been served, by reason of the following facts*:
            que la demande n'a pas ete executee, en raison des fails suivants* :

    5. Insert fac ts/ reasons why the document has not been served




   D In conformity with the second paragraph of Article 12 of the Convention, the applicant is
         requested to pay or reimburse the expenses detailed in the attached statement*.
         Conformement a !'article 12. alinea 2, de ladite Convention, le requerant est prie de payer ou de rembourser les frais
         dont le detail figure au memoire ci-joint· .

   Annexes I A nnexes

    Documents returned:                                              Insert a list of the documents that a re being
    Pieces renvoyees :                                               returned

    In appropriate cases, documents establishing                     Insert a list of the documents that establish that
    the service:                                                     service has been effected
    Le cas echeant, les documents justificatifs de
    !'execution :
     • if appropnate / s·~ ya lieu

    Done at I Fait a Insert the location where you                   Signature and/or stamp
    signed the Certificate                                           Signature et / ou cachet

    The / le Insert the date on which you signed the
    Request (spelt out in full)




 Permanent Bureau July 2017
                                                     DOCUMENT 4
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                                                   WARNING
                                                  AVERTISSEMENT


    Identity and address of the addressee
    ldentite et adresse du destinataire
    1. Yves Steffen
    Weizackerweg 33
    4312, Magden, Switzerland


                                                       IMPORTANT

   THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
   OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
   INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
   DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

   IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON
   THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE
   YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

   ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
   THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                    TRES IMPORTANT

   LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
   LES« ELEMENTS ESSENTIELS DE L'ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE
   ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MEME DU
   DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

   S I VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITE D'OBTENIR
   L'ASSISTANCE JUDICIAIRE ET LA CONSULTATION JURIDIQUE . SOIT DANS VOTRE PAYS. SOIT DANS LE
   PAYS D'ORIGINE DU DOCUMENT.

   LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITES D'OBTENIR L'ASS ISTANCE JUDICIAIRE OU
   LA CONSULTATION JURIDIQUE DANS LE PAYS D'ORIGINE DU DOCUMENT PEUVENT ETRE ADRESSEES A:

    2. Mary Roberson
    Lee County Circuit Clerk
    Lee County Justice Center
    231 1 Gateway Drive
    Opelika, Alabama 36801
    Phone: 1-334-737-3500
    Email: marv.roberson@alacourt.aov

   It is recommended that the standard terms in the notice be written in English and French and
   where appropriate also in the official language, or in one of the official languages of the State in
   which the document originated. The blanks could be completed either in the language of the
   State to which the document is to be sent, or in English or French.

   II est recommande que les mentions imprimees dans cette note soient redigees en langue franc;;aise et en langue
   anglaise et le cas echeant, en outre. dans la langue ou l'une des langues officielles de l'Etat d'origine de l'acte. Les
   blancs pourraient etre remplis, soil dans la langue de l' Etat ou le document doit etre adresse. soit en langue
   franc;;aise. soil en langue anglaise.




 Permanent Bureau July 2017
                                                                       DOCUMENT 4
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              SUMMARY OF THE DOCUMENT TO BE SERVED
                                                 ELEMENTS ESSENTIELS DE L'ACTE


              Convention on the Service Abroad of Judicial and Extrajudicial Documents in
   Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                                      paragraph ).
               Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou
               extrajudiciaires en matiere civile ou commerciale, signee a La Haye le 15 novembre 1965
                                                     (article 5, alinea 4 ).

    Name and address of the requesting authority:                                       3. Mary Roberson
    Norn et adresse de l'autorite requerante :                                          Lee County Circuit Clerk
                                                                                        Lee County Justice Center
                                                                                        2311 Gateway Drive
                                                                                        Opelika, Alabama 36801
                                                                                        Phone: 1-334-737-3500
                                                                                        Email: marv.roberson@.alacourt.qov

    Particulars of the parties*:                                                        4. Plaintiff:
    ldentite des parties• :                                                             Robert S. Abrams
                                                                                        875 5th Avenue, Apt 17C
                                                                                        New York, New York 10065
                                                                                        Phone: 1-929-944-5761
                                                                                        Email: racvholdings@gmail.com

                                                                                        Plaintiff:
                                                                                        A. Enterprises, LLC
                                                                                        1747 Brookeview Court
                                                                                        Auburn. Alabama 36830

                                                                                       Defendant:
                                                                                       Yves Steffen
                                                                                       Weizackerweg 33
                                                                                       4312, Maqden, Switzerland
       If appropriate. identity and address of the person interested in the transmission of the document
       S'il ya lieu, identite et adresse de la personne intE!ressee a la transmtssion de l'acte



   [8J JUDICIAL DOCUMENT,...
         ACTE JUDICIAIRE""


    Nature and purpose of the document:                                               5. - Summons: information for service of process
    Nature et objet de l'acte :
                                                                                      -Complaint: seeking money damages

                                                                                      -Model Form: information for service purposes

    Nature and purpose of the proceedings and,                                        6. -Claim for money damages up to $1 Billion
    when appropriate, the amount in dispute:                                          USD for fraud , breach of contract. and breach of
    Nature et objet de l'instance, le cas echeant. le montant                         fiduciary duty.
    du litige:
    Date and Place for entering appearance"":                                         7. You must enter an appearance within thirty
    Date et lieu de la comparution.. :                                                (30) days from the date you are served with
                                                                                      process with the following:

                                                                                      Mary Roberson
                                                                                      Lee County Circuit Clerk
                                                                                      Lee County Justice Center
                                                                                      2311 Gateway Drive
                                                                                      Opelika, Alabama 36801
                                                                                      Telephone: 1-334-737-3500
                                                                                      Email: mary.roberson@alacourt.gov

    Court which has given judgment**:                                                 8. Not Applicable
    Juridiction qui a rendu la decision.. :


    Date of judgment,...:                                                             9. Not Applicable
    Date de la decision.. :




 Permanent Bureau July 2017
                                                     DOCUMENT 4
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    Time limits stated in the document,..:                10. You must enter an appearance within thirty
    Indication des delais figurant dans l'acte.. :        (30) days from the date you are served with
                                                          process with the following:

                                                          Mary Roberson
                                                          Lee County Circuit Clerk
                                                          Lee County Justice Center
                                                          2311 Gateway Drive
                                                          Opelika, Alabama 36801
                                                          Telephone: 1-334-737-350 0
                                                          Email: mary.roberson@alacourt.gov

    - if appropriate / s·~ ya lieu




   D EXTRAJUDICIAL DOCUMENT**
                    IRE..
         ACTE EXTRAJUDICIA


    Nature and purpose of the document:                   11. Not Applicable
    Nature et objet de l'acte :


    Time-limits stated in the document**:                 12. Not Applicable
    Indication des delais figurant dans l'acte.. :


    · • if appropriate / f l ya i eu




 Permanent Bureau July 20 17
                                            DOCUMENT 5
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 54 of 144                              P0




                IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERT S. ABRAMS, and                          *
A. ENTERPRISES, LLC                            *
                                               *
        PLAINTIFFS,                            *
                                               *
vs.                                            *       CIVIL CASE NUMBER: CV-2024-184
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *

                                        CIVIL SUMMONS

Notice To:     Defendant                                                                IN OFFICE
                                                                                    MARY B ROBERSON
               SANTO HOLDING AG                                                      CIRCUIT CLERK
               Limmatquai 4
               PO Box 1731 CH-8027
               Zurich


The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.
                                          DOCUMENT 5
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 55 of 144




__cX~_This Summons is being sent to:

Department federal de Justice et Police
Office federal de la justice
Domaine de direction Entraide judiciaire internationale
Bundesrain 20
3003 Bern
Switzerland

which will forward this document to the appropriate Central Authority in Switzerland for service
on Defendant Santo Holding AG, as allowed by The Hague Convention.



Date   J.q- a,y
                                             By:- - - - - - - -- -- -
                                             Clerk/Register


                                             Pl inti Attorney's Signature
                                                 SEPH L. DEAN, JR. - DEA006)



                                   RETURN ON SERVICE



        I certify that I personally delivered a copy of the Summons & Complaint to

        m ______ ______. on - - - -- - - - - - - - -




DATE                                         SERVER'S SIGNATURE




Address of Server                                   Type of Process Server
                                                            DOCUMENT 5
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                                  REQUEST
              FOR SERVICE ABROAD OF JUDICIAL OR
                   EXTRAJUDICIAL DOCUMENTS
        DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                                   D'UN ACTE JUDICIAIRE OU EXTRAJUDICIAIRE

                   Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                 Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
             Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
                              matiere civile ou commerciale, signee a La Haye le 15 novembre 1965.

      Identity and address of the applicant                                 Address of receiving authority
      ldentite et adresse du requerant                                      Adresse de l'autorite destinataire
      1. Mary Roberson                                                      2. Central Authority - Switzerland
      Lee County Circuit Clerk                                               The Federal Justice and Police Department
      Lee County Justice Center                                             Federal Office of Justice
                                                                            International Legal Assistance
      2311 Gateway Drive                                                    Bundesrain 20
      Opelika, Alabama 36801                                                3003 Bern
      Phone: 1-334-737-3500                                                 Switzerland
      Email: mary.roberson@alacourt.gov                                     Phone: +41 58 462 11 20
                                                                            Fax: + 4158462 53 80
                                                                            irh®bi.admin.ch

     The undersigned applicant has the honour to transmit - in duplicate - the documents listed below
     and, in conformity with Article 5 of the above-mentioned Convention, requests prompt service of
     one copy thereof on the addressee, i.e.:
     Le requerant soussigne a l'honneur de faire parvenir - en double exemplaire - a l'autorite destinataire les documents
     ci-dessous enumeres , en la priant. conformement a !'article 5 de la Convention precitee. d'en faire remettre sans retard
     un exemplaire au destinataire, a savoir :

      (identity and address)
      (identite et adresse)
      3. Santo Holding AG
      Limmatquai 4
      P.O. Box 1731 CH-8027 Zurich
      c/o Ruth Stoeckli - Corporate Representative
      Fax: 0041(0) 43 422 66 61
      Email: r.stoeckli@santoholding.ch


       [8]       a)     in accordance with the provisions of sub-paragraph a) of the first paragraph of
                        Article 5 of the Convention*
                        selon les formes leaales /article 5, alinea oremier, lettre all'
       D         b)     in accordance with the following particular method (sub-paragraph b) of the first
                        paragraph of Article 5)':
                        selon la forme particuliere suivante (article 5, alinea premier, lettre b)':
                        - -
                 c)     by delivery to the addressee, if he accepts it voluntarily (second paragraph of
       D
                        Article 5)*
                        le cas echeant, par remise simple (article 5, alinea 2)'
      ~



                      --               --        ---               - - ·-                  -             -               -·

     The authority is requested to return or to have returned to the applicant a copy of the documents -
     and of the annexes* - with the attached certificate.
     Celle autorite est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de l'acte - et de ses annexes• -
     avec !'attestation ci-jointe.

     List of documents I Enumeration des pieces

             •        Summons
             •        Complaint
             •        Model Form



      • rt appropnate I s'il y a heu




 Permanent Bureau July 2017
                                               DOCUMENT 5
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      Done at I Fait a Lee County Justice Center     Signature and/or stamp
      2311 Gateway Drive                             Signature et / ou cachet
      Opelika, Alabama 36801

      The / le 9 July 2024




                                                                                    IN 0 1 FICE
                                                                                MARY B R~BERSON
                                                                                 CIRCUI CLERK




 Permanent Bureau July 2017
                                                         DOCUMENT 5
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                                                    CERTIFICATE
                                                         ATTESTATION


     The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
     L'autorite soussignee a l'honneur d'attester conformement a !'article 6 de ladite Convention,

     0    1. that the document has been served*
              que la demande a ete executee•

         - the (date) / le /datel :                                  1. Insert the date when the document was served
         - at (place, street, number):                               2. Insert the place, street and number where the
             a (localite, rue, numeral :                             document was served

         - in one of the following methods authorised by Article 5:
             dans une des formes suivantes orevues a !'article 5 :
         □     a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
                     Article 5 of the Convention*
                     selon les formes legales (article 5, alinea premier, lettre a)r

                b)    in accordance with the following particular method*:
         □
                      selon la forme particuliere suivante* :
                      - -
         □     c)    by delivery to the addressee, if he accepts it voluntarily*
                      par remise simple*

     The documents referred to in the request have been delivered to:
     Les documents mentionnes dans la demande ont ete remis a :

      Identity and description of person:                            3. Insert the identity and description of the person
      ldentite et qualite de la personne :                           who received the documents


      Relationship to the addressee (family,                         4 . Insert the relationship to the addressee of the
      business or other):                                            person who received the documents
      Liens de parente, de subordination ou autres. avec le
      destinataire de l'acte :

     0    2. that the document has not been served, by reason of the following facts*:
              que la demande n'a pas ete executee, en raison des fails suivants* :

      5. Insert facts/reasons w hy the document has not been served




     0    In conformity with the second paragraph of Article 12 of the Convention, the applicant is
          requested to pay or reimburse the expenses detailed in the attached statement*.
          Conformement a !'article 12, alinea 2, de ladite Convention. le requerant est prie de payer ou de rembourser Jes frais
          dont le detail figure au memoire ci-joint•.

     Annexes I Annexes

      Documents returned:                                            Insert a list of the docum ents that are being
      Pieces renvoyees :                                             returned

      In appropriate cases, documents establishing                   Insert a list of the documents that establish that
      the service:                                                   service has been effected
      Le cas echeant, les documents justificatifs de
      . if appropnate / s.. y a heu
      !'execution :
                          ,1


      Done at I Fait a Insert the location where you                 Signature and/or stamp
      signed the Certificate                                         Signature et / ou cachet

      The / le Insert the date on which you signed the
      Request (spelt out in full)




 Permanent Bureau July 2017
                                                     DOCUMENT 5
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                                                      WARNING
                                                     AVERTISSEM ENT


      Identity and address of the addressee
      ldentite et adresse du destinataire
      1. Santo Holding AG
      Limmatquai 4
      P.O. Box 1731 CH-8027 Zurich
      c/o Ruth Stoeckli - Corporate Representative
      Fax: 0041(0) 43 422 66 61
      Email: r.stoeckli@santoholding.ch


                                                         IMPORTANT

     THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
     OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
     INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
     DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

     IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON
     THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE YOU
     LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

     ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
     THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                       TRES IMPORTANT

     LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
     LES« ELEMENTS ESSENTIELS DE L'ACTE » VOUS OONNENT QUELQUES INFORMATIONS SUR SA NATURE
     ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MEME OU
     DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

     SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBI LITE D'OBTENIR
     L'ASSISTANCE JUOICIAIRE ET LA CONSULTATION JURIDIQUE, SOIT DANS VOTRE PAYS, SOIT DANS LE
     PAYS D'ORIGINE OU DOCUMENT.

     LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITES D'OBTENIR L'ASSISTANCE JUOICIAIRE OU
     LA CONSULTATION JURIDIQUE DANS LE PAYS O'ORIGINE DU DOCUMENT PEUVENT ETRE AORESSEES A :

      2. Mary Roberson
      Lee County Circuit Clerk
      Lee County Justice Center
      2311 Gateway Drive
      Opelika, Alabama 36801
      Phone: 1-334-737-3500
      Email: marv.roberson@alacourt.aov

     It is recommended that the standard terms in the notice be written in English and French and
     where appropriate also in the official language, or in one of the official languages of the State in
     which the document originated. The blanks could be completed either in the language of the State
     to which the document is to be sent, or in English or French.

     II est recommande que les mentions imprimees dans cette note soient redigees en langue francaise et en langue
     anglaise et le cas echeant, en outre, dans la langue ou l'une des langues officielles de l'Etat d'origine de l'acte. Les
     blancs pourraient etre remplis, soit dans la langue de l'Etat ou le document doit etre adresse. soit en langue francaise,
     soit en langue anglaise.




 Permanent Bureau July 2017
                                                                    DOCUMENT 5
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              SUMMARY OF THE DOCUMENT TO BE SERVED
                                                 ELEMENTS ESSENTIELS DE L'ACTE


               Convention on the Service Abroad of Judicial and Extrajudicial Documents in
    Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                             paragraph).
                     Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou
                     extrajudiciaires en matiere civile ou commerciale, signee a La Haye le 15 novembre 1965
                                                           (article 5, alinea 4 ).

     Name and address of the requesting authority:                                     3. Mary Roberson
     Norn et adresse de l'autorite requerante :                                        Lee County Circuit Clerk
                                                                                       Lee County Justice Center
                                                                                       2311 Gateway Drive
                                                                                       Opelika, Alabama 36801
                                                                                       Phone: 1-334-737-3500
                                                                                       Email: marv.roberson®alacourt.aov

     Particulars of the parties*:                                                      4. Plaintiff:
     ldentite des parties* :                                                           Robert S. Abrams
                                                                                       875 5th Avenue, Apt 17C
                                                                                       New York, New York 10065
                                                                                       Phone: 1-929--944-5761
                                                                                       Email: racvholdings@gmail.com

                                                                                       Plaintiff:
                                                                                       A. Enterprises, LLC
                                                                                       1747 Brookeview Court
                                                                                       Auburn, Alabama 36830

                                                                                       Defendant:
                                                                                       Santo Holding AG
                                                                                       Limmatquai 4
                                                                                       P.O. Box 1731 CH-8027 Zurich
                                                                                       c/o Ruth Stoeckli - Corporate Representative
                                                                                       Fax: 0041(0) 43 422 66 61
                                                                                       Email: r.stoecklilnlsantoholdina.ch
      • If appropriate. identity and address of the person interested in the transmission of the document
        S'il ya lieu. idemite et adresse de ta pers.onne interessee a ta transmission de racte



    [8J JUDICIAL DOCUMENT**
          ACTE JUDICIAIRE..,


      Nature and purpose of the document:                                            5. - Summons: information for service of process
      Nature et objet de l'acte :
                                                                                     -Complaint: seeking money damages

                                                                                     -Model Form: information for service purposes

      Nature and purpose of the proceedings and,                                     6. -Claim for money damages up to $1 Billion
      when appropriate, the amount in dispute:                                       USD for fraud, breach of contract, and breach of
      Nature et objet de !'instance, le cas echeant, le montant                      fiduciary duty.
      du litige:
      Date and Place for entering appearance0 :                                      7. You must enter an appearance within thirty
      Date et lieu de la comparution** :                                             (30) days from the date you are served with
                                                                                     process with the following:

                                                                                     Mary Roberson
                                                                                     Lee County Circuit Clerk
                                                                                     Lee County Justice Center
                                                                                     2311 Gateway Drive
                                                                                     Opelika, Alabama 36801
                                                                                     Telephone: 1-334-737-3500
                                                                                     Email: mary.roberson@alacourt.gov

      Court which has given judgment**:                                              8. Not Applicable
      Juridiction qui a rendu la decision** :




 Permanent Bureau July 2017
                                                       DOCUMENT 5
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      Date of judgment**:                                    9. Not Applicable
      Date de la decision•• :


      Time limits stated in the document**:                  10. You must enter an appearance within thirty
      Indication des delais figurant dans l'acte•• :         (30) days from the dale you are served with
                                                             process with the following:

                                                             Mary Roberson
                                                             Lee County Circuit Clerk
                                                             Lee County Justice Center
                                                             2311 Gateway Drive
                                                             Opelika, Alabama 36801
                                                             Telephone: 1-334-737-3500
                                                             Email: mary.roberson@alacourt.gov

      •• if appropriate / s·;I y a lieu




    □ EXTRAJUDICIAL DOCUMENT**
           ACTE EXTRAJUDICIAIRE*'


      Nature and purpose of the document:                    11 . Not Applicable
      Nature et objet de l'acte :


      Time-limits stated in the document**:                  12. Not Applicable
      Indication des delais figurant dans l'acte.. :


      ·• if appropriate / s·;I ya lieu




 Permanent Bureau July 2017
                                        DOCUMENT 6
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~**
csss;e *
!GO
KANTON AARGAU
                           Gerichte Kanton Aargau
                           Generalsekretariat


Obere Vorstadt 40, Postfach, 5001 Aarau
Telefon 062 835 38 24
Fax     062 835 39 49




LDl.2024.281 / mt                                        Mary Roberson
                                                         Lee Cou ntry C ircu it Clerk
                                                         Lee Country Justice Center
                                                         2311 Gateway Drive
                                                       . 36801 Opel ika , Alabama
                                                         UNITED STATES OF AMERICA


Aarau , 17. Juli 2024




Rechtshilfeersuchen i.S. Herrn Yves Philippe Oskar STEFFEN, Weizackerweg 33, 4312
Magden


Sehr geehrte Darne n und Herren

In der Beilage !assen wir Ihnen das obgenannte Rechtshilfeersuchen aus dem folgenden
Grund wieder zugehen :

Da Sie ausdrucklich um formliche Z uste llung (lit. a ) des Gesuchs ersuchen , ist eine deutsche
Obersetzung (translation in German) der Unterlagen unerlasslich .

Wir bitten S ie um Verbesserung des Gesuchs und erneute E inre ichun g .

Freu n d li che Grosse
Gerichte Kanton Aargau
Generalsekretariat
Die Sachbearbeiterin :

 \-'\ , ' e.---y " .--z)
Temporal




Beilage erwahnt
                                           DOCUMENT 6
    Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 63 of 144
e   Schweizerisch e Eidge n ossenschaft
    C o nfed er.=ition suisse
    Confederaz ionc SviLLera
    Confederaz iu n svi zra
                                                E idgenOssisches Justiz- und P olizeidepartement EJPD
                                                Bundesamt fur Justiz BJ
                                                Direktionsbereich Internationale Rechtshilfe
                                                Fachbereich Rechtshilfe II: Beweiserhebung und Z ustellung




    CH-3003 Bern BJ I BJ-00437963 I P001
                                                                            '" • 1 7 JULI 2024
    A-Post
    Gerichte Kanton Aargau                                                                              ..
                                                                                                        >
    Generalsekretariat                                                ' - - - - - -- -- - - - -- -J
    Kantonale Zentralbehorde
    Obere Vorstadt 40
    5000 Aarau




    1hr Zeichen:
    Unser Zeichen: C - 24-3- 12
    Sachbearbeiter/in: KUL
    Bem, 15. Juli 2024



    Zustellungsersuchen gemass HZUe65 an STEFFEN Yves

    Sehr geehrte Darnen und Herren

    Das Haager Obereinkommen Ober die Zustellung gerichtlicher und ausserg erichtlicher Schriftsto-
    cke im Ausland in Zivil- oder Handelssachen sieht vor, dass auslandische Behorden die Zustel-
    lungsersuchen wah lweise an die Bundeszentralbehorde oder an die zustandige kantonale Zentral-
    behorde senden konnen.

    Beiliegend erhalten Sie e in Zustellungsersuchen, fur dessen Erledigung Sie zustandig sind. Wir
    haben die Akten nicht gepr0ft und bitten S ie , gegebenenfalls Ober die Zustellung zu entsc heiden.
    Das Zustellungszeugnis und ein Exemplar des Schriftst0cks und seiner Beilagen senden Sie bitte
    direkt an die ersuchende auslandische Behorde.


    Freundliche Grosse

    Bundesamt fur Justiz




    Lara Kubler
    Dokument ohne Unterschrift



    Beilagen erwahnt



                                                B undesamt fO r Justiz BJ
                                                Lara KUble..-
                                                Bundesrain 20, 3003 Bern, Schweiz
                                                Tel. +4 1 58 464 oo 38. Fax +41 58 462 53 80
                                                lara.kuebler@bj.admin .ch
                                                www.bj.admin.ch


    BJ-00437983 I P001
                                                                DOCUMENT 6
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                                       REQUEST
                          FOR SERVICE ABROAD OF JUDICIAL OR
                             EXTRAJUDICIAL DOCUMENTS
        DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                   D'UN ACTE JUDICIAIRE OU EXTRAJUDICIAIRE

                     Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                   Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
                 Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
                                  matiere civile ou commerciale, signee a La Haye le 15 novembre 1965.

      Identity and address of the applicant                                 Address of receiving authority
      ldentite et adresse du requerant                                      Adresse de l'autorite destinataire
      1. Mary Roberson                                                      2. Central Authority - Switzerland
      Lee County Cir cuit Clerk                                             The Federal Justice and P olice Department
      Lee County Justice Center                                             Federal Office of Justice                  r=--:---f- -f- ---- --
      2311 Gateway Drive                                                    lntemational Legal Assistance          Gerich t' I{_, -~o;i -"1.~~:--;au
      Opelika, Alabama 36801                                                Bundesrain 20                                                            -
      Phone: 1-334-737-3500                                                 3003 Bern
      Email: mary.roberson@alacourt.gov                                     Switzerland                           Eing.:           1 . JU I 2024
                                                                            Phone: + 41 58 462 11 20
                                                                            Fax: + 41 58 462 53 80
                                                                            Email: irh b'.admin.ch
                                                                                                                                               . "'
                                                                                                                                     . •\....iii • -
                                                                                                                                    ,)




     The undersigned applicant has the honour to transmit - in duplicate - the documents listed
     below and, in conformity with Article 5 of the above-mentioned Convention, requests prompt
     service of one copy thereof on the addressee, i.e.:
     Le requerant soussigne a l'honneur de faire parvenir - en double exemplaire - a l'autorite destinataire les
     documents ci-dessous enumeres, en la priant, conformement a !'article 5 de la Convention precitee, d'en faire
     remettre sans retard un exemplaire au destinataire, a savoir :

      (identity and address)
      (identite et adresse)
      3. Yves Steffen
      Weizackerweg 33
      4312, Magden, Switzerland


       181         aJ     in accordance with the provisions of sub-paragraph a) of the first paragraph of
                          Article 5 of the Convention•
                          selon les tonnes leoales (article 5, alinea oremier, lettre a\\•
       D           b)     in accordance with the following particular method (sub-paragraph b) of the first
                          paragraph of Article 5)*:
                          selon la tonne, particuliere suivante (article 5, alinea premier, lettre b)' :
                          --

       D           c)     by delivery to the addressee, if he accepts it voluntarily (second paragraph of
                          Article 5)*
                          le cas echeant, par remise simple (article 5, alinea 2)'

     The authority is requested to return or to have returned to the applicant a copy of the documents -
     and of the annexes• - with the attached certificate.
     Cette autorite est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de l'acte - et de ses annexes• -
     avec !'attestation ci-jointe.

     List of documents I tnumeration des pieces

             •          Summons
             •          Complaint
             •          Model Form



       • if appropriate / s'il ya lieu

      Done at / Fait a Lee County Justice Center                            Signature and/or stamp

                                                                                                           ~
                       2311 Gateway Drive
                       Opelika, Alabama 36801                               s;go~                                                        920~0
      The / le 9 July 2024                                                            FICE
                                                                                       BERSON
~ _..,__ __ _ _ _ __ __ _ __ _ _ _ _..,__ _ _ _ __ _ _ _ _ _ _ _ _ _ __,....,.,...,..~CLERK

   Permanent Bureau July 2017
                                                     DOCUMENT 6
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                                               CERTIFICATE
                                                    ATTESTATION


   The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
   L'autorite soussignee a l'honneur d'attester conformement a !'article 6 de ladite Convention,

   D 1. that the document has been served*
            que la demande a ete executee•

      - the (date) / le (date):                                1. Insert the date when the document was served
      - at (place, street, number):                            2. Insert the place, street and number where the
        a (localite, rue, numero):                             document was served

      - in one of the following methods authorised by Article 5:
        dans une des tonnes suivantes orevues a !'article 5 :
      D a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
               Article 5 of the Convention*
               selon les tonnes legales (article 5, alinea premier, lettre al)'

      D       b)     in accordance with the following particular method*:
                     selon la tonne particuliere suivante• :
                     --

      D       c)    by delivery to the addressee, if he accepts it voluntarily*
                    oar remise simoie•

   The documents referred to in the request have been delivered to:
   Les documents mentionnes dans la demande ont ete remis a :

    Identity and description of person:                        3. Insert the identity and description of the person
    ldentite et qualite de la personne :                       who received the documents


    Relationship to the addressee (family,                     4. Insert the relationship to the addressee of the
    business or other):                                        person who received the documents
    Liens de parente, de subordination ou autres, avec le
    destinataire de l'acte :

   D 2. that the document has not been served, by reason of the following facts*:
            que la demande n'a pas ete executee, en raison des fails suivants*:

    5. Insert facts/reasons why the document has not been served




   D In conformity with the second paragraph of Article 12 of the Convention, the applicant is
         requested to pay or reimburse the expenses detailed in the attached statement• .
        Conformement a !'article 12. alinea 2, de ladite Convention. le requerant est prie de payer ou de rembourser les frais
        dont le detail figure au memoire ci-joint'.

   Annexes I Annexes

    Documents returned:                                        Insert a list of the documents that are being
    Pieces renvoyees :                                         returned

    In appropriate cases, documents establishing               Insert a list of the documents that establish that
    the service:                                               service has been effected
    Le cas echeant. les documents justificatifs de
    !'execution:
    • if appropnate / s"il y a lieu

    Done at I Fait a Insert the location where you             Signature and/or stamp
    signed the Certificate                                     Signature et / ou cachet

    The / le Insert the date on which you signed the
    Request (spelt out in full)




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                                                   WARNING
                                                  AVERTISSEMENT


    Identity and address of the addressee
    ldentite et adresse du destinataire
    1. Yves Steffen
    Weizackerweg 33
    4312, Magden, Switzerland


                                                       IMPORTANT

   THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
   OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
   INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
   DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

   IF YOUR FINANCIAL RESOURCES ARE INSUFFIICIENT YOU SHOULD SEEK INFORMATION ON
   THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE
   YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

   ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
   THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                    TRES IMPORTANT

   LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
   LES« ELEMENTS ESSENTIELS DE L'ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE
   ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MEME DU
   DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

   SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITE D'OBTENIR
   L'ASSISTANCE JUDICIAIRE ET LA CONSULTATION JURIDIQUE, SOIT DANS VOTRE PAYS, SOIT DANS LE
   PAYS D'ORIGINE DU DOCUMENT.

   LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITES D'OBTENIR L'ASSISTANCE JUDICIAIRE OU
   LA CONSULTATION JURIDIQUE DANS LE PAYS D'ORIGINE DU DOCUMENT PEUVENT ETRE ADRESSEES A:

    2. Mary Roberson
    Lee County Circuit Clerk
    Lee County Justice Center
    2311 Gateway Drive
    Opelika, Alabama 36801
    Phone: 1-334-737-3500
    Email: marv. roberson@alacourt.Qov

   It is recommended that the standard terms in the notice be written in English and French and
   where appropriate also in the official language, or in one of the official languages of the State in
   which the document originated. The blanks could be completed either in the language of the
   State to which the document is to be sent, or in English or French.

   II est recommande que les mentions imprimees dans cette note soient redigees en langue frani;aise et en langue
   anglaise et le cas echeant, en outre, dans la langue ou l'une des langues officielles de l'Etat d'origine de l'acte. Les
   blancs pourraient etre remplis, soil dans la langue de l'Etat ou le document doit etre adresse, soil en langue
   frani;aise, soil en langue anglaise.




 Permanent Bureau July 2017
                                                                      DOCUMENT 6
Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 67 of 144


              SUMMARY OF THE DOCUMENT TO BE SERVED
                                                 ELEMENTS ESSENTIELS DE L'ACTE


              Convention on the Service Abroad of Judicial and Extrajudicial Documents in
   Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                            paragraph).
                     Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou
                                                                                                 a
                     extrajudiciaires en matiere civile ou commerciale, signee La Haye le 15 novembre 1965
                                                           (article 5, alinea 4 ).

    Name and address of the requesting authority:                                      3. Mary Roberson
    Norn et adresse de l'autorite requerante :                                         Lee County Circuit Clerk
                                                                                       Lee County Justice Center
                                                                                       2311 Gateway Drive
                                                                                       Opelika, Alabama 36801
                                                                                       Phone: 1-334-737-3500
                                                                                       Email: marv.robersonlnlalacourt.nnv

    Particulars of the parties*:                                                       4. Plaintiff:
    ldentite des parties• :                                                            Robert S. Abrams
                                                                                       875 5th Avenue, Apt 17C
                                                                                       New York, New York 10065
                                                                                       Phone: 1-929-944-5761
                                                                                       Email: racvholdings@gmail.com

                                                                                      Plaintiff:
                                                                                      A. Enterprises, LLC
                                                                                      174 7 Brookeview Court
                                                                                      Auburn, Alabama 36830

                                                                                      Defendant:
                                                                                      Yves Steffen
                                                                                      Weizackerweg 33
                                                                                      4312, Maoden, Switzerland
     • If appropriate, identity and address of the person interested in the transmission of the document
       S'il y a lieu. tdentite et adresse de la personne interessee a la transnission de racte



   [81 JUDICIAL DOCUMENT**
         ACTE JUDICIAIRE**


     Nature and purpose of the document:                                             5. - Summons: information for service of process
    Nature et objet de l'acte :
                                                                                     -Complaint: seeking money damages

                                                                                     -Model Form: information for service purposes

    Nature and purpose of the proceedings and,                                       6. -Claim for money damages up to $1 Billion
    when appropriate, the amount in dispute:                                         USO for fraud, breach of contract, and breach of
    Nature et objet de !'instance, le cas echeant, le montant                        fiduciary duty.
    du litige :
    Date and Place for entering appearance**:                                        7. You must enter an appearance within thirty
    Date et lieu de la comparution.. :                                               (30) days from the date you are served with
                                                                                     process with the following:

                                                                                     Mary Roberson
                                                                                     Lee County Circuit Clerk
                                                                                     Lee County Justice Center
                                                                                     2311 Gateway Drive
                                                                                     Opelika, Alabama 36801
                                                                                     Telephone: 1-334-737-3500
                                                                                     Email: mary.roberson@alacourt.gov

    Court which has given judgment**:                                                8. Not Applicable
    Juridiction qui a rendu la decision.. :



     Date of judgment...:                                                            9. Not Applicable
     Date de la decision.. :




 Permanent Bureau July 2017
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     Time limits stated in the document,..:                10. You must enter an appearance within thirty
     Indication des delais figurant dans l'acte•• :        (30) days from the date you are served with
                                                           process with the following:

                                                           Mary Roberson
                                                           Lee County Circuit Clerk
                                                           Lee County Justice Center
                                                           2311 Gateway Drive
                                                           Opelika, Alabama 36801
                                                           Telephone: 1-334-737-3500
                                                           Email: mary.roberson@alacourt.gov

     •• if appropriate / s'il y a lieu




    □ EXTRA.JUDICIAL OOCUMENTH
          ACTE EXTRAJUDICIAIRE*•


     Nature and purpose of the document:                   11. Not Applicable
     Nature et objet de l'acte :


     Time-limits stated in the documenr :                  12. Not Applicable
     Indication des delais figurant dans l'acte** :


     .. if appropriate / s ' i ya lieu




 Pennanent Bureau July 2017
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                IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. ENTERPRISES, LLC                            *
                                               *
        PLAINTIFFS,                            *
                                               *
vs.                                            *       CIVIL CASE NUMBER: CV-2024-184
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
                                                                                 IN OFFICE
FICTITIOUS DEFENDANTS R-Z.                     *                             MARY 8 ROBERSON
                                                                              CIRCUIT CLERK

                                        CIVIL SUMMONS

Notice To:     Defendant
               Yves Steffen
               Weizackerweg 33 4312
               Magden, Switzerland


The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiff's Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.
                                         DOCUMENT 6
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_x__This Summons is being sent to:
Department federal de Justice et Police
Office federal de la justice
Domaine de direction Entraide judiciaire internationale
Bundesrain 20
3003 Bern
Switzerland

which will forward this document to the appropriate Central Authority in Switzerland for service
on Defendant Yves Steffen, as allowed by The Hague Convention.

Date   J-4-'cbY                                ~ ~~
                                            By: _ _ __ __ _ __ _ __
                                            Clerk/Register


                                            Pl inti s Attorney's Sig ature
                                            (J SEPH L. DEAN, JR. - DEA006)



                                   RETURN ON SERVICE



       I certify that I personally delivered a copy of the Summons & Complaint to

       m _ _ _ _ _ _~ on _ __ _ _ __ _ _ _ _ __




DATE                                        SERVER'S SIGNATURE




Address of Server                                   Type of Process Server
                                           DOCUMENT 6
      Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 71 of 144




                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. E TERPRISES, LLC                            *
                                               *
         PLAINTIFFS.                           *
                                               *
vs.                                            *
                                               *
                                                       CIVIL CAS E NUMBER:         GV])~::\?S~
THOMAS STRUENGMANN,                            *
A THOS SERVICE GmbH,                           *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFEN DANTS R-Z.                    *
                                                                                     IN Off ICE SON
                                                                                 M,'.R'(S.ROBER
                                        CIVIL SUMMONS                              CIRCUl1 CLERK


Notice To:      Yves Steffen

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS : for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra j udicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra j udic ial Documents.

_ X~ ~ This Summons is being sent to:
      Gerichte Kanton Aargau
     Generalsekretariat
     Obere Vorstadt 40
     5000 Aarau
                                        DOCUMENT 6
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 72 of 144




       Tel 1: +4 1 62 835 38 24
       Fax: +41 62 835 39 49
       Webmaster.ib~ag.ch


which is the Central Authority of the Federal State of Aargau, Switzerland for service as allowed
by The Hague Convention.


Date - - - - - -- - - -

                                                  Register


                                                                   gnature
                                                         .   EAN, JR. - DEA006)



                                  RETURN ON SERVICE



       I certify that I personally delivered a copy of the Summons & Complaint to

       1n _ _ _ _ _ __ ,on _ __ __ _ __               _ _ _ __




DATE                                        SERVER' S SIGNATURE




Address of Server                                  T ype of Process Server
                                               DOCUMENT 6
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                        I THE CIRCUIT COURT OF LEE COUNTY. ALABAMA

      ROBERTS. ABRAMS. and                         *
      A. ENTERPRISES. LLC
                                                   *
                                                   *
               PLAINTIFFS.                         *
                                                   *
      vs.
                                                   *       CIVIL CASE NUMBER:           CV(Jf-\ - \ g y
                                                   *
      THOMAS STRUENGMANN.
                                                   *
      ATI 10S SERVICE GmbH.                        *
      YVES STEFFEN.                                *
      ANDREAS BIAGOSCH,
      PA TIRO HOLD! GAG.
                                                   *                         ~ ~ l~[Q)
                                                   "
      SANTO HOLDfNG AG. and                        *                             JUN 2 4 2024
      FICTITIOUS DEFENDANTS R-Z.                   *                                IN OFFICE
                                                                                MARY B. ROBERSON
                                                                                   CIRCUIT CLERK
                                              COMPLAINT

                                      GENERAL ALLEGATIONS

               I.   Plaintiff. Robert S. Abrams, [here111after --Mr. Abrams..l is over the age of 19 years

                    and is a resident citizen of New York. New York.

              2.    A. Enterprises, LLC is an entity that owns preferred stock in Si02

              3.    Defendant Thomas Struengmann. [hereinafter ·'Struengmann" or ·-rs--] is over
                                                                                                 19
                    years of age and is a resident of Munich. German) who has done business in
                                                                                                     Lee
                    Count~. Alabama for over seven years as a director of Si02 .

              4.    Defendant Athas Service GmbH !hereinafter .. Athos Kg''J is an entity that owns
                                                                                                    or
                    invests portion of the Struengmann family assets and is incorporated in Munic
                                                                                                       h.
                    German) \\ hich has done business in Lee Count) . Alabama for years.

              5     Defendant Patiro Holding AG [hereinaner ··ratiro··J is a Swiss entity controlled
                                                                                                     by
                    Defendant Thomas Struengmann that owns or invests a portion of the Struengmann



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          famil; assets and is incorporated in S\\ itzerland which has done business in
                                                                                                  Lee
          County. Alabama for years.

   6.     Defendant Santo Holding AG !hereinafter '·Santo.. ] is a S\\iss entil) contro lled
                                                                                                   b;
          Defendant Thomas Struengmann that O\\ ns or im ests a portion of the Struengmann

          fomil; assets and 1s incorporated in S\\ itzerland.

   7.    Defendant Yves Steffen. Ihereinafter --Yves·· or ··Sterten..) is over 19 years of age
                                                                                                 and
         is a resident citizen of Switzerland who has done business in Lee County. Alabam
                                                                                                    a
         and functioned as CEO of SiO2 which is located in Auburn. Alabama.

  8.     Defendant Andreas Biagosch, [hereinafter'" Biagosch .. ] is over 19 years of age
                                                                                                 and
         is a resident citizen of Germany who has done business in Lee County, Alabam
                                                                                                 a as
         a director of SiO2

  9.     Fictitious Dt:fendant R isa person or enlil) whose identity is presently unknow
                                                                                              n to
         the Plaintiff who is responsible for the acts of the Defendant Struengmann under
                                                                                                 the
         applicable law creating the responsibilities and duties owed by Fictitious Defend
                                                                                                 ant
         R to others for the acts or omissions of Defendant Thomas Struengmann

  I 0.   fictitious Defendant S is that person or entity whose identity is presently unknow
                                                                                                   n
         to the Plaintiff who is responsible for the acts of the Defendant Struengmann becaus
                                                                                                   e
         of the Doctrine of Respondcat Superior.

  11 .   Fictitious Defendant T is that person or entit; whose identity is present!; unknow
                                                                                                  n
         to the Plaintiff \\ho is responsible for the acts of the Defendant Biagosch becaus
                                                                                              e of
         the Doctrine of Respondeat Superior




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   12 .    1-ictitious Defendant U is that person or entit) \\·ho is responsible for the acts of'

           Defendant Yves Steffen because of the Doctrine of Respondeat Superior.

   13 .    Fictitious Defendant V is that person or entity who is responsible for the acts of

          Athos Kg because or the Doctrine of Respondeat Superior.

   1-i    Fictitious Defendant W is that person or entity \\hose identity is presently unknown

          to the Plaintiff v.ho is responsib le forthe acts of Dete"ndants Struengmann. At hos Kg.

          Steffen. Patiro and/or Biagosch because he or it was involved in ajo111t venture with

          an) or the a forenamed Defendants

   15.    Fictitious Defendant Xis that person or entity whose identity 1s presently unknown

          to the Plaintiff who conspired with Defendants Struengmann. Athos Kg. Steffen.

          Patiro or Biagosch to deprive the Plaintiff of his control of the corporation known as

          Si02 and to deprive the Defendant of the value of his ownership of Si 02.

   16.    Fictitious Defendant Y is that person or entit} whose identity is presently unknown

          to the Plaintiff whose negligence concurred with the negligence of At hos Kg and/or

          Biagosch in failing to preserve or wasting the assets of Si 02.

  17.     Fictitious Defendant Z is that person or entity whose identit} 1s present I) unknown

          to the Plaintiff v. ho had oversight responsibi lity or the actions ofStruengrnann. At hos

          Kg. Steffen. Patiro, Santo or Biagosch and who negligently failed to exercise that

          oversight authority causing the immense lost of value to Plaintiff' s ownership in

          stock of Si 02.

  18      Plaintiff founded Si02 and built it and its predecessors from the ground up Plaintiff

          founded Si02 to meet n critical need for production of glass-lined syringes and vials.


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   19.    Plaintiff founded SiO2 Medical Products. Inc f··SiO2" or ··th~ company"]. as a

         division of CV Holdings in 2008 In 2015. SiO2 became an independent compan~

         and from SiO2's inception until July 2022. Plaintiff served as its Cl:.O and Chairman.

         In J\pril 2023 Plaintiff remained a Director of Si 02.

   20.   SiO2 was headquartered in Auburn. Alabama where 1t researched and develop ed

         culling edge medical and biotech products employing over 300 people. B) April of

         2022 SiO2 had perfected a number of its products and was poised to introduce its

         breakthrough technology to the world. SiO2 was a Delaware compan) operatin g in

         Alabama.

  21.    In June of 2022, Pia inti ffs owned or controlled I 00% of SiO2's common stock and

         28. 795.81 shares of Enterprises 2017 Series A PrefeITed Shares. Those shares carried

         a majorit) voting control of SiO2 and its subsidiaries. Plaintiff held voting control

         of S1O2 and its subsidiaries from lls inception until Jul) of 2022 when he was

         fraudulent!) induced to step do,., n as CEO and surrender voting control by granting

         a proxy for shares as set out below

  22.    From SiO2's 111ception through 2022, SiO2 built its patent porll'olio. which current!)

         consists of 245 currently-issued patents. over 30 unique pend111g patent applications,

         more than roughly 8.000 patent use cases. and about 750 more patents 111 process.

         O,er the years Plaintif f has funded SiO2 with his own money and raised hundreds

         of millions more from others to fund SiO2's operations. For example. around

         December 2021 Plaintif f raised $ I 00 million 111 funding for SiO2 from Korean

         company. Doosan Corporation


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   24   Alter spending more than 14 )ears perfecting SiO2's products. SiO2 \\as on the hrink

        of commercializing its technology. which made SiO2 extreme I) \ aluablc and the

        timing or the Ii ling or the bankruptcy dubious.

        Various capital raises and acquisition afters valued Si02 bet,\ecn $1.5 billion and

        S2 billion 111 2020.

  26    On June 28. 29 or 30. 2022. Defendant Thomas Struengmann fraudulently induced

        Plaintiff to relinquish \Oting control to him in exchange for funding that

        Struengmann promised to the Company but never delivered or mtended to deliver.

        Defendant Struengmann is a wealthy German businessman who currently controls

        three of SiO2's investors - At hos KG ( .. Athos''), Patiro Holding AG ( .. Patiro '') and

        Santo Holding AG (--Santo'').

  27    Struengmann began investing in S1O2 around 2015 and had always done what he said

        he \VOuld do insofar as his dealmgs v.ith the Plaintiff were concerned and insofar as

        111vest111g money that he had promised to 111,est in SiO2. Plaintiff had ever") reason

        to trust Struengmann when he made representations of further in, estments in the

        com pan) .

  28    On June 28. 29. or 30. 2022. Plaintiff met with Struengmann and several others at

        Struengmann·s Munich office. In the presence of others. Defendant Struengmann

        agreed to invest $50 million of equity in SiO2 at a value of$500 million

  29    Before the meeting ,,as over. Defendant Struengmann asked the Plaintiff to speak

        with him alone in another room . At that time Plaintiff and Defendant Struengmann

        pri, atel) discussed terms for Delendant Struengmann •s desire to pro, ide additional

        runding for SiO2 beyond the i1111ial $50 million investment.

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   30.    At that private meeting Defendant Struengmann stated that he would also invest
                                                                                               $70
          million in or about September 2022 and would raise an additional $170 mil lion
                                                                                                    in
          ne,, equity for SiO2 before the end of 2022. As to the $170 million. Defend
                                                                                      ant
         Strucngmann told Plaintiff he would attempt to raise as much of it as possible
                                                                                             from
         third parties including his personal contacts. but that ifhe fell short or that he would

         invest the money himself.

   31    At the private meeting Defendant Struengmann instructed Plaintiff to cease
                                                                                                his
         ongoing efforts to raise funds for SiO2. and the reason he gave for this \\as
                                                                                               that
         Defendant Struengmann was prepared to arrange for all necessar) investm
                                                                                             ents
         himself and did not want Plainti ff attracting other investors.

         Defendant Struengmann also insisted that Plainti ff step dovm as CEO and
                                                                                             that
         Plaintiff give Defendant Struengmann voting control of the Biotech Division of
                                                                                               the
         Company onl) by granting Defendant Strucng.mann pro,) rights to, ote his and
                                                                                                A.
         Enterprises shares

  33.    Defendant Struengmann demanded that he would run SiO2's Biotech and vaccin
                                                                                                 e
         business onl) because he had no interest in the rest of S1O2's business which
                                                                                            ,,as
         comprised of seven other research and development product di\ isions. Plainti
                                                                                       ff
         would continue to run those di, 1sions exclusively. Defendant Struengmann would

         rccei, ea 5°0 fee of the profits of the other seven research and development divisio
                                                                                                ns
         10 compensate for use or the Biotech and vaccine busines
                                                                    ses· patents.

  3-+    Plaintiff \\as not represented b) counsel at all during the meeting that took place
                                                                                               on
         June 28. 29. or 30. 2022 or at tht: time he e,ecute d an) documents pertaining.
                                                                                           to it.



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   35    Plaintiff relied on Del't!ndant Struengmann ·s promises and representations to him

         made during the pri\'ate discussion and broke off ongoing discussions with other

         potential sources or capital for SiO2 that included previous negotiations with Saudi

        Arabia. The United Arab Emirates (.. UAE""). and Kenned) Le\\ is.

  36.   Also in rdiance on Defendant Struengmann·s promises made to him. Pla111t1ff

        executed the Amended & Restated Stockholders Voting Agreement on July S. 2022.

        \\h1ch ga,·e Defendant Struengmann·s company. Pat iro. a proxy to vote Plaintif fs

        personal shares and A. Enterprises· shares. which gave Defendant Struengmann

        voting control over SiO2.

  37.   Defendant Struengmann was present at the Board Meeting held in Auburn, Alabama

        on September I, 2022 . along with directors Defendant Yves Steffen. Defendant

        Andreas Biagosch. Melissa Simon. the Plaintiff and others. Defendant Thomas

        Struengmann served as a director of SiO2 and attended many Board meet111gs and

        other compan) functions in Auburn. Alabama over several years. He ma) ha,e

        resigned secretly in October 2022.

  38    While at the SiO2 Board Meeting held in Auburn, Alabama on December 9. 2022.

        Defendant Biagosch told Plarntiff in pri,ate that Defendant Thomas Struengmann

        had ne, er intended to furnish linancing or investment in SiO2 beyond the $50

        million imested and had never promised that he would do so which is further proof

        that Defendant Thomas Struengmann had the present intention on June 28. 29 or 30.

        2022 not to fulfill the promises that he made to Plaintiff concerning f'urther financing

        for SiO2 .
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   39    In the decade leading up to June of 2022. Si02 ah,a:s had an abilit) to raise mone)

         to meet an) econo mic challenge and bankruptc) was not even a considerati on. In

        April or2022. Si02 was ,,orth S2..t billion based on the sale o r stocls. to third parties

        and ne,, patents obtained.

   40    Befi.1re the bankruptcy fil111g. in early 2023. the Compan) lead b) Defendant Yves

        Steffen·s. who 1.vas acting under the control of Defendant Thomas Struengma nn.

        failed   10   pursue o,er $111 million in available monies due from the federal

        go\ ernment in the fo rm of a Second Request for Equitable Adjustmen t ( REA).

        Plaintiff also ceased pursing available capital for the Compan) based on promises

        made to him by Defendant Struengma nn, that in essence Struengma nn would pro\ ide

        the necessary capital and Thomas Struengma nn did not want the Plaintiff to seels.

        other investors or creditors.

  41.   At the Board of Directors meetingof SiO2 on November 30, 2022. Defendant Y\es

        Steffen confirmed Defendant Thomas Struengma nn·s direction to Plaintiff to cease

        his efforts to seek other investors when he responded to Board concerns about

        seek mg additional financing that the Company had not been actively looking for

        an investment over the preceding 6 months. That 6 month period coincided\ \ ith the

        time that had elapsed since Defendant Thomas Struengma nn told Plaintiff to cease

        his investment raising efforts on .lune 28. 29 or 30. 2022.

  -G.   At the same Board or Directors meeting on November 30. 2022. Defendant Andreas

        Biagosch opposed the suggestion of creating a Capita l Raise Committee (CRC)

        composed o findepende nt disinterest ed directors and proposed in<;tead that the CRC

        be composed ofDetenda nt Y\ es Steffen: Ddendant Athos Kg's board reprcsentat i, e

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            Melissa Simon: Mr. Paul Meister who \\•as placc:d on the Board b) Defendant

            Thomas Struengmann; and Mr. Aman Kumar \\ho was Oaktree·s board

            representative. In response. it was suggested that if the CRC formation proposed b)

            Defendant Biagosch was implemented that the CRC charter should rec use any

            member of such committee who had a connict \\ ith respect to the contemplated

            transaction . Defendant Biagosch then pushed back \\ ith the assertion that the

            members of the CRC should have as much information as possible. Defendant

            Biagosch •s suppo11 for Board Members controlled by Thomas Struengmann indicates

            kno\,ledgc of Defendant Thomas Struengmann·s plans to destroy SiO2's ability to

            raise money and his active involvement in the scheme to ultimately force SiO2 into

            involuntary bankruptcy.

  43        Pla1nti ff reasonably relied on Defendant Struengmann •s prormses to provide

            financing when he decided to g1,e Defendant Struengmann prox) to vote his shares

            and ,, hen he stopped negotiating \\ ith Kenned) Lewis. Saudi Arabia and the UAI::.

            Nothing other than Defendant Struengmann 's prom ises \\Ould have induced him to

            gi, e up control of the company or cease to find available funding. In fact. the

            Kenned) Lewis financial deal had alread) been approved b) the SiO2 Board.

  44.       Once Defendants seized control of SiO2. they denied the Plaintiff access to

            information 111 the com pan) ·s possession which was contrary lo his rights and interest

            as an SiO2 Director and SiO2 Shareholder

  ➔ '.' .   Once Defendant Struengmann acquired \Oting control or SiO2. he and Defendant

            Steffen immediate!~ began steering the com pan> to an unnecessar) hanl--ruptc) \\ ith

            help from Defendants Biagosch and Athos Kg

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   46.   On information and belief. Plaintiff a,·ers that Defendants Struengmann and StdTen

         had begun speak.ing with the bankruptc) counsel that ultimately placed SiO2 in

         bank.ruplC) as early as April 2022 and on or about December 8. 2022 directed that

         SiO2 pays a $1 million retainer to Kirkland & Ellis for their legal preparation or the

         bank.ruptc) petition without advismg the Board or Din::ctors and made no mention

         or bankruptcy at the December 9. 2022 meeting of the Board of Directors. SiO2's

         liquidity was further diminished .

  47     Rather than protect or advance the interest of SiO2 or its Shareholders. Defendant

         Struengmann who held a seat on the Board of Si 02. until October 18. 2022. when he

         secretly resigned. actively hindered SiO2"s ability to raise capital in severa l ways

         including instructing the Plaintiff to cease raising funds from other investors and

         fail mg to seek $111 million in government reimbursement on a Second REA Claim

         I he net effect was for Defendant Struengmann to create a false liquidny crisis in

         order to justify bankruptC) designed to personally benefit himself. even though 1t was

         against SiO2's best interests.

  48     In earl) 2023. underthe direction or Defendant Struengmann. CEO Steffen failed to

         pursue a claim to the federal gO\ ernment for mone) owed for \\Ork performed b)

         S1O2 related to the Covid-19 pandemic.

  49.    The request for additional payment for performance or a gO\ernment contract is

         known as a Request for Equitable Adjustment c-·REA .. ). A RF A for $111.45 7.080

         in additional costs SiO2 incurred in manufacturing ,ials for the go,ernmen t"s

         Operation Warp Speed program for production of the Co, id-19, accine should hm c

         been made.

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   50      Plaintiff personal!) hired and paid the Ices of an attorney \,ho is an e,pert on

          government reimbursement for the purpose of advising him on whether Si02 was

          entitled 10 request this reimhursemenl. Although there ,vas no guarantee that the

          government would grant the request. the attorne) advised Plaint1ffthat he considere d

          it a routine submission and payment \\as highly likel) . In fact. the attorney advised

          Plaintiff that if the submission had been filed b) January 24. 2023. SiO2 would have

          known b) March 24. 2023 whether the U.S. government would pay some or al I of the

          much needed $111 million.

   51 .   Defendant Steffen. the CEO hand-picked by Defendant Struengmann. inexplicably

          refused to make the filing with the federal government for the Second REA

          mentioned above. In Auburn. Alabama in Februar) 2023. Defendant promised

          Plaintiff that he would file the application for the REA. and then refused to do so

  52.     Defendant Steffen·s refusal to submit the REA was in support of the plan created by

          h1111 and Defendant Struengmann 10 create a false liquidil) crisis to justify putting

          SiO2 into bankruptcy.

  53 .    Defendant Struengmann and Defendant Steffen then proceeded to use the proxy to

          e:--.ercise Plaintiff s , ·ot111g rights and the Board of Directors that Defendant Thomas

          Struengmann had put in place including CEO Defendant Steffen to tile a bankruptcy

          petition for Si 02. "hich ultimately destroyed the value or SiO2 stock s111ce drug

          companies do not want to do business v. i1h a company that has been in bankruptC).

  54      As tiducinries. the Defendants I homas Struengmann. Y, es Steffen. and Andreas

          Biagosch had --a duly to act with the highest degree or hone'it) and lo) alt) to\,ard

          the Plaintiff and in the nest interest of the Plaintiff.

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   55.    I he participation b) Defendants ·1homas Struengmann. Andreas Biagosch. Athos

          Kg. Patiro and Santo in fraud and deceit. and breach of liduciar) dut) which caused

          Plaintiff to lose control or his company and over $ I billion through fraudul
                                                                                                   ent
         changes in stock ownership and voting rights endangers the commo n good
                                                                                               and
         .-~quires the dissolution of Fictitious Defendants R (\\hich is responsible for
                                                                                         their
         conduct) which is the only way to elim111ate the threat to th e comm on good .

   56.   Defendant Struengmann \Vho was not allowed to become involved in
                                                                          the
         managements of investments made by Athos Kg. Patiro and Santo. active I) inserte
                                                                                                        d
         himsel f into the control and management of Si02 and fraudulent I) lead it down
                                                                                               the
         disastrous path of bankruptcy which destroyed its value. At the time. Plainti ff
                                                                                              was
         una\.\are that Defendant Thomas Struengmann could not be involved in
                                                                              the
         management of companies that were invested in by Athos Kg. Patrino and Santo
                                                                                               but
         Defendants Thomas Struengmann and Biagosch knew it.

  57     Defendant Steffen who was installed as CEO by Defendant Struengmann was
                                                                                             lo) al
         to Defendant Struengmann instead of the Plainti ff who was the principal shareh
                                                                                             older
         and failed to deal honest I) and fairly,, ith the Plaintiff in a number of ways includi
                                                                                                   ng
         his failure to tile the Request for Equitable Assistance. which would ha\e injecte
                                                                                                    d
         $111 million into the company at a time when it claimed to be on the
                                                                                        verge of

         bank.ruptcy.

  58 .   Defendants Athos. Kg. Patrina and Santo allowed its agent. sen ant. or employ
                                                                                               ee.
         Defendant Struengmann to become im olved in the management of S102 \\
                                                                                             hich
         Plaintiff bcli.:ves \\as contrary to German law and regulations controlling his famil)

         foundation. Defendant rhomas Struengmann ser\'1:d on the Board and regular
                                                                                                   !)

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        attended corporate functions in Auburn. /\ labama for~ ears. Athos Kg. Patri no and

        Santo violated their fiduciary duty to the Plaintiff hy allo,, ing oerendant I homas

        Struengmann to be involved in the management of Si 01 .

   59   On information and belief.Plain tiff m ers that Defendant Andreas B1agosch who had

        supervisor) authorit) o,er Struengmann·s famil) foundation including Athos Kg.

        Pat1ro. and Santo failed to require them to conduct business according to rule and

        regulation promulgated by the German government when he allowed Defendant

        Struengmann to be actively involved in the management of SiO2. which was an

        investment or Athos Kg. Patiro and Santo. Detendant Biagosch was present at all

        critical times in which Defendant Struengmann was involved including the meeting

        in Munich in late June of2022 and at various Board Meetings of SiO2 in Auburn,

        Alabama     In fact. Defendant Biagosch made certain statements to the Plaintiff in

        pri, ate" hile attending the Board Meeting on December 9. 2022 111 Auburn. Alabama

        to the effect that Defendant Thomas Struengmann ne, er intended to invest more than

        the $50 million 111 SiO2 and that he never made the promise to make the $70 million

        and $170 million additional in\'estment s His statement shows Defendant Thomas

        Struengmann had no intention to fulfill the promises he made on .lune 28. 29 or 30.

        2022

  60.   B) reason or their positions as officers and/or directors of SiO2. each of the

        Individual Defendants o,,ed SiO2 and its stockholders liduciary obligations of trust.

        loyally. good faith. and dul! care, and were and arc required to use their utmost abilit)

        to control and manage SiO2 in a lair. just. honest. and equitable manner. The

        lndi\ idual Defendants were and arc required to act in f1.1rtherancc of the best interests

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            of SiO2 and not in furtherance of their personal interest or benefit. To discharge
                                                                                                  their
            duties. the officers and/or din.:ctors ofSiO2 \\ere required to e:-.crcisc reasonable
                                                                                                    and
            prudent supen ision over the management. policies. practices. and controls of
                                                                                          the
            financial affairs or the SiO2

   <,I .   The conduct of the lndi, idual Defendants complained of herein invoh cs a knov,
                                                                                                    ing
           and culpable violation of tht:ir obligations as officers and/or directors of Si 02.
                                                                                                    the
           absence of good faith on their part. and reckless disregard for their duties to Si02
                                                                                                    and
           to the stockholders that the Individual Defendants were aware or reckles s in not being

           aware posed a risk of serious injury to SiO2 and to the stockholders. The Individ
                                                                                                    ual
           Defendants. because of their positions of control and authority as officers and/or

           directors of Si 02. were able to. and did. directly or indirectly. exercise control
                                                                                                 over
           the \Hongful acts complained of herein. The Individual Defendants also failed
                                                                                                     to
           prevent the other lndi\-idual Defendants from taking such illegal actions. As a result.

           and 111 addition to the damage SiO2 and the stockholders ha,e already incurred.
                                                                                                    the
           stockholders have expended. and will continue Lo expend. significant sums of mone)
                                                                                                      .



                                      COUNT O E.

                                 PROMISSORY FRAUD



  62       Pla1nliffincorporatcs the paragraphs 1-6lof the General Allegations

  63       On or about June 28. 29. or 30 of 2022. Defendant Struengmann took the Plainti
                                                                                                     ff
           into a separate H1om 111 his \.1unich. German~ ortice and promised to inu.::st
                                                                                                    an
           add1t1onal $70 1111llion 111 S1O2 111 September/October or 2022 and to procure

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          1mest1rn:nt 1n SiO2 of another $170 million before the t:nd or 2022              rhomas

          Strucngmann said that he would either find someone else to mvest that additional

          $170 million or he \Hllild invest the money himselr before )ear end              Further

          Dcrendant Thomas Struengmann told the Pla111tiff to refrain from seeking financing

          or il1\ estment elsewhere and that Plaintiff had to give Defendant fhomas

          Struengmann his written prox) to vote hie; SiO2 stock. giving Defendant Thomas

          Struengmann control of SiO2 and step do\\ n as CEO 1mmediatel) .

   64.    Defendant Struengmann made those promises on behalfofh imself. Athos Kg. Patiro

          and Santo.

   65 .   When Defendant Struengmann made the above described promises to invest an

          additional $70 million in September/October of2022 plus an additional $170 million

          b: the year end of2022 in SiO2. he intended to deceive Plaintiff. He had the prese111

          intention not to rutfill his promises which is shown. inf<!r alia. by his failure to e,er

          fulfill either promise and b) Defendant Biagosch·s statements made to Plaintiff in

          pri, ate while at the Board Meeting of SiO2 in Auburn. Alabama in Decembe r of

          2022 to the effect that Defendant Thomas Struengmann had ne, er had an) intention

          of investmg more than $50 million in SiO2 and had never made the promise to

          Plaintiff

  66      As pan or the statement Delendant Struengmann told the Plaintiff to refrain from

          seeking financing elsewhere because he \\anted it all and Plaintiff die\ in fact forego

          other financing that he had pre, iously arranged. and,, lm:h was pre, iousl) appro, cd

          in relianct: upon Defendant Struengmann·s promise.




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    67     Plaintiff had dealt with Detcndant Struengmann o, er a 20 year period
                                                                                            and he had
           ah\ays done what he said he would do in terms of in,esti ng monc)
                                                                                             in vmious
           \Cntures of the Plaintiff in the range or several hundred million dollars
                                                                                        .
   68      Plaintiff relied upon Defendant Struengmann·s representations to him
                                                                                         and did not
           seek. other tinancing. ,,hich ultima tdy causeJ SiO2 to have seriou
                                                                                            s financial
           problems when Defendant Struengmann and Athos Kg refused
                                                                    to fund the
           investments promised

   69.     At the time that Defendant Struengmann acting for Athos Kg. Pat1ro and
                                                                                       Santo made
          the misrepresentation to Plaintiff that he ,,ould fund SiO2 with
                                                                                      an additional
          in,estm ent of $70 million in September,October of 2022 and an additio
                                                                                             nal $170
          million by year end 2022. the Defendants Struengmann and Athos Kg.
                                                                                            Patiro and
          Santo had the present 111tention not to perform the acts promised.

   70.    At the time that Defendant Struengmann made the misrepresentation to
                                                                                       the PlatntilT
          that he ,,otild fund SiO2 ,, ith an additional $70 million in September/Oc
                                                                                         tober 2022
          plus an additional $170 million invested in SiO2 by year end 2022. the
                                                                                         Defendant
          had the present intent to deceive the Plaintiff.

  71      At the time Defendant Struengmann •s promises were made, Defendant
                                                                                      Struengrnann
          did not intend lo car1; out the promises lo invest the $70 million or the
                                                                                      $170 million
          in SiO2 and he had the present intent to deceive the Plaintiff into belie,
                                                                                        1ng that he
          \\Ould do so.

  T!. .   Plaimi ff reasonably relied on Defendant Struengmann·s promises to fund
                                                                                         SiO2 \,·ith
          an additional $70 million in September October 2022 and a further additio
                                                                                             nal sum
          or $170 millton he fore )ear end 2022 \\ hich caused the Plaintiff to forego
                                                                                            linancing

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         that he had al read) arranged \\ ith other investors for SiO2 and further caused the

         Plaintiff to cease effons to find other financing for SiO2           In fact Defendant

         Struengmann asked or directed the Plaintiff not to seek othe1 financing from other

         sources and to just rel) upon him.          Because of the long 20 )t:ar h1slot") ol°

         in, oh emenl \\ 1th Defendant Struengmann and At hos Kg. and his demonstrated

         abiltl) and willingness to ill\est in Plaintiff s companies. Plaintiff relied upon

         Defendant Struengmann's promises and did not use other financing or seek other

         additional financing. Defendant Strucngmann knew that Plaintiff would rel:r upon

         his promises.

   73.   In late June/earl) July 2022 Plaintiffs owned I 00% of the common stock of Si02 and

         more than 50% of the preferred stock in SiO2 for a combined O\\ nership percentage

         of more than 50 percent. At that time. Plaintiff needed to raise funds to ensure that

         the compan) could sustain itself financially until the ne"' products it had de,elope d

         could be marketed . Plaintiff estimated that would take $250-270 million. Plaintiff

         had pre, iousl) arranged to obtain financing or investments of $250-270 million.

         ,,hich he did not close because or Defendant Struengmann·s promise to ill\esl $70

         mi Ilion in September/October and find investors or pro, 1de his further im estment of

         $ I 70 million before year end . Based upon Struengmann·s requirement that he cease

         efforts to obtain other financing. the Plaintiff ceased to search for alternati, c loans

         and investors

  74     At the time of Defendant Struengmann·s promise in late June. Plaintilh alued SiO2

         at $2.5-3B. based on stock sale for$ I 00 M to Doosan around January. 2022.

  75.    As a result or Plainutrs reasonable reliance upon Defendant·s promises or future

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         financing as set out abo\e. Defendam Struengmann. Athos Kg. Patirn. Santo and

         other Defendants were able lo execute their plan to take over SiO2 and force it into

         ill\ oluntary bankruptcy. in the hopes that Struengmann. Athas Kg. Patiio and Santo

        could bu) the com pan) for pennies on the dollar out of the bankruptc) proceeding.

         A':> a pro,imate result of the scheme in which Defendants Struengmann. Athos Kg.

         Patirn. Santo and other Defendants participated. Plaintiff lost at least$ I billion in

        \alue or ownership of Si 02.

   76    Defendant Thomas Struengmann •s promissory fraud enabled Defendants Thomas

        Struengmann and Yves Stetfan's plan to take control of SiO2 so the) could force it

        into unnecessary bankruptC). Documentary proof of their fraudulent scheme \\,as

        discovered by Plaintiff in the bankruptc) proceedings when documents prepared b)

        Defendant Yves Steffen were produced b) SiO2 bankruptcy counsel. One document

        entttkd ·•Financial and Operational Strategy"· dated June 30, 2022 and stamped

        --confidential"· consisting or 8 pages \,,as distributed to SiO2 Board Members A

        separate document consisting of9 pages was prepared b) Defendant Yves Steffen for

        Defendant Thomas Struengmann and was provided to him but not to the Board

        I\ 1embers The first 8 pages of the separate document provided to Defendant Thomas

        Struengmann is identical to the 8 pages distributed to Board Members. but it

        contained an additional page. The additional (ninth) page ofThomJs Struengmann ·s

        document entitled --Proposal lo enable the transformation or SiO2" is attached as

        Exhibit .. A ... Exhibit .. A.. shows a contc:mplaled investment of $250 million USO

        b)   At hos \\ hich is further '-t1bstantiation of Thomas Struengmann •s promise':> to

        Plaintiff as \\ell as the scheme to take 0\er the compan) .

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         77.     Plaintiff claims compensator) damages against Defendant Struengmann .. tdfen.

                 Athos Kg. Patiro. Santo and fictitious Defendants R through Z. for compensator)

                 damages in the amount of$ I billion

         78      Defendant Thomas truengmann \\as the agent. sen ant or cmplo)e e of Athos Kg.

                 Patiro and Santo. acting \\ithtn the line and scope of his authonl ) at all times material

                 to this Complaint.

        79       Defendant Biagosch was the agent. servant or employee of Athos Kg. Patiro and

                 Santo acting\\ ithin the line and scope of his employment at all times material to this

                Complaint.

        80.      Defendant Struengmann intentionally planned to deceive Plaintiff and to take his

                propert) unlawfully. The Plaintiff claims punitive damages in an amount to bt:

                determined b) a jury for the purpose of punishing the Defendant Struengmann for his

                intentional wrongful conduct and for the purpose of deterring said Defendant and

                others similar!) situated from such conduct in the future.

        81      Defendants L\thos Kg. Patiro and Santo kne"' of Defendant 'truengmann ·s conduct.

                benefitted from that conduct. or his conduct was calculated to benefit his emplo) er

                At hos Kg. Patiro and Santo. or they ratified that conduct. all of which makes Athos

                Kg. Patiro and Santo liable for the punitive damages assessed against Struengmann.

                WHER EFOR E. Plaintiff demands _judgment against Defendants Thomas

Struengmann. Yves Steffen. Athas Kg. Patiro. Santo. Andreas Biagosch and Fictitious Defenda
                                                                                                      nts
R through Z. for compensator) damages in the amount or$ I billion and puniti,e damage
                                                                                                  s or $.3
billion. plus cost and interest.




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                                     CO U T T WO

                             BREACH OF CO NTRA CT



   82    Plaintiff incorporates the allegations of paragraphs I through 81 hen~in

   83    Defendant Struengmann acting for his emplo) ers/pnm:ipal!'> Athos Kg. Patiro
                                                                                      and
         Santo offered to pro, ide financing for SiO2 in a meet111g in late .lune 2022. Some
                                                                                                 of
         the terms of that contract \\ere reduced to \\J'iting and others were verbal. includi
                                                                                                 ng
         the promises of Defendant Struengmann acting on behalf of At hos Kg. Patiro
                                                                                               and
         Santo to i11\est $70 million 111 SiO2 in either September or October of 2022, and
                                                                                                an
        additional $170 million before year end 2022. All of which was in addition to
                                                                                                the
        $50 millron invested in SiO2 in July of 2022. Defendant Struengmann offered
                                                                                                 to
        make those investments in SiO2 and the Plaintiff accepted his ofter and terms
                                                                                               also
        agree111g 10 give Defendant fhomas Struengmann his proxy to ,ote the majorit
                                                                                     ) of
        the stock in SiO2: stepping down as CFO. and agreeing to relinquish control
                                                                                                of
        certam portions of SiO2 to Defendant Struengrnann

  84.   Thereafter. Defendant Struengmann failed and refused 10 furnish the additio
                                                                                               nal
        in,·cstrnent in SiO2 that was promised. totaling some $240 million but retaine
                                                                                                 d
        control of the company that ,,as wrongfully obtained from the Plaintiff See Exhibit

        ··A .. entitled ··Proposal to enable transformation or SiO2" which was prepare
                                                                                           d b)
        Defendant Yves Steffen on June 30. 2022 for Defendant Thomas Struengmann

        indicating a $250 million irl\estment b) Athos Kg that never happened. Exhibi
                                                                                                 t
        ··A·· \\US not furnished 10 the Board as a part or the handout t:ntitled ·•Financral
                                                                                               and
        operational strategy .. Exhibit .. A.. recog111zes the ncccssit} olthe injection of$250

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        million USD by Athas Kg to accomplish the transformation of control to Athos

        Kg.

  85.   Defendant Struengmann wrongl'ull) exercised control of all of SiO2 b) taking

        Plaintiffs Yoting rights and removing Plaintiff as CEO of the company. substituting

        in his stead his hand picked designate Defendant Yves Steften.

  86.   Defendant Struengmann then acting through Yves Steffen and the Board he had

        elected. proceeded to take various acts which coupled with his fai lure to provide

        $240 million wonh or investment put SiO2 in a precarious financial position

        allowing him to force it into an involuntary bankruptcy situation designed to allow

        Defendant Thomas Struengmann to purchase SiO2 for pennies on the dollar.

  87    Among other actions Defendants Thomas Struengmann and Yves Steffen refused to

        make the Second REA for $111 million from the U.S. Government and caused

        Plaintiff to cease seeking financing while refusing to invest $240 million that he

        promised which created the liquidity crisis they relied upon to put SiO2 in

        bankruptcy.

  88.   When they took control of the company. the Defendants Thomas Struengmann. Yves

        Steffen. Athos Kg. Patiro. Santo and Andreas Biagosch should have taken every

        reasonable measure to maximize the assets of SiO2 and preserve Shareholder value,

        and they did neither of these. In foct. the) worked to reduce Shareholder value and

        diminished the value of assets to force SiO2 into a premature declaration of

        il1\ oluntar) bankruptC) .

  89.   As a proximate result or the breaches of contract by Defendants Struengmann. Athos

        Kg. Patiro. Santo. Yves Steffen . .Andreas Biagosch. and fictitious Detendants R


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              through Z the Plaintiffs value in SiO2 was reduced from in excess o1'$1 bil lion to

              $0 (lero) entitling him to compensato1") damages of at least$ I billion to make him

              whole .

       90.    Plaintiffs o,, ned I 00 percent of the common stock and over 50 percent or the

              preferred stock for a total of o, er 50 percent of the entire ownership ol'the company.

             Since the company was worth $2 .5-3 billion to $3 billion when Defendants assumed

             control of it through their deceitl"ul tactics in late June and early July and the

             company lost all of its , alue, through Defendants Thomas Struengmann. Yves

             Steffen. Andreas Biagosch. At hos Kg. Patiro and Santo putting it in bankruptcy, they

             caused the Plaintiff to lose a minimum of$! billion. Plaintiff is entitled to recover

              damages from Defendants Thomas Struengmann, Yves Steffen. Andreas Biagosch.

              Athos Kg. Patiro and Santo in the amount of$! billion.

      WHEREFORE. Plaintiff demands judgment against all the Defendants and Fictitious

Defendants R through Z for Compensator) Damages in the amount of$ I billion.

                                       COUNT T HREE

                             BREACH OF FIDUCIARY DUTY



      91.     Plaintiff incorporates the general allegations of paragraphs 1-90.

      92 .   Once the Defendants Thomas Struengmann. Athos Kg. Pati ro and Santo. Yves

             Stetlen. and Andreas l3iagosch assumed control of SiO2 each of them had a fiduciar)

             clut) to the shareholders of SiO2. which \.\aS principal!) the Plaintiffs. Plaintiffs

             owned 100 percent or the common stock and o, er 50 percent of preferred stock for

             a combined ownership of more than 50 percent.

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   93.   Inter aliu. the failure to prO\ ide the financing promised to keep SiO2 tinancially

         \ iable until it could market its developed products. was a hreach of fiduciar) duty to

         Plaintiff hy Defendants Thomas Struengmann. Yves Steffen. Andreas 13iagosch.

         Athos Kg. Patiro and Santo. Another breach or fiduciat") dut) was Defendants·

         causing Pla1111ifT to cease his efforts to find other investors.

   94    Defondants Thomas Struengmann and Yves Steffen breached their fiduciary duty

         when they conspired to deprive SiO2 of its financial stability in order that they could

         force it into bankruptc) and buy the stock for pennies on the dollar. Defendants

         Athos Kg. Patiro and Santo are responsible for Defendant Thomas Struengmann ·s

         conduct since he was the agent. servant. or employee of these entities who was acting

         within the lme and scope of his duties. Defendant Thomas Struengmann ·s plot to

         destroy the value of SiO2 and then purchase it cheaply through a bank ruptC)

         proceeding was calculated to benefit Athos Kg. Patiro and Santo.

  95.    All of the Defendants had a fiduciary duty to see that the corporate asset of the

         second REA was processed . Failing to seek fu11her equitable adjustment from the

         United States Government for cost overruns on the provision or articles used to

         pro\ ide the covid vaccine deprived the company of at least $100 mill ion of

         immediate funding, which was detrimental to SiO2's ability to continue to operate

         until it could sell the products" hich it had spent millions of dollars de,eloping. and

         therefore weakened the com pan) instead of preserving those assets. Some of those

         assets were the very marketable products which had been developed. researched. and

         prepared formarl-.et but were not ~et marketed . The bridge il1\estment was necessar)

         to get them to the marketing stage \\here the) would produce income.


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   96.   Delendant Andreas Biagosch \\ ho \\US Director os SiO2 had a dut) to SiO2 to

         preserve ,ts assets and to meet h, s obligations of fiduciary responsibility since he a

         government supervisor of Athos Kg. He particirated actively in the governance of

         S,O2. and was aware or the fraud. breach or contract. failure to prcsen c corporate

         assets and breach or fiduciary dut) b) I homas Struengmann.

   97.   Defendant Andreas 13iagosch also had the obligation to sec that Defendant Thomas

         Struengmann was not involved in the operation or management of SiO2. which he

         failed to do In fact. he participated with Defendant Thomas Struengmann in the

         fraud by stating to Plaintiff pri\ atel) while at the Board Meeting in December of

         2022 in Auburn, Alabama that Defendant Thomas Struengmann never intended to

         invest the additional $70 million plus $170 million in SiO2 and never made the

         promise to do so.

  98.    Also by failing to keep the promise of imestrng $70 million in September October

         2022 and failing to procure the imestment of$ I 70 million or making the investment

         himself by the end of 2022. Defendant Struengmann. Athos Kg. Patiro. San to and

         others failed to preser\'e the valuable marketable assets of SiO2. resultmg in great

         diminution of the stockholder's value in the com pan).

  99.    '[he participation or Defendants Thomas Strucngmann. Biagosch. Y\eS Steffen.

         Athos Kg. Patiro and Santo in fraud and deceit. and breach of fiduciary duty which

         caused Plaintiff to lose control of his company and over $1 billion in the value ol' his

         company and cauc;ed the fraudulent changes of O\\ nership in SiO2 endanger the

         comm on good and entitle the Plaintiff to puniti\c as \\ell as compcnsatorj damages




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       WHEREFORE. Plaintiffs demand Judgment against all the named Defendants and the

Fictitious Defendants H through Z for Compensatory Damages in the amount of$ I billion and

punitive damages 111 the amount of $3 btllion




                                                          /s Joseph L. Dean. Jr.
                                                          JOSEPH L. DEAN, JR. (D[A006 )
                                                          DEAN & BARRETT
                                                          Attorney for Plaintiffs
                                                          Post Office Box 231
                                                          Opelika, AL 36803-0231
                                                          Phone: (334) 749-2222
                                                          Fax: (334) 749-5857
                                                          Joe@deanandbarrctt.com




                                           JURY DEMAND


       Plainll ffs request a trial b) a struck jtir) on all issues.




                                                         Isl Joseph L. Dean. Jr.
                                                          Of Counsel




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                                                                                                                                            PARTHIA, OI, Ir A COIPOAATl0N, PAUll!NI    , UI Ct-PA!IICEHT
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                    -'··                                                                                                                    01 TH! PPI.

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'I..
                                                            DOCUMENT 6
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                                   REQUEST
                      FOR SERVICE ABROAD OF JUDICIAL OR
                         EXTRAJUDICIAL DOCUMENTS
      DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                 D'UN ACTE JUDICIAIRE OU EXTRAJUDICIAIRE

                 Convention on the Service Abroad of Judicial and Extrajudicial Documents in
               Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
            Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou extrajudiciaires en
                             matiere civile ou commerciale, signee a La Haye le 15 novembre 1965.

    Identity and address of the applicant                              Address of receiving authority
    ldentite et adresse du requerant                                   Adresse de l'autolite destinataire
    1. Mary Roberson                                                   2. Central Authority - Switzerland
    Lee C ounty Circuit Clerk                                          The Federal Justice and Police Department


                                                                                                             r-----------
    Lee County Justice Center                                          Federal Office of J ustice
    2311 Gatew ay Drive                                                International Leg al Assistance      Geri~,, .- !'I
    Opelika, Alabama 36801                                             Bundesrain 20
    Phone: 1-334-737-3500
    Email: mary.roberson@alacourt.g ov
                                                                       3003 Bern
                                                                       Switzerland
                                                                       Phone: + 4 1 58 462 11 20
                                                                                                             L.
                                                                                                             i .1
                                                                                                          t::Jr.g..
                                                                                                                    7 11L1 \.) I
                                                                       Fax: + 4 1 58462 53 80           !
                                                                       Email: irh® bi.admin.c h

   The undersigned applicant has the honour to transmit - in duplicate - the documents listed
   below and, in conformity with Article 5 of the above-mentioned Convention, requests prompt
   service of one copy thereof on the addressee, i.e. :
   Le requerant soussigne a l'honneur de faire parvenir - en double exemplaire - a l'autolite destinataire les
   documents ci-dessous enumeres, en la priant, conformement a !'article 5 de la Convention precitee, d'en faire
   remettre sans retard un exemplaire au destinataire. a savoir :

    (identity and address)
    (identite et adresse)
    3. Yv es Steffen
    Weizackerweg 33
    4312, Magden . Switzerland


               a)    in accordance with the provisions of sub-paragraph a) of the first paragraph of
     181
                     Article 5 of the Convention*
                      selon les formes looales (article 5, alinea premier, lettre an •
               b)     in accordance with the following particular method (sub-paragraph b) of the first
     □
                      paragraph of Article 5)*:
                      selon la forme particuliere suivante (article 5, alinea premier, lettre b)' :
                      --
               c)     by delivery to the addressee, if he accepts it voluntarily (second paragraph of
     □
                      Article 5)*
                      le cas echeant, par remise simple (article 5, alinea 2)*

   The authority is requested to return or to have returned to the applicant a copy of the documents •
   and of the annexes* - with the attached certificate.
   Cette au1orite est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de l'acte - et de ses annexes· -
   avec !'attestation ci-jointe.

   List of documents I Enumeration des pieces

           •        Sum mons
           •        Complaint
           •        Model Form



     • rt appropnate I s·,1 y a l,eu

    Done at I Fait a Lee County Justice Center                         Signature and/or stamp               ~
                            2311 Gateway Drive
                            Opelika, A labama 36801                    s,,~                           ~
    The / le 9 July 2024                                                                                                            UL 09 20~D
                                                                                                                                  IN OFFICE
                                                                                                                               MARY B ROBERSON
 Permanent Bu reau July 2017
                                                                                                                                CIRCUIT C LERK
                                                               DOCUMENT 6
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.-

                                                        CERTIFICATE
                                                              ATTESTATION


        The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
        L'autorite soussignee a l'honneur d'attester conformement a !'article 6 de ladite Convention.

        D     1. that the document has been served*
                 que la demande a ete executee·

            - the (date) / le (date):                                     1. Insert the date w hen the document was served
            - at (place, street, number):                                 2. Insert the place, street and number where the
                a llocalite, rue, numero) :                               document was served

            - in one of the following methods authorised by Article 5:
                dans une des formes suivantes prevues a !'article 5 :
            □     a) in accordance with the provisions of sub-paragraph a) of the first paragraph of
                         Article 5 of the Convention*
                         selon les formes legales (article 5, alinea premier, lettre a))'

            □     b)     in accordance with the following particular method*:
                         selon la forme particuliere suivante• :
                         --


            □     c)     by delivery to the addressee, if he accepts it voluntarily*
                         oar remise simple'

        The documents referred to in the request have been delivered to:
        Les documents mentionnes dans la demande ont ete remis a :

         Identity and description of person :                             3. Insert the identity and description of the person
         ldentite et qualite de la personne :                             who received the documents


         Relationship to the addressee (family,                           4. Insert the relationship to the addressee of the
         business or other):                                              person who received the documents
         Liens de parente, de subordination ou autres, avec le
         destinataire de l'acte :

        D 2. that the document has not been served, by reason of the following facts*:
                 que la demande n'a pas ete executee, en raison des faits suivants*:

         5. Insert facts/reasons why the document has not been served




        D    In confonmity with the second paragraph of Article 12 of the Convention, the applicant is
             requested to pay or reimburse the expenses detailed in the attached statement*.
             Conformement a !'article 12. alinea 2. de ladite Convention . le requerant est prie de payer ou de rembourser les frais
             dont le detail figure au memoire ci-joint•.

        Annexes I Annexes

         Documents returned:                                              Insert a list of the documents that are being
         Pieces renvoyees :                                               returned

         In appropriate cases, documents establishing                     Insert a list of the documents that establish that
         the service:                                                     service has been effected
         Le cas echeant. Jes documents justificatifs de
         !'execution :
         . if appropnate / s'il ya 1,eu
         Done at I Fait a Insert the location where you                   Signature and/or stamp
         signed the Certificate                                           Signature et I ou cachet

         The / le Insert the date on which you signed the
         Request (spelt out in full)




      Pennanent Bureau July 2017
                                                     DOCUMENT 6
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                                                   WARNING
                                                  AVERTISSEMENT


    Identity and address of the addressee
    ldentite et adresse du destinataire
    1. Yves Steffen
    Weizackerweg 33
    4312, Magden, Switzerland


                                                       IMPORTANT

   THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
   OBLIGATIONS. THE 'SUMMARY OF THE DOCUMENT TO BE SERVED' WILL GIVE YOU SOME
   INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
   DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

   IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON
   THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE
   YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

   ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
   THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                    TRES IMPORTANT

   LE DOCUMENT Cl-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
   LES« ELEMENTS ESSENTIELS DE L"ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE
   ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MEME DU
   DOCUMENT. IL PEUT ETRE NECESSAIRE DE DEMANDER UN AVIS JURIOIQUE.

   SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITE D'OBTENIR
   L'ASSISTANCE JUDICIAIRE ET LA CONSULTATION JU RIDIQUE , SOIT DANS VOTRE PAYS, SOIT DANS LE
   PAYS □ -ORI GINE DU DOCUMENT.

   LES DEMANOES DE RENSEIGNEMENTS SUR LES POSS IBILITES D'OBTENIR L'ASSISTANCE JUDICIAIRE OU
   LA CONSULTATION JURIDIQUE DANS LE PAYS D'ORIG INE DU DOCUMENT PEUVENT ETRE ADRESSEES A:

    2. Mary Roberson
    Lee County Circuit Clerk
    Lee County Justice Center
    231 1 Gateway Drive
    Opelika, Alabama 36801
    Phone: 1-334-737-3500
    Email: marv.roberson®alacourt.aov

   It is recommended that the standard terms in the notice be written in English and French and
   where appropriate also in the official language, or in one of the official languages of the State in
   which the document originated. The blanks could be completed either in the language of the
   State to which the document is to be sent, or in English or French.

   II est recommande que les mentions imprimees dans cette note soient redigees en langue fran~aise et en langue
   anglaise et le cas echeant, en outre, dans la langue ou l'une des langues officielles de l'Etat d'origine de l'acte. Les
   blancs pourraient etre remplis, soil dans la langue de l'Etat ou le document doit etre adresse, soit en langue
   fran~aise, soit en langue anglaise.




 Permanent Bureau July 2017
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             SUMMARY OF THE DOCUMENT TO BE SERVED
                                                ELEMENTS ESSENTIELS DE L'ACTE


              Convention on the Service Abroad of Judicial and Extrajudicial Documents in
   Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 {Article 5, fourth
                                            paragraph).
                    Convention relative a la signification et a la notification a l'etranger des actes judiciaires ou
                    extrajudiciaires en matiere civile ou commerciale, signee a La Haye le 15 novembre 1965
                                                          (article 5, alinea 4 ).

    Name and address of the requesting authority:                                       3. Mary Roberson
    Norn et adresse de l'autorite requerante :                                          Lee County Circuit Clerk
                                                                                        Lee County Justice Center
                                                                                        2311 Gateway Drive
                                                                                        Opelika, Alabama 36801
                                                                                        Phone: 1-334-737-3500
                                                                                        Email: marv.roberson@alacourt.qov

    Particulars of the parties*:                                                        4. Plaintiff:
    ldentite des parties* :                                                             Robert S. Abrams
                                                                                        875 5th Avenue, Apt 17C
                                                                                        New York, New York 10065
                                                                                        Phone: 1-929-944-5761
                                                                                        Email: racvholdings@gmail.com

                                                                                       Plaintiff:
                                                                                       A. Enterprises, LLC
                                                                                       174 7 Brookeview Court
                                                                                       Auburn, Alabama 36830

                                                                                       Defendant:
                                                                                       Yves Steffen
                                                                                       Weizackerweg 33
                                                                                       4312, Maqden, Switzerland
       If appropriate . identity and address of the person interested in the transmission of the document
       S'il ya lieu tdentite et adresse de la personne interessee   a la transmission de r acte

   ~     JUDICIAL DOCUMENT**
         ACTE JUDICIAIRE**


    Nature and purpose of the document:                                               5. - Summons: information for service of process
    Nature et objet de l'acte :
                                                                                      -Complaint: seeking money damages

                                                                                      -Model Form: information for service purposes

    Nature and purpose of the proceedings and,                                        6. -Claim for money damages up to $1 Billion
    when appropriate, the amount in dispute:                                          USO for fraud, breach of contract, and breach of
    Nature et objet de !'instance, le cas echeant. le montant                         fiduciary duty.
    du litige:
    Date and Place for entering appearance**:                                         7. You must enter an appearance within thirty
    Date et lieu de la comparution.. :                                                (30) days from the date you are served with
                                                                                      process with the following:

                                                                                      Mary Roberson
                                                                                      Lee County Circuit Clerk
                                                                                      Lee County Justice Center
                                                                                      231 1 Gateway Drive
                                                                                      Opelika, Alabama 36801
                                                                                      Telephone: 1-334-737-3500
                                                                                      Email: mary.roberson@alacourt.gov

    Court which has given judgment**:                                                 8. Not Applicable
    Juridiction qui a rendu la decision'' :



    Date of judgment**:                                                               9. Not Applicable
    Date de la decision.. :




 Permanent Bureau July 2017
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    Time limits stated in the document**:                 10. You must enter an appearance within thirty
    Indication des delais figurant dans l'acte.. :        (30) days from the date you are served with
                                                          process with the following:

                                                          Mary Roberson
                                                          Lee County Circuit Clerk
                                                          Lee County Justice Center
                                                          2311 Gateway Drive
                                                          Opelika, Alabama 36801
                                                          Telephone: 1-334-737-3500
                                                          Email: mary.roberson@alacourt.gov

     •• if appropriate / s"il y a lieu




   □ EXTRAJUDICIAL DOCUMENT**
          ACTE EXTRAJUDICIAIRE ..


    Nature and purpose of the document:                   11. Not Applicable
    Nature et objet de l'acte :


    Time-limits stated in the document.... :              12. Not Applicable
    Indication des delais figurant dans l'acte·• :


    •• if appropriate / s i ya rieu




 Permanent Bureau July 2017
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                 IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

ROBERTS. ABRAMS, and                           *
A. ENTERPRISES, LLC                            *
                                               *
        PLAINTIFFS,                            *
                                               *
VS.                                            *       CIVIL CASE NUMBER: CV-2024-184
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *                                IN OFFICE
                                                                             MARY B ROBERSON
                                                                              CIRCUIT CLERK
                                        CIVIL SUMMONS

Notice To:     Defendant
               Yves Steffen
               Weizackerweg 33 4312
               Magden, Switzerland


The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiff's Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUTHORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.
                                                  DOCUMENT 6
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_X_ _This Summons is being sent to:

Department federal de Justice et Police
Office federal de la justice
Domaine de direction Entraide judiciaire intemationale
Bundesrain 20
3003 Bern
Switzerland

which will forward this document to the appropriate Central Authority in Switzerland for service
on Defendant Yves Steffen, as allowed by The Hague Convention.

Date _      J~--(i?~---11)......,_L-{______




                                                                               e
                                                               L. DEAN, JR. - DEA006)



                                              RETURN ON SERVICE



         I certify that I personally delivered a copy of the Summons & Complaint to

         m _ ______,, on - - - -- -- -- -- - -




DATE                                                SERVER'S SIGNATURE




Address of Server                                        Type of Process Server
                                           DOCUMENT 6
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                 IN TH E CI RCUIT COURT OF LEE COUNTY, ALABAMA

ROBERT S. ABRAMS, and                          *
A. ENTERPRISES, LLC                            *
                                               *
         PLAINTIFFS.                           *
                                               *
VS.
                                               *       CIVIL CASE NUMBER:         ~ Vl~ ::\2 ~
                                               *
THOMAS STRUENGMANN,                            *
ATHOS SERVICE GmbH,                            *
YVES STEFFEN,                                  *
ANDREAS BIAGOSCH,                              *
PATIRO HOLDING AG,                             *
SANTO HOLDING AG, and                          *
FICTITIOUS DEFENDANTS R-Z.                     *
                                                                                     1N OfFICE
                                                                                   RY B R06ERSON
                                        CIVIL SUMMONS                            MACIRCUli CLERK


Notice To:     Yves Steffen

The Complaint which is attached to this Summons is important and you must take immediate action
to protect your rights. You or your attorney are required to file the original of your written Answer,
either admitting or denying each allegation in the Complaint with the Clerk of this Court. A copy
of your Answer must be mailed or hand delivered by you or your attorney to the Plaintiffs Attorney
Joseph L. Dean, Jr., whose address is Dean & Barrett, PO Box 231, Opelika, AL 36803-0231.
Telephone Number: (334) 749-2222

This Answer must be mailed or delivered within 30 days after this Summons and Complaint were
delivered to you or a Judgment by default may be entered against you for the money or other things
demanded in the Complaint.


TO ANY PERSON AUT HORIZED by Alabama Rule of Civil Procedure 4.4 (1) setting out
PROCESS: for and methods of service in a foreign country specifically by those means authorized
by The Hague Convention on the Service Abroad of Judicial and Extra judicial Documents.


_x_ You are hereby commanded to serve this Summons and a copy of the Complaint in this action
        upon the Defendant by means authorized by The Hague Convention on the Service Abroad
        of Judicial and Extra judicial Documents.

_ X_ _ This Summons is being sent to:
     Gerichte Kanton Aargau
     Generalsekretariat
     Obere Vorstadt 40
     5000 Aarau
                                         DOCUMENT 6
   Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 108 of 144



        Tel I: +4 1 62835 38 24
        Fax: +41 62 835 39 49
        Webmaster.ib0lag.ch


which is the Central Authority of the Federal State o f Aargau, Switzerland for service as allowed
by The Hague Convention.


Date
       - - - - -- -- - -




                                                   iffs A omey' s Signature
                                                 SEPH L. DEAN, JR. - DEA006)



                                   RETURN ON SERVICE



        I certify that I personally delivered a copy of the Summons & Complaint to

        m _ _ _ _ _ __ . on _ __ __ __ _ _ _ _ _




DATE                                        SERVER'S SIGNATURE




Address of Server                                   Type of Process Server
                                         DOCUMENT 6
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                 IN THE CIRCUrt COURT OF LEF. COUNTY. ALABAMA

ROBERTS. ABRAMS. and                        *
/\. ENTERPRISES. LLC                        *
                                            *
        PLAINTIFFS.                         *
                                            *
VS                                          *
                                            *
                                                    CIVIL CASE NUMBER:          c Vof1-\g 4
THOMAS STRUENGMANN,                         *
ATHOS SERV ICE GmbH.                        *
YVES STEFfE N.                              *
A DREAS BIAGOSCH,
PATIRO HOLDING AG.
                                            ,.
                                                                      ~ ~ L~[Q)
                                            *
SANTO HOLDING AG. and                       *                             JUN 2 4 2024
FICTITIOUS DEFENDANTS R-Z                   *                                 IN OfFIC.E
                                                                         MARY B. ROBERSON
                                                                           CIRCUIT CLERK
                                        COMPLAINT

                                GENERAL ALLEGATIO S

        I.    Plaintiff. Robert S. Abrams, [hereinafter ··Mr. Abrams··] is over the age of 19 years

             and ts a resident citizen of New York. Ne\, York.

        2     A. Enterprises, LLC is an entity that owns preferred stock in Si02.

        3.    Defendant Thomas Struengmann. [hereinafter ·'Struengmann•· or --TS"] is over 19

             years of age and is a resident of Munich. Germany who has done business in Lee

             County, Alabama for over seven years as a director of Si02.

        4.   Defendant Athos Service GmbH [hereinafter .. Athos Kg'·J is an enlit) that owns or

             invests portion of the Struengmann family assets and is incorporated in Munich.

             Germany \\ hich has done business in Lee County. Alabama for years.

        5    Defendant Patiro Holding AG [hereinafter '·Patiro.. ] is a Swiss entity controlled by

             Defendant Thomas Struengmann that owns or invests a portion of the Struengmann



                                         Page I of 25
                                        DOCUMENT 6
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           family assets and is incorporated in Sv,itzerland \\hi<.:11 has done busine
                                                                                      ss in Lee
           County. Alabama for years.

    6.     Defendant Santo Holding AG [hereinafter --santo.. j is a Swiss cntil)
                                                                                           controlled b)
           Derendant ·1 homas Struengmann that owns or invests a portion of the
                                                                                           Struengmann
           family assets and is incorporated in Svvitzerland .

   7.      Derendant Yves Steffen, [ hereinafter --Yves.. or --steften .. J is over 19 years
                                                                                                 of age and
          is a resident citizen of Sv,'1tzerland who has done business in Lee Count
                                                                                             ). Alaba ma
          and functioned as CEO of Si02 which is located in Auburn, Alabama.

   8.     Defendant Andreas Biagosch, [hereinafter·· Biagosch..J is over 19 years
                                                                                             of age and
          is a resident citizen of Germany who has done business in Lee County,
                                                                                            Alabama as
          a director of Si 02.

   9.     Fictitious Defendant R is a person or entity whose identit) is presently
                                                                                            unknown to
          the Plaintiff ,,ho is responsible for the acts of the Defendant Struengmann
                                                                                                 under the
          applicable law creating the responsibilities and duties owed by Fictitious
                                                                                             Defendant
          R to others for the acts or omissions of Defendant Thomas Struengmann
                                                                                             .
   10.    rict1tious Defendant Sis that person or entity whose identit y is presen
                                                                                           tly unkno wn
          to the Plaintiff who is responsible for the acts of the Defendant Struengmann
                                                                                                  because
          of the Doctrine of Respondcat Superior.

   11 .   Fictitious Defendant T is that person or entit) whose identity is presen
                                                                                          t!) unkno ,,n
          to the Plaintiff ...'110 is responsible fo r the acts of the Defendant Biagos
                                                                                          ch becaus e or
          the Doctrine of Respondeat Superior.




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    12.    I· ictitious Defendant U is that person or entit1 ,\·ho is responsible for the acts or

           Defendant Y, es Steffen because of the Doctrine of Respondeal Superior.

   13 .   Fictitious Delendant V is lhat person or entit) who is responsible for the acts of

          At hos Kg because or the Doctrine of Respondcat Superior.

   14.    Fictitious Defendant Wis that person or entity ,1,hose identity is presently unknov-. n

          to the Plaintiff \1,ho is responsible for the acts of Dctendants Strucngmann. At hos Kg,

          Steffen. Patiro and/or Biagosch because he or it was invoh ed in a joint venture with

          an) of the a forenamed Detendants.

   15 .   Fictitious Defendant Xi s that person or entity whose identity is presently unknow n

          to the Plaintiff who conspired with Defendants Slruengmann. Athas Kg, Steffen.

          Patiro or Biagosch to deprive the Plaintiff of his control of the corporation known as

          Si02 and to deprive the Defendant of the value of his ownership of Si 02 .

   16     Ficlilious Defendant Y is that person or entil) \\ hose identity is presently unknown

          to the Plaintiff \\hose negligence concurr ed\\ ith the negligence of Athos Kg and/or

          Biagosch in failing lo preserve or wasting the assets of Si 02 .

   17.    Fictitious Defendant Z is that person or enlity whose identit) is presently unknown

          to the Plaintiff v-. ho had oversight responsibi I ity or the actions ofStruengmann. Al hos

          Kg. Steffen. Patiro. Santo or Biagosch and who negligently failed to exercise that

          oversight authority causing the immense lost of value to Plaintif fs ownership in

          stock of Si 02.

   18.    Plaintiff founded Si02 and built it and its predecessors from the ground up. Plaintif f

          founded Si02 lo meet a critical need for production of glass-lined syringes and vials.


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   19.   Pia inti ff founded SiO2 Medical Products. Inc. f··SiO2" or ··the com pan) ··J. as a

         division of CV Holdings in 2008 In 2015. SiO2 became an independ ent com pan)

         and from S1O2's inception unti I July 2022. Plaintiff se rved as its Cl:.O and Chairman .

         In /\pril 2023 Plaintiff remained a Director of SiO2.

   20.   S1O2 ,vas headquar tered in Auburn. Alabama where 1t researche d and develope d

         cutting edge medical and biotech products employin g over 300 people B) April or

         2022 SiO2 had perfected a number of its products and was poised to introduce its

         breakthro ugh technolog y to the world. SiO2 was a Delaware compan) operating in

         Alabama .

   21.   In June of 2022, Plaintiffs owned or controlle d I 00% of SiO2's common stock and

         28. 795.81 shares of Enterpris es 2017 Series A Preferred Shares. Those shares carried

         a majority voting control of S1O2 and its subsidiar ies. Plaintiff held voting control

         of 102 and its subsidiar ies from its inception until July of 2022 when he was

         fraudulen t!) induced to step down as CEO and surrender voting control by granting

         a proxy for shares as set out belo"

   22    From SiO2's mception through 2022, SiO2 built its patent portfolio. which current I)

         consists of 245 currently- issued patents. over 30 unique pend mg patent applicatio ns.

         more than roughly 8.000 patent use cases. and about 750 more patents in process.

         O, er the years Plaintiff has funded SiO2 with his own mone) and raised hundreds

         of mi II ions more from others to fund SiO2's operation s For example. around

         Decembe r 2021 Plaintiff raised $ I 00 million in funding for SiO2 from Korean

         company . Doosan Corporati on


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   24.   Aller spending more than 14 )ears perfecting SiO2's products. SiO2 was on the hrink

         of commercializing its technology. which made SiO2 extreme!) ,aluabk and the

         timing of the filing of the bankrurtcy dubious.

         Various capital raises and acquisition offers valued Si02 bet,,ecn Sl.5 billion ancl

         S2 billion 111 2020.

   26.   On June 28. 29 or 30. 2022. Defendant Thomas Struengmann fraudulent() induced

         Plaintiff to relinquish ,oting control to him in exchange for funding that

         Struengmann promised to the Company but never delivered or intended to deliver.

         Defendant Struengmann is a wealthy German bus111essman who currently controls

         three of SiO2's investors - Athos KG (""Athos''), Patiro Holding AG (.. Patiro "') and

         Santo Holding AG (--Santo .. ).

   27.   Struengmann began invest mg in SiO2 around 2015 and had ah,ays done what he said

         he ,,ould do insofar as his dealings v. ith the Plaintiff were concerned and insofar as

         investing mone) that he had promised to invest in SiO2 Plaintiff had ever) reason

         to trust Struengmann ,, hen he made representations of further 111\ estments in the

         com pan~.

   28    On June 28. 29. or 30. 2022. Plaintiff met with Struengmann and several others at

         Struengmann·s Munich office. In the presence of others. Defendant Struengmann

         agreed to invest $50 million of equity in SiO2 at a value of$500 million

   29    Before the meeting was over. Defendant Struengmann asked the Pl aintiff to speak

         with him alone in another room . At that time Plaintiff and Defendant Struengmann

         privately discussed terms for Del"endant Struengmann •s desire to prO\ ide addi t1onal

         funding for SiO2 beyond the initial $50 mil lion i11\'cstment.

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    30.    At that pri, ate meeting Defendant Struengmann stated that he would also invest $70

           million in or about September 2022 and \\OU Id raise an additional $170 mil lion 111

           nt:,-. cquit) for SiO2 before the end of 2022. As to the $170 million. Defendant

          Struengmann told Plaintiff he would attempt to raise as much of 11 as possible from

          third partit:s including his personal contacts. but that if he tell short ofthal he \,vould

          in\'eSt the money himself.

   31 .   At the pri,ate meeting Defendant Struengmann instructed Plaintiff lo cease his

          ongoing efforts to raise funds for S,O2, and the reason he gave for tl11S \\as that

          Defendant Struengmann was prepared to arrange for all necessar) investments

          himself and did not want Plain ti ff attracting other investors.

   32.    Defendant Struengmann also insisted that Plaintif f step do,,n as CEO and that

          Plaintiff give Defendant St1uengmann voting control of the Biotech Division of the

          Compan) onl) by granting Defendant Strucngmann prox) rights to vote his and A.

          Enterprises shares.

   33 .   Defendant Struengmann demand ed that he would run SiO2's Biotech and vaccine

          busmess only because he had no interest 111 the rest or SiO2's business "hich \,as

          comprised of se,·en other research and development product divisions. Plaintif f

          would continue to run those divisions exclusively. Defendant Struengmann would

          recei, ea S0 o tee of the profits or the other seven research and de, elopment di visions

          to compensate for use of the B101ech and vaccine businesses· patents.

   34 .   Plaintiff was not represented b) counsel al all during the meeting that too~ place on

          June 28. 29. or 30. 2022 or at the time he e,ecuted an) documents pertaining. to it.




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   35.    Plaintiff relied on Defendant Struengmann·s promises and representations to him

         made during the private discussion and broke off ongoing discussions\.\ ith oth(:r

         potential sources or capital for SiO2 that included prc,ious negotiations with Saudi

         Arabia. The United Arab I.:.mirates (.. UAE .. ). and Kenned) Le\\ is

   36.   Also in reliance on Defendant Struengmann·s promise~ made to him. Plaintif f

         executed the Amended & Restated Stockholders Voting Agreement on July 5. 2022.

         which ga\c Defendant Struengmann·s company. Patiro. a proxy to vote Plaintif fs

         personal shares and A. Enterprises· shares. which gave Defendant Struengmann

         voting control over SiO2.

   37.   Defendant Struengmann was present at the Board Meeting held in Auburn. Alabama

         on September I, 2022 . along with directors Detendant Yves Steffen. Defendant

         Andreas Biagosch. Melissa Simon. the Plaintiff and others. Defendant Thomas

         Struengmann served as a director of SiO2 and attended many Board meetings and

         other compan) functions in Auburn. Alabama over several years. He may have

         resigned secretly in October 2022.

   38.   While at the SiO2 Board Meeting held in Auburn. Alabama on December 9. 2022.

         Defendant Biagosch told Plaintiff in pri\ate that Defendant Thomas Struengmann

         had never intended to furnish financing or investment in SiO2 beyond the $50

         million invested and had ne\·er promised that he would do so\.\ hich is further proof

         that Defendant Thomas Struengmann had the present intention on June 28. 29 or 30.

         2022 not to fulfill the promises that he mack lo Plaintiff concerning further financing

         for S1O2 .
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    39.    In the decade leading up to June of 2022. Si02 ah,a)s had an abiliL) to raise mone)

           to meet an) economic challenge and banh.ruptC) was not c,·cn a considera tion. In

           April of 2022. S i02 ,,as \\Orth S2--' billion based on the sale or stoch. to third parties

           and ne,, patents obtained.

   40       Before the bankruptc ) filing. 111 early 2023. the Compan) lead by Defendan t Yves

           Steffen·s . \.\ho was acting under the control of Defendan t Thomas Struengm ann.

           failed lo pursue over $111 million in available monies due from the tederal

           go,ernme nl in the form of a Second Request for Equitable Adjustme nt ( REA).

           Plaintiff also ceased pursing available capital for the Compan) based on promises

           made to him by Defendan t Struengm ann, that in essence Struengm ann would provide

           the necessary capital and Thomas Struengm ann did not want the Plaintiff to seek

           other investors or creditors.

   4 1.    At the Board of Directors meeting of SiO2 on Novembe r 30. 2022. Defendan t Yves

           Steffen co nfirmed Defendan t Thomas Struengm ann's direction to Plaintiff to cease

           his efforts to seeh. other investors when he responde d to Board concerns about

           seeking additiona l financing that th e Compan y had not been acti\'ely lookin g for

           an investme nt over the preceding 6 months. That 6 month penod corncided '" ith the

           time that had elapsed since Defendan t Thomas Struengm ann told Plaintiff to cease

           his investme nt raising efforts on June 28. 29 or 30. 2022 .

   -l2 .   At the same Board of Directors meeting on No\'embe r 30. 2022. Defendan t Andreas

           Biagosch opposed the suggestio n of creating a Capital Raise Committe e (C RC)

           composed orindepe nd cnt disintere sted din:clors and proposed instead that the CRC

           be composed of Defendan t Y, es Stert~n: Defendan t Athas Kg's board represent ative


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            Melissa Simon: Mr. Paul Meister who was placed on the Board b) Defendant

            Thomas Struengmann; and Mr. Aman Kumar ,,ho was Oaktree·s board

            representative. In response. it was suggested that if the CRC formation proposed b)

            Defendant Biagosch was implemented that the CRC charter should recuse any

            member of such committee who had a conflict •.vith respect to the contemplated

            transaction. Defendant Biagosch then pushed back with the assertion that the

            members of the CRC should have as much information as possible. Defendant

            Biagosch' s suppo11 for Board Members control led by Thomas Struengmann indicates

            knowledge of Defendant Thomas Struengmann·s plans to destroy Si02 s ability to

            raise money and his active involvement in the scheme to ultimately force Si02 into

            imoluntary bankruptcy.

   --U.     Pla111tiff reasonably relied on Defendanr Struengmann·s promises to pro,·ide

            financing when he decided to gi, e Detendant Struengmann prox) to vote his shares

            and when he stopped negotiating ,vith Kennedy Lewis. Saudi Arabia and the UAI:..

            Nothing other than Defendant Struengmann ·s promisc:s would have induced him to

            give up control of the company or cease to find available funding. In fact. the

            Kennedy Lewis financial deal had alread) been approved by the Si02 Board.

   44.      Once Defendants seized control of Si02, lhey denied the Plaintiff access to

            information in the company" s possession which was contrary to his rights and interest

            as an Si02 Director and Si02 Shareholder

   --l 5.   Once Defendant Struengmann acquired ,oting control of Si02. he and Defendant

            Steffen immediate!) began stt'ering the corn pan) to an unnecessar~ banl-.ruptc) ,, ith

            help from Detendants Biagosch and Athos Kg.

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   46.   On information and belier. Plaintiff avers that Delendanls Struengmann and Steffen

         had begun speaking with the bankruptcy counsel that ultimately placed SiO2 in

         bankruptcy as early as April 2022 and on or about December 8. 2022 directed that

         SiO2 pays a $1 million retainer to Kirkland & Ellis for their legal preparation of the

         bankruptcy petition without advising the Board or Directors and made no mention

         of bankruptcy at the December 9. 2022 meeting of the Board of Directors. SiO2's

         liquidity was further diminished.

   47.   Rather than protect or advance the interest of SiO2 or its Shareholders. Defendant

         Struengmann who held a seat on the Board of Si 02, until October 18. 2022. when he

         secretly resigned, actively hindered SiO2's ability to raise capital in severa l ways

         including instructing the Plaintiff to cease raising funds from other investors and

         failing to seek $111 million in government reimbursement on a Second REA Claim .

         fhe net effect was for Defendant Struengmann to create a false liquidity crisis in

         order to justify bankruptcy designed to personally benefit himsel Leven though it was

         against SiO2's best interests.

   48    In early 2023. under the direction of Defendant Struengmann. CEO Steffen failed to

         pursue a claim to the federal government for money owed for work performed by

         SiO2 related to the Covid-19 pandemic.

   49.   The request for additional payment for performance of a government contract is

         known as a Request for Equitable Adjustment (.. REA"'). A RFA for $111.45 7.080

         in additional costs SiO2 incurred in manufacturing , ials for the gO\ernment's

         Operation Warr Speed program for production of the Co, id-19, accine should ha, e

         been made.

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    50    Plaintiff personal!) hired and paid the lees of an attorney ,,ho is an e:-..pert
                                                                                                   on
          go,·e rnmen! reimbursemen! for the purpose of advising him on wh-:ther Si02
                                                                                               \\as
          entitled to request this reimbursement. Although there was no guarantee that
                                                                                       the
          go,ern mcnt would grant the request. the attorne) advised Plaim1ffthat he consid
                                                                                              ered
          it a routine submission and p<1yment was highly likely. In tact !he attorney advised

          Plainliffthat il'the submission had been filed by January 24. 2023, SiO2 wou ld
                                                                                             have
         known by March 24. 2023 whether the U.S. government would pay some or al I of
                                                                                               the
         much needed $111 million.

   51    Defendant Steffen. the CEO hand-picked by Defendant Struengmann. inexplicably

         refused to make the filing with the federal government for the Second
                                                                                             REA
         mentioned above. In Auburn. Alabama in Februar) 2023. Defendant promis
                                                                                ed
         Plaintiff that he would file the application for the REA. and then refused to do
                                                                                              so
   52.   Defendant Steffen ·s refusal to submit the REA was in suppon of the plan created
                                                                                               b)
         him and Defendant Struengmann to create a false liquidit) cnsis to justify putting

         SiO2 into bankruptcy.

   53.   Defendant Struengmann and Defendan! Steffen then proceeded lo use the proxy
                                                                                               to
         e:-..ercise Plainti fr s voting rights and the Board of Di rectors that Defendant Thoma
                                                                                                 s
         Struengmann had put in place including CEO Defendant Steffen to tile a bankru
                                                                                             ptcy
         petition for SiO2. \\hich ultimately destroyed the value or S1O2 stock since
                                                                                            drug
         companies do not want lo do business\.\ ith a compan) that has been in bankru
                                                                                            ptC).
   54.   As fiduciaries. the Defcndams I homas Struengmann. Yves teffen. and Andrea
                                                                                    s
         Biagosch had --a dut) to act ,,·ith the highest degree of honest) and lo)alt~ IO\\ard

         the Plaintiff and in 1he best interest of the Plaintiff.

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   55.    I he participation by Defendants Thomas Struengmann. Andreas Biagosch. Athos

         Kg. Patiro and Santo in fraud and deceit , and breach of liduciar) dul) which caused

         Plaintiff tn lose control of his company and over $1 billion through fraudulent

         changes in stock ownership and voting rights endangers the common good and

         requires the dissolution of Fi ctitious Defendants R (which is responsible for their

         conduct) which is the only way to eliminate the threat to the common good .

   56.   Defendant Struengmann who was not allowed to become involved in the

         managements of investments made by Athos Kg. Patiro and Santo. active!) inserted

         himsel r into the control and management of Si02 and fraudulently lead it down the

         disastrous path of bankruptcy which destroyed its value. At the time. Plaint i ff was

         unaware that Defendant Thomas Struengmann could not be involved in the

         management of companies that were invested in by Athos Kg. Patrina and Santo but

         Detendants Thomas Struengmann and Biagosch knew it.

   57.   Defendant Steffen who was installed as CEO by Defendant Struengmann was lo)al

         to Defendant Struengmann instead of the Plaintiff who was the principal share holder

         and failed to deal honest I) and fairly with the Plaintiff in a number of ways inc I uding

         his failure to file the Request for Equi table Assistance. which wou ld have injected

         $111 million into the company at a lime when it claimed to be on the ve rge of

         bankruptcy.

   58.   Defendants Athos. Kg. Patrino and Santo allowed its agent, sen ant. or employee,

         Defendant Struengmann to become im olved in the management of Si02 which

         Plaintiff believes was contrary to German law and regulations controlling his famil)

         foundation. Defendant Thomas Struengmann served on the Board and regular!)

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         attended corporate functions in Auburn. Alabama for )ears. Athos Kg. Patrina and

         Santo violated their fiduciary duty to the Plaintiff by allo\, ing Defendant I homas

         Struengmann to be involved in the management of Si 02.

   59.   On information and belief.Plaintiff avers that Defendant Andreas Biagosch who had

         supervisor~ authority o,er Struengmann·s family lounc..lation including Atho~ Kg.

         Patiro. and Santo failed to require them to conduct business according to rule and

         regulation promulgated by the German government when he al lowed Defendant

         Struengmann to he actively involved in the management of SiO2. which was an

         investment of Athas Kg. Patiro and Santo. Defendant Biagosch was present at all

         critical times in which Defendant Struengmann was involved including the meeting

         in Munich in late June of 2022 and at various Board Meetings of SiO2 in Auburn.

         Alabama. In fact. Defendant Biagosch made certain statemenb to the Plaintiff in

         pri,ate while attending the Board Meeting on December 9. 2022 in Auburn. Alabama

         to the effect that Defendant Thomas Struengmann ne\'er intended to 111vest more than

         the $50 mi ll ion in SiO2 and that he never made the promise to make the $70 million

         and $170 million additional in\'estments. His statement shows Defendant Thomas

         Struengmann had no intention to fulfill the promises he made on June 28. 29 or 30,

         2022

   60.   13) reason or their positions as officers and/or directors of SiO2. each of the

         Individual Defendants owed SiO2 and its stockholders fiduciary obligations o ftrusl.

         loyalty. good faith. and due care. and were and are required lo use their utmost abilit)

         to control and manage SiO2 in a lair. just. honest. and equitable manner. The

         lndi, idual Derendants \\ere and are required to act in furtherance of the best interests

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           or SiO2 and not in furtherance of their personal interest or benefit lo discharge their

          duties. the oniccrs and/or directors of SiO2 \\ere required to e,crcisc reasonable and

          prudent supen ision O\'er the management. policies. practices. and controls of the

          financial affairs or the SiO2.

   6 1.   The conduct of the Individual Defendants complained or herein inrnlvcs a kno\\ ing

          and culpable ,·iolation or their obligations as officers and/or directors of Si 02. the

          absence of good faith on their part. and reckless disregard for their duties to Si02 and

          to the stockholders that the Individual Defendants were aware or reckless in not being

          aware posed a risk of serious injury to SiO2 and to the stockholders. The Individual

          Defendants. because of their positions of control and authority as officers and/or

          directors of SiO2. were able to. and did. directly or indirectly. exercise control over

          the \\rongful acts complained of herein. The Individual Defendants also failed to

          prevent the other Individual Defendants from taking such illegal actions. As a result.

          and in addition to the damage SiO2 and the stockholders ha,e alread) incurred. the

          stod.ho lders ha, e e:,.,.pended. and will continue to expend.significant sums of mone)




                                     COUNT ONE

                                PROMI SSORY FRAUD



   62     Pln111tiff111corporates the paragraphs 1-6lofth e General Allegations

   63     On or about June 28. 29. or 30 of 2022. Defendant Struengmann tool-- the Plaintif f

          into a separate room in hi s i\ lunich. German~ oftice and promised to invest an

          add1t1onal $70 million 111 S1O2 in September/October of' 2022 and to procure

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           investment 111 SiO] or another $170 million before the end of 2022. rhoma
                                                                                                      s
           Strucngmann said that he would either find someone else to in\·esl that additio
                                                                                                nal
           $170 million or he would invest the money himself' before )ear end              l·urthcr
           Defendant Thoma s Strucngmann told the Plainti ff to refrain from seeking financi
                                                                                                 ng
          or 111vestment elsewhere and that Plaintiff had to give Defendant rhoma
                                                                                  s
          Struengmann his written proxy to vote his SiO2 stock giving Defendant Thoma
                                                                                                     s
          Strucngmann control of SiO2 and step do\, n as CEO immediate!) .

   64     Defendant Struengmann made those promises on behalfo fhimse lt: At hos Kg. Patiro

          and Santo.

   65 .   When Defendant Struengmann made the above described promises to invest
                                                                                                an
          additional $70 million in September/October of2022 plus an additional $170 million

          b~ the year end of2022 in SiO2. he intended to deceive Plaintiff. He had the presen
                                                                                                  t
          intcn11on not to fut fill his promisec; \\hich is shown. mter alw. b) his failure toe,
                                                                                                 er
          fulfill either promise and b) Defendant Biagosch·s statements made to Plainti
                                                                                              ff in
          pri, ate while at the Board Meeting of SiO2 in Auburn. Alabama in December
                                                                                                of
          2022 to the effect that Defendant Thomas Struengmann had ne, er had an) intentio
                                                                                                 n
          of il1\est111g more than $50 million in SiO2 and had never made the promis
                                                                                              e to
          Plaintiff.

   66.    As part or the statement Defendant Struengmann told the Plaintiff to refrain
                                                                                             from
          seeking financing elsewhere because he ,,anted it all and Plaintiff did in fact forego

          other financing that he had pre, iously arranged. and\\ hich \\as pre, iousl) apprm
                                                                                                cd
          in n:liance upon Defendant Struengmann·s promise.




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    67.    Plaintiff had dealt with Defendant Struengmann over a 20 year period and he had

          always done what he said he would do 111 terms of investing mone) 111 various

          ,cntures of the Plaintiff in the range of several hundred million dollars.

   68     Plaintiff relied upon Defendant Strucngmann ·s representations to him and did not

          see!-.. other financing. \\hich ultimate!) causeu SiO2 to ha\'c serious financial

          problems \\ hen Defendant        truengmann and At hos Kg refused to fund the

          in,estmen ts promised.

   69     At the time that Defendant Struengmann acting for Athos Kg. Patiro and Santo made

          the misrepresentation to Plaintiff that he would fund SiO2 with an additional

          investment of $70 million in September/October of 2022 and an additional $170

          million b) year end 2022. the Defendants Struengmann and Athos Kg. Patiro and

          Santo had the present intention not to perform the acts promised.

   70.    Al the time that Defendant Struengmann made the misrepresentation to the Platntiff

          that he \\Otild fund SiO2 with an addit1onal $70 million in September/Octoher 2022

          plus an additional $170 million invested 111 SiO2 by year end 2022. the Defendant

          had the present intent to deceive the Plaintiff.

   71.    At the time Defendant Struengmann •s promises were made. Defendant Struengmann

          did not intend to can; out the promises to invest the $70 million or the $170 million

          in SiO2 and he had the present intent to deceive the Plaintiff into belie, ing that he

          \\Ould do so.

   7'2    Plaintiff reasonably relied on Defendant 'truengmann·s promises to fund SiO2 \\ ith

          an additional $70 million in September October 2022 and a further additional sum

          of$170 million before year end 2022 \,hich caused the Plaintiff to forego linancing

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          that he had al read) arranged ,, ith other investors for SiO2 and further caused the

           Plaintiff to cease efforts to tind other financ111g for SiO2        In tact Defendant

          Struengmann asked or directed the Plaintiff not to see!- other financing from other

          sources and to .1ust rd) upon him.          Because or the long 20 )ear histOI") or

          i1l\olvernent ,,1th Defendant Struengmann and Athos Kg. and his demonstrated

          ability and ,., illingness to ill\ est in Plaintiff s companies. Plaintiff relied upon

          Defendant Strucngmann's promises and did not use other financing or seek other

          additional financing . Defendant Struengmann kne\\ that Plaintiff v,ould rely upon

          his promises.

   73.    In late June/early July 2022 Plaintiffs owned 100% of the common stock. of Si02 and

          more than 50% of the preferred stocl-- in SiO2 for a combined ownership percentage

          of more than 50 percent. At that time. Plaintiff needed to raise funds to ensure that

          the compan) could sustain itself financially until the ne\\ products it had developed

          could be marketed Plaintiff estimated that would take $250-270 mil Iron Plaintiff

          had pre\lousl ) arranged to obtain financing or investments of $250-270 million.

          ,,hich he did not close because or Defendant Struengmann·s promise to il1\est $70

          mi Ilion 111 September/October and find investors or provide his further im estment of

          $170 million before year end. Based upon Struengmann·s requirement that he cease

          efforts to obtain other financing. the Plaintiff ceased to search for alternatl\ c loans

          and investors .

   74     At the time of Defendant Struengmann·s promise 111 late June. Plaintith alued SiO2

          at $2.5-313, based on -;tock sale lor $100 M to Doosan around .lanuar~ . 2022.

   75 .   As a result of Plaintiff s reasonable reliance upon Detendan1·s promises of future

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         financing as set out above. Defendant Struengmann. \thos Kg. Pat,rn. Santo and

         other Defendants were able to execute their plan to tal-.e o, er SiO2 and force it into

         inrnluntary bankrupt<.:). in the hopes that Struengmann. Athl)S Kg. Patiro and Santo

         could buy the com pan) for pennies on the dollar out of the bankruptc) proceeding.

         As a pro,ima te result of the scheme in which Defendants Struengmann. At hos Kg.

         Pat,ro. Santo and other Defendants participated. Plaintiff lost al least$ I btl lion in

         ,alue of ownership ofSiO2 .

   76    Defendant Thomas Struengmann ·s promisso1; fraud enabled Defendants Thomas

         Struengmann and Yves Steffan 's plan to take control of SiO2 so they could force it

         into unnecessar) bankruptcy. Documentary proof of their fraudulent scheme was

         discovered by Plaintiff in the bankruptcy proceedings when documents prepared b)

         Defendant Yves Steffen were produced b) SiO2 bankruptc) counsel. One docume nt

         entitled .. Financial and Operational Strateg) •• dated June 30, 2022 and stamped

        .. conlidential .. consisting or 8 pages \\as distributed to SiO2 Boa rd Members A

        separate document consist Ing of9 pages\\ as prepared b) Defendant Yves Steffen for

         Defendant Thomas Struengmann and was pro,ided to him but not to the Board

         Members The first 8 pages of the separate document provided to Defendant fhomas

        Struengmann 1s identical to the 8 pages distributed to Board Members. but it

        contained an additional page. The additional (ninth) page orThom as Strnengmann ·s

        document entitled --Proposal to enable the transformation of SiO2" is attached as

        Exhibit .. A... Exhibit ..A .. shows a contemplated investment or $250 million USO

        b) Athos \\hich is further substantiation of Thomas Struengmann·s promises to

        Plaintiff as \\ell as the scheme to tah.e mer the company.

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        77       Plaimiff claims compensatOI) damages against Oercndant Struengmann. Steffen.

                 Athos Kg. Patiro. Santo and lictit1ous Defendants R through Z. for compensator)

                damages in the amount of$1 billion.

        78       Oclendant Thomas Struengmann was the agent. scnant or cmplo)ee or Athos Kg.

                Patiro and Santo. acung \\ ithin the l111e and scope orhis authorit) at all umes material

                to this Complaint

        79.     Defendant 13iagosch was the agent. servant or employee of Athos Kg. Patiro and

                Santo acting\\ ithin the ltnc and scope of his employment at all times material to this

                Complaint.

        80.     Defendant Struengmann intentionally planned to deceive Plaintiff and to take his

                property unlawfully . The Plaintiff claims punitive damages in an amount to be

                determined b) ajur) for the purpose of punishing the Defendant Struengmann for his

                intenuonal \HOngful conduct and for the purpose of deterring said Derendant and

                others similar!) situated from such conduct in the future

        81.     Defendants At hos Kg. Patiro and Santo knew or Defendant Struengmann ·s conduct.

                benefitted from that conduct. or his conduct was calculated to benefit his emplo)er

                At hos Kg. Patiro and Santo. or they ratified that conduct. all of ,,hich makes Athas

                Kg. Patiro and Santo liable for the puniti\e damages assessed against Struengmann.

                WHEREFORE. Plaintiff demands judgment against Defendants Thomas

Struengmann. Yves Steffrn. Athos Kg. Patiro. Santo. Andreas Biagosch and Fictitious Defendants

R through Z. for compensator} damages in the amount or $1 billion and punitl\e damages of$3

billion. plus cost and interest.




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                                      COU T TWO

                              BREAC H OF CONTRA CT




   82    Plaintiff incorporates the allegations of paragraphs I through 81 herein

   83    Dc:fcndant Struengmann acting for his employers/ principals Atho~ Kg. Patiro and

         Santo offered to pro, ide financing for SiO2 in a meeting in late June 2022. Some of

         the terms of that contract were reduced 10 writing and others were ,-erbal. including

         the prorrnses of Defendant Struengmann acting on behalf or Athos Kg. Patiro and

         Santo to imest $70 million Ill SiO2 in either September or October of 2022. and an

         additional $170 million before year end 2022. All of which was in addition to the

         $50 million invested in SiO2 in Jul) of 2022 Defendant Strucngmann offered to

         mal-.e those 111vestments in Si02 and the Plaintiff accepted his offer and terms also

         agreeing to give Defendant Thomas Strueng.mann his pr0X) to ,·ote the majorit) of

         the stock in SiO2: stepping do,,n as CFO. and agreeing to relinquish control of

         certain portions or SiO2 to Defendant Struengmann.

   84.   Thereafter. Defendant Struengmann failed and refused to furnish the additional

         im cstment in SrO2 that \.\as promised. totaling some $240 million but retained

         control of the compan) that ,,as ,nongfull) obtained from the Plaintiff See Exhibit

         ··A .. entitled --Proposal to enable transformation of SiO2" ,vhich was prepared b)

         Defendant Yves Sterten on June 30. 2022 for Defendant Thomas Struengmann

         indicating a $250 million imestmenl b) Athos Kg that never happened . Exhibit

         ··A .. \\as not furnished 10 the Board as a pan or the handout entitled ·-rinancial and

         operational stratcg) ••. E,hibit .. A.. recog111zes the ncccss it) of the injection of$250

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         million USO by Athos Kg to accomplis h the transform ation of control to Athos

         Kg.

   85    Defendant     truengmann \HOngfull) exercised control of all of Si02 b) tah.ing

         Plaintilrs ,oting rights and remo, tng Plaintiff as CEO of the company. substituting

         in his stead his hand picked designate Defendant Yves ' teflen.

   86    Defendant Struengmann then acting through Yves Steffen and the Board he had

         elected. proceeded to take various acts which coupled with his failure to provide

         $240 million wonh of investment put Si02 in a precarious financial position

         allO\\ ing him to force it into an involuntary bankruptcy situation designed to allow

         Defendant Thomas Struengmann to purchase Si02 for pennies on the dollar.

   87    Among other actions Defendants Thomas Struengmann and Yves Steffen refused to

         mah.e the Second REA for $111 million from the U S Government and caused

         Plaintiff to cease seeking financing \,hde refusing to imest $240 million that he

         promised "hich created the liquidity crisis the~ relied upon to put SiO2 in

         hanh.ruptcy

   88.   When the) took comrol of the company. the Defendants -, ho mas Struengmann. Yves

         Steffen, Athos Kg. Patiro. Santo and Andreas Biagosch should have taken every

         reasonable measure to ma\imize the assets of Si02 and preserve Shareholder value,

         and they did neither of these In fact. the) worked to reduce Sharehold er, alue and

         diminished the value of assets to force S102 into a premature declaration of

         in, oluntar) bankruptc) .

   89    A'> a proximate result of the breaches or contract b) Defendants Struengmann. At hos

         Kg. Patiro. Santo. Yves Steffen. Andreas Biagosch. and Fictitious Defendants R

                                     Pagl.' 2 I of 25
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              through Z the Plaintiffs value in SiO2 was reduced from in excess o!"$ 1 billion to

              $0 (7ero) entitling him to compensator) damages or at least $1 billion to make him

              whole.

      90.     Pia inti ffs O\\ ned 100 percent of the common stock and over 50 percent or the

              prelerred stock for a total oh)\ er 50 percent or the entire ownership or the company.

              Since the company was worth $2.5-3 billion to $3 billion vvhen Defendants assumed

              contro l of it through their deceitful tactics in late June and early July and the

              company lost all of its ,alue, through Defendants Thomas Struengmann. Yves

              Steffen. Andreas Biagosch. Athos Kg. Patiro and Santo putting it in bankruptcy, they

              caused the Plaintiff to lose a minimum of $1 billion. Plaintiff is entitled to recover

              damages from Defendants Thomas Struengmann, Yves Steffen. Andreas Biagosch,

              At hos Kg. Patiro and Santo in the amount of$ 1 billion.

       WHEREFORE. Plaintiff demands judgment against all the Defendants and fictitious

Defendants R through Z for Compensator) Damages in the amount of $1 billion.

                                       COUNT THREE

                             BREACH OF FIDUCIARY DUTY



       91 .   Pia inti ff incorporates the general allegations of paragraphs 1-90.

       92.    Once the Defendants Thomas Struengmann. Athos Kg.. Patiro and Santo. Yves

              Steffen. and Andreas Biagosch assumed control ofSiO2 each of them had a tiduciar)

              dut) to the shareholders or SiO2. which was principal!) the Plaintiffs. Plaintiffs

              owned 100 percent or the common stock and o, er 50 percent of preferred stock for

              a combined ownership of more than 50 percent.

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   93 .   Inter alia. the failure to pro, ide the financing promised to keep SiO2 financially

          , iable until it could market its developed products. was a hreach of liduciar) duty to

          Plaintiff hy Defendants Thomas Struengmann. Yves Steffen. Andreas Biagosch.

          Athos Kg. Patirn and Santo. Another breach of fiduciar) dut) was Defendants·

          causing Plaimi IT to cease his efforts to find other investors.

   94.    Defendants Thomas Struengmann and Yves Steffen breached their fiduciary duty

          when the) conspired to deprive SiO2 of its financial stability in order that they could

          force it into bankruptc) and buy the stock for pennies on the dollar. Defendants

          At hos Kg. Patiro and Santo are responsible for Defendant Thomas Struengmann 's

          conduct since he was the agent, servant. or employee of these entities who was acting

          within the line and scope of his duties. Defendant Thomas Struengmann ·s plot to

          destroy the value of SiO2 and then purchase it cheaply through a bankruptC)

          proceeding was calculated to benelit Athas Kg. Patiro and Santo.

   95.    All of the Defendants had a fiduciary duty to see that the corporate asset of the

          secon d REA was processed. Failing to seek fu11her equitable adjustment from the

          United States Government for cost overruns on the provision of articles used Lo

          prO\ ide the covid vaccine deprived the company of at least $ I00 million of

          immediate funding, which was detrimental to SiO2's ability to continue to operate

          until it could sell the products" hich it had spent millions of dollars dneloping. and

          therefore weakened the compan) instead of preserving those assets. Some of those

          assets were the, ery marketable products which had been developed. researched. and

          prepared for market but were not: et marketed. The bridge im estment was necessar)

          to get them to the marketing stage \\here the: would produce income.

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   96    Defendant Andreas Biagosch "ho \\as Director os SiO2 had a dut) to SiO2 to

         preserve its assets and lo meet his obligations of fiduciary responsibil it) since he a

         governmen t supen 1sor or Athos Kg.. He participated actively in the governanc e of

         SiO2. and \\as a\\are of the fraud. breach of contract. failure to preserve corporate

         assets and breach or fiduciar) dut) b) I homas Struengma nn.

   97.   Defendant Andreas 13iagosch also had the obligation to see that Defendant Thomas

         Struengma nn was not involved in the operation or manageme nt of SiO2. which he

         failed to do   In fact. he participated with Defendant Thomas Struengma nn in the

         fraud b) stating to Plaintiff pri\ately while at the Board Meeting in December of

         2022 in Auburn. Alabama that Defendant Thomas Struengma nn never intended to

         invest the additional $70 million plus $ 170 million in SiO2 and never made the

         promise to do so.

   98.   •\ lso by failing to keep the promise or investing $70 million in September October

         2022 and failing to procure the ill\ estment of$170 million or making the investment

         himself by the end of 2022. Defendant Struengma nn. Athos Kg. Patiro. Santo and

         others failed to preserve the valuable marketable assets or SiO2. resulting in great

         diminution of the stockholde r's value in the company.

   99.   The participatio n of Defendants Thomas Struengma nn. Biagosch. Y, es Steffen.

         At hos Kg. Patiro and Santo in fraud and deceit. and breach of fiduciary duty \\ hich

         caused Plaintiff to lose control or his company and over$ I billion in the value of his

         com pan~ and 1.:aused the fraudulent changes or O\\ nership in SiO2 endanger the

         common good and entitle the Plaintiff to punitin: as \\ell as compensat or) damages.




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       WHER EFORE. Plaintiffs demand judgment against all the named Derendants and the

Fictitious Defendants R through Z for Compensatory Damages in the amount or$ I billion and

punitive damages in the amount of$3 billion.




                                                        Is Joseph L. Dean, Jr.
                                                        JOSEPH L. DEAN, JR. (DEA006)
                                                        DEAN & BARRETT
                                                        Attorney for Plaintiffs
                                                        Post Office Box 231
                                                        Opelika, AL 36803-0231
                                                        Phone: (334) 749-2222
                                                        Fax: (334) 749-5857
                                                        Joe@.deanandbarrett.co111




                                          JURY DEMAND


       Plaintiffs request a trial by a struck jury on all issues.



                                                        Isl Joseph L. Dean. Jr.
                                                        Of Counsel




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 Oberge richt des Kanton s Zurich
 Internation ale Rechtshilf e


 H irschengrabe n 15, 8001 Zurich
 Briefadresse : Postfach, 8021 Zurich . Schweiz
 Paketadresse : Hirschengrab en 15, 8001 Zurich, Schweiz
 Telefon: +41 44 257 91 91
 E-Mail: rechtshilfe@g erichte-zh .ch
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                                                           Obergericht des Kantons Zug
                                                           Internationale Rechtshilfe
                                                           Kirchenstr. 6
                                                           Postfach 760
                                                           6301 Zug
 Geschafts-Nr .: WR240745-O
 (Bitte in Antwort wiederholen)



                                                           Zorich , 17. Juli 2024




 Ersuchen von Mary Robertson , Lee County Circuit Clerk vom 09.07.2024
 (Ref. Nr.: CV-2024-1 84)

 Sehr geehrte Darnen und Herren

 Zustandigk e itshalber le iten wir Ihnen das beiliegende Ersuchen zu r PrOfung , allfallig da-
 rauffolgend en Erledigung und direkten Rucksendu ng an die zustandige Behorde in Ope-
 lika , AL , US weiter.

  Im Voraus v ie le n Dank for lhre BemOhung en und e inen angenehm en Tag.

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                                             REQUEST
                                FOR SERVICE ABROAD OF JUDICIAL OR
                                   EXTRAJUDICIAL DOCUMENTS
              OE M A N DE AU X FINS DE SIGN I FICATION OU DE N OTIFICATION A L ' ETRANGER
                              O 'UN ACTE JUDICIAIRE OU E X TRAJUDICIAIRE

                          Convention on the Service Abroad of Judicial and Extrajudicial Documents in
                         Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
                     Convention rel a tivr. c'.J la s 14 rnficat1o n e t a la notification a r etran~er des rir.lP.s jud1c1aires ou extraj1.Jdi ciaires e n
                                        m a tiere civil e ut.1 comm r::rcia l e . s 1gnee a La H aye l e 15 novcmbre 19F.S

            Identity and address of the applicant                                      Address of receiving authority                    K
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            1. Mary Roberson                                                           2. Centra l Authority - Switzerland               r. n     for
            L ee County Circuit Clerk                                                   T he F e<..h-::r a l Justice a n d Police Departm'en r   PY   our I form<1lion
                                                                                       Federal Office of ...lustir.R
            Lee County Justice Center
                                                                                       International L egal Assistan ce
            2311 Gateway Drive                                                         Bundesrain 2 0
            Opelika, Alabama 36801                                                     3003 Dem
            Phone: 1-334-737-3500                                                      Swit z er1a nd
            Email: mary.roberson@alacourt.gov                                          Pt1une. +'11 58 4G2 11 2 0
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           The undersigned applicant has the honour to transmit - in duplicate -the documents liste d below
           and, in conformity with Article 5 of the above-mentioned Conv ention , requests prompt service of
           one copy thereof on the addressee, i.e.:
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           1m P.xemplaire au desti nat a ire , a savoir •

            (identity and address)
            (identitr. ct adresse)
            3. Santo Holding AG
            Limmatquai 4
            P.O. Box 1731 CH- 8027 Zurich
            c/o Ruth Stoeckli - Corporate Representative
            Fax: 0041(0) 43 422 66 61
            Email : r.stoeckli@santo h o lding.ch


                         a)     in accordance with the provisions of sub-paragraph a) of the first paragraph of
                                Article 5 of the Convention*
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                                 paragraph of Article 5)*:
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                         cJ     by delivery to the addressee, if he acce pts it voluntarily (second paragraph of
              □
                                Article 5)•
                                 l e cas echec-1nt , r,rir rem1se s imple ( article 5 , alinea 2)*


            The a uthority is requested to return or to have returned to the applicant a copy of the documents -
            and of the annexes• - with the attached certificate.
            C ette a ut oritr. P.~I µnee d e renvoyer ou de f a ire renv o y r:r .1u reque r a nt un exempla i re de l'acle - At ciP. ses a nnexes · -
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      The / le 9 July 2024




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Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 140 of 144
                                                                     CERTIFICATE
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     The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
     L 'autorit8 sou ssignee a l'hormeur c.J'ottcslr.r r.ontormement a r anicle 6 de ladite Convention ,

     D        1. that the document has been served'
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          □          a)       in accordance with the provi sions of sub-paragraph a) of the first paragt!ip f,- ,r your inforr iation
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     D        In conformity with the second paragraph of Article 12 o f the Convention, the applicant Is
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      Annex es I Annexes

       Documents retumed:                                                          Insert a list ul the documents           that are being
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      Identity and address of the addressee
      ldentit~ et adrcssc du destinat;ure
      1. Santo H o lding AG
      Limmatquai 4
      P .O . B ox 1731 CH-8027 Z urich
      c/o Ruth Stoeckli - Corporate R Ar>resentative
      Fax: 0041 (0) 4 3 4 22 66 61
      Email: r stoeckli@sant oholding.ch


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       2 . Mary R o berson
       Lee County Circuit Clerk
       Lee County Justice Center
       2311 Gateway Drive
       Opelika, Alabama 36801
       Phone: 1-33 4-7 37- 3500
                                           _ _ _ __ _ _ _ __ _ _
       Email : mary.roberson @alacourt~.~o~v
                                                                                                French and
      It i s r e commended that the standard t e rms in the notice be written in English and
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      where appropriate also in the o fficial language, or In one o f the official languages of
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      which the document originated. The blanks could b e completed e ither in the language
      to which the document is to be sent, or In English o r French.
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Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 142 of 144

                  SUMMARY OF THE DOCUMENT TO BE SERVED
                                                              ELEM EN TS ESSENTIELS DE L'ACTE


               Convention on the Service Abroad of Judicial a nd Extrajudicial Documents in
     Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                              paragraph) .
                          Conv ention rela tive a l a signific atio n e t a l a notification 8 retrc111uc::r c1P.s actes JUd iciaires ou
                          extrajudiciaires e r1 r11 r1 lit':r c civ1le ou commerci ale. sign ee a L a Haye l e 15 ru ,ve m bre 1905
                                                                         ( article 5. a tinea 4 ) .

      Name and address of the requesting authority:                                                            3. Mary R oberson
                                                                                                               Lee County Circuit Clerk
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                                                                                                                                                 C                            ~
      Norn et adresse de l'a utorite requerante •
                                                                                                               Lee County Justice Center           opy for yo r lf'f£ rn,a(ion
                                                                                                               2311 Gateway Drive
                                                                                                               Opelika. Alabama 36801
                                                                                                               Phon e: 1-334-737-3500
                                                                                                               Email: mary.roberson@alacourt.gov

      Particulars of the parties• :                                                                            4. P laintiff:
      ldentit~ des parties.. •                                                                                 Robert S . Abrams
                                                                                                               875 5th Avenue, Apt 17C
                                                                                                               New York, New York 10065
                                                                                                               Phone: 1-929-944- 5761
                                                                                                               Email: racvholdings@gmail.com

                                                                                                               Plaintiff:
                                                                                                               A . E nterprises. LLC
                                                                                                               1 7 -17 Brookeview Court
                                                                                                               Auburn. Alabama 36830

                                                                                                               Defendant:
                                                                                                               Santo Holding AG
                                                                                                               Limm;,tquai 4
                                                                                                               P .O . Box 1731 CH-8027 Zurich
                                                                                                               c / o Ruth Stoeckli - Corporate Representativ e
                                                                                                               F a x: 0041 (0) 4 3 4 2 2 66 61
                                                                                                               E mail · r .stoeckli santoholding~.c~h
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      ~      JUDICIAL DOCUMENT""
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       Nature a nd purpose of the document:                                                                   5 . - Summons: information f or service or process
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       Nature and purpose of the proceedings and,                                                             6 . -=-claim for money damages up to $1 Billion
       when appropriate, the amount in dispute:                                                               USD for fraud. hreach o f contra ct. and breach uf
        N.:iture e t obj et de !'instance, le cas echeanl. le ff1ontant                                       fiduciary duty.
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        Date and Place for entering appearance-:                                                              7. You must enter an appearance within thirty
        D ate et li eu d e la comparutiun •· .                                                                (30) days from the date y o u are served wit h
                                                                                                              process with the l ollowing:

                                                                                                              Mary Roberson
                                                                                                              Lee County Cir cuit Clerk
                                                                                                              L ee County Justice Center
                                                                                                              2311 Gateway Drive
                                                                                                              Ope lika, Alabama 36801
                                                                                                              Telephone: 1-334-737-35 00
                                                                                                              Email: mary.robersun @ al,.court.gov



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        Court whi ch has given judgmenr•:                                                                      8. Not Applicable
        Juridiction qui a rendu l a decision· ... :




  P e rmanP.nt Bureau J u ly 2017
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Case 3:24-cv-00554-ECM-JTA Document 1-2 Filed 08/29/24 Page 143 of 144
        Date of judgment••:                                                 9. N ol Applicable
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        Time limits stated in the document.. :                              10. You must enter an a ppearance within thirty
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                                                                            process with the following:

                                                                            Mary Roberson
                                                                            Lee County Circuit Clerk
                                                                            Lee County Justice CAnter
                                                                            231 1 Gateway Drive
                                                                            Opelika, Alabama 36801
                                                                            T elephone: 1- 334--737- 3500Ko pie Zur Kc             I
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          Internationale Rechtshilfe
          Hirschengraben 15, 8001 Zorich                                          CH-8021 ZOrlch
          Brlefadreue: Postfach, 8021 Zorich, Schweiz                R
          Paketadresse: Hirschengraben 15, 8001 Z0rlch, Schweiz                   11111111111 1■1111111
          Telefon: +41 44 257 91 91
          E-Mail: rechtshllfe@gerlchte-zh.ch                          Mllllil'> RN 05 878952 SCH
                                                                     WR240745-O/RH
                                                                     Lee County Circuit Clerk




                                                                                                                                             DOCUMENT 7
                                                                     M. Robertson, Lee County Circuit Clerk
                                                                     2311 Gateway Drive
                                                                     Opelika, Alabama 36801
          Geschlfts-Nr.: WR240745-O                                  United States
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